Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 1 of 215
                                                                                         1


  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 17, 2021
  6                                                                  9:58 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                    Pages 1 THROUGH 148
  9    ______________________________________________________________
                         TRANSCRIPT OF TRIAL DAY 11
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10

12     Appearances:
       FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
13                             DEVIN FREEDMAN, ESQ.
                               KYLE ROCHE, ESQ.
14                             200 South Biscayne, Suite 5500
                               Miami, Florida 33131
15
                               BOIES SCHILLER & FLEXNER
16                             ANDREW BRENNER, ESQ.
                               STEPHEN N. ZACK, ESQ.
17                             100 Southeast 2nd Street, Suite 2800
                               Miami, Florida 33131
18
       FOR THE DEFENDANT:      RIVERO MESTRE, LLP
19                             ANDRES RIVERO, ESQ.
                               JORGE MESTRE, ESQ.
20                             AMANDA M. MCGOVERN, ESQ.
                               ZALMAN KASS, ESQ.
21                             MICHAEL A. FERNANDEZ, ESQ.
                               2525 Ponce de Leon Boulevard, Suite 1000
22                             Coral Gables, Florida 33134

23     COURT REPORTER:         Yvette Hernandez
                               U.S. District Court
24                             400 North Miami Avenue, Room 10-2
                               Miami, Florida 33128
25                             yvette_hernandez@flsd.uscourts.gov

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 2 of 215
                                                                                             2


  1                                     I N       D     E     X

  2    Certificate.....................................                                     148

  3                              W     I     T     N     E     S     S

  4
       ON BEHALF OF THE DEFENDANT:                                                         PAGE
  5    KEVIN MADURA
       CONTINUED DIRECT EXAMINATION BY MR. KASS                                              11
  6    CROSS-EXAMINATION BY MR. FREEDMAN                                                     36
       REDIRECT EXAMINATION BY MR. KASS                                                      68
  7
       NICHOLAS CHAMBERS
  8    DIRECT EXAMINATION BY MR. FERNANDEZ                                                   82
       CROSS-EXAMINATION BY MR. ROCHE                                                       107
  9    REDIRECT EXAMINATION BY MR. FERNANDEZ                                                119

10     LYNN WRIGHT
       (via video deposition)                                                               123
11
       DONALD LYNAM
12     (via video deposition)                                                          124 & 125

13     DR. DUGALD STEWART MACINTYRE
       DIRECT EXAMINATION BY MR. KASS                                                       126
14

15
                                     E X H I B I T S
16     EX. NO.:                                                              OFFERED   ADMITTED
       Defendant's   91                                                        132          132
17     Defendant's   93-102                                                    133          134
       Defendant's 1020                                                        135          135
18     Defendant's 1021.1                                                      137          137

19

20

21

22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 3 of 215
                                                                                           3


  1         (Call to order of the Court, 9:58 a.m.)

  2               THE COURT:    Hi.      Good morning to everyone.               Is there

  3    anything we need to address before we proceed?

  4               MR. FREEDMAN:      Your Honor -- good morning, Your Honor.

  5    Plaintiffs have two things we'd like to raise.                        One is --

  6               THE COURT:    All right.             Go ahead and have a seat,

  7    then.

  8               MR. FREEDMAN:      One is, Your Honor, you asked about a

  9    deadline to respond to the JMOL motion that was filed yesterday

10     and Plaintiffs would like to know if it's all right for the

11     Court if we respond on Monday.

12                THE COURT:    Let me first state that by the Court's

13     notification that I had received the motion filed by the

14     Defendant, I did not want to represent that the Defendant had

15     exceeded the local rules in terms of the page limit.                       It was

16     properly 20 pages, plus the three pages, which is a total of

17     23, not 26.     So if I made that representation, that was in

18     error and I apologize.

19                With regard to the response, I would ask that the

20     response be filed by the end of business tomorrow.                       And the

21     reason I state that is that I believe that it's proper for the

22     Court to rule on this motion prior to the case being over.                         And

23     I anticipate, unless you tell me otherwise, that we should have

24     this case to the jury, as I had hoped we would -- which would

25     be most likely on Monday or Tuesday; am I correct?

                                 Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 4 of 215
                                                                                       4


  1               MR. FREEDMAN:      Your Honor, one moment.

  2         (Pause in proceedings.)

  3               MR. FREEDMAN:      So, Your Honor, two things.              If the

  4    Court orders it to be filed by the end of the day tomorrow, we

  5    will do so.     I do not see -- looking at the witnesses that

  6    Defendant has disclosed to us, I do not see any possibility for

  7    this case closing before Thanksgiving.

  8               THE COURT:    Let's talk about the schedule, then.

  9    Because I think in fairness to the jury, if it's not going to

10     be finished by the 22nd, then we do need to work with them on

11     additional days.

12                MS. MCGOVERN:      Your Honor, the schedule is as follows.

13     We have -- including the witness who is testifying right now,

14     we have 11 witnesses, but that also includes two videos.                    One

15     video is 50 minutes, approximately.                     The other video is about

16     40 minutes, approximately.

17                We have tried to -- and we've gone over and over what

18     we think we need in order to get through the witnesses.                    And as

19     Mr. Rivero said yesterday, we are striving to get there by

20     Tuesday.    But as Mr. Freedman properly acknowledges, it's not

21     going to be easy to do that.

22                So, in an abundance of caution, I would say I would

23     hate to make a representation that we'll make it on Tuesday and

24     then disappoint the Court and the jury if we can't.

25                MR. FREEDMAN:      Your Honor, our assessment is there's

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 5 of 215
                                                                                             5


  1    virtually no way it finishes before Thanksgiving if all of

  2    these witnesses are, indeed, called.                      We just don't -- we've

  3    played it out schedule-wise with the amount of time in court

  4    and the amount of time it would take to examine them on direct

  5    and cross based on the directs and crosses that have taken

  6    place.    And, I mean, no one would be happier than me to be able

  7    to be done and spend Thanksgiving with the family without

  8    worrying about trial, but our realistic assessment is it's

  9    simply not -- it's not feasible.

10                THE COURT:    Well, why don't we look at -- today,

11     obviously we're finishing with Mr. Madura.                            And do you believe

12     that we'll get to some other witnesses today?

13                MS. McGOVERN:      Yes, we do, Your Honor.                     We have

14     Mr. Chambers who will be ready immediately.                           All of our

15     witnesses are lined up to begin immediately upon the conclusion

16     of the prior witness.       I understand Mr. Freedman's concern.                      We

17     share it.    In all honesty, we share it.

18                And part of it is, Your Honor, is because when I'm

19     mapping out and we're mapping out the time schedules, we're

20     anticipating cross.      We have absolutely no idea.                       It's out of

21     our control.

22                THE COURT:    Right.         You're in the best position to

23     know your direct and cross-examination.                         I looked at the

24     witnesses, but I didn't anticipate that there would be that

25     length of time with regard to each witness.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 6 of 215
                                                                                                 6


  1               All right.    Let's see where we are by Friday morning,

  2    and then we'll have a conversation with the jurors and we'll

  3    look at our schedules and see what time we can devote and how

  4    much more time is necessary.

  5               MR. FREEDMAN:      Your Honor, we have one other issue to

  6    raise.

  7               THE COURT:    Yes, sir.

  8               MR. FREEDMAN:      Which is it was brought to my attention

  9    that previous to the Slack message we raised with the Court

10     yesterday about Dr. Edman, there had been a previous posting by

11     Dr. Wright talking about Jamie Wilson, the bald Australian man

12     that testified by video deposition.                     And the quote is:         "Jamie

13     was" -- and this is before trial started:                             "Jamie was put on

14     notice a few weeks before his testimony.                          We are planning to

15     sue him for fraud."

16                Your Honor asked the Plaintiffs yesterday if -- what

17     remedy we would seek.       And at this point, Your Honor, in

18     addition to the admonishment you gave yesterday, we would seek

19     to be able to add these two Slack messages to our exhibit list

20     and be able to cross-examine Dr. Wright on these actions.

21                THE COURT:    Response?

22                MS. McGOVERN:      Your Honor, Mr. Freedman shared the

23     post with me this morning regarding Jaime Wilson, and I haven't

24     had an opportunity to do some due diligence with respect to the

25     circumstances.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 7 of 215
                                                                                              7


  1               Out of context, it sounds exactly as stated.                          The

  2    context of the quote, however, is -- refers to actually a

  3    dispute that took place long before the testimony.                            And if

  4    you -- the intention of the statement was there is a dispute

  5    between these two individuals because there is a patent action

  6    against Mr. Wilson for fraudulently representing the patent to

  7    be his and his alone.

  8               So the reference is with respect to an action that

  9    they have.    It isn't linked to -- it sounds like it.                          But

10     again, it's these things that are just cherrypicked and taken

11     out of context.     It's a statement that Jamie Wilson was advised

12     that this dispute is going to take place.                             And the belief is,

13     by Dr. Wright, that that's, in fact, why he's testifying the

14     way he is, because the dispute is ongoing with respect to the

15     patent that was -- that is Bitcoin related and that was filed

16     but only in Jamie Wilson's name, forging Dr. Wright's

17     signature, and which the Plaintiffs apparently are sort of

18     carving out of this litigation.                 It was never intended to

19     suggest and doesn't suggest what it appears to suggest.

20                I will say, Your Honor, it was before your

21     admonishment yesterday.         Apparently, there is an effort to comb

22     through the social media in the case, in what really was or is

23     a private communication platform that you need access to.

24                There's testimony in this case in deposition that you

25     need credentials to get in there, and that there was a hacking

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 8 of 215
                                                                                         8


  1    involved in order to do it.             We are actually a bit baffled as

  2    to how the Plaintiffs have access to this private --

  3               THE COURT:    Well, but be that as it may, by your

  4    response, it appears that you have no objection to the use of

  5    it at the appropriate time during cross-examination.                     You're

  6    just merely stating that there's an explanation for whatever

  7    statement Dr. Wright may have made on this site.

  8               MS. McGOVERN:      Your Honor, that's -- the second part

  9    of the statement, we agree with.                  I will say, however, two

10     things, if I might:      One, this social media cyberware situation

11     is being represented to the Court as being one-sided.

12                Yesterday evening -- in fact, I had a conversation

13     with Mr. Brenner about it.            I have not had a chance to talk to

14     Mr. Freedman.     Last night, Mr. Freedman tweeted all over social

15     media statements belittling Dr. Wright's testimony in this

16     case.    It has created tremendous angst on our side of the table

17     because what we're trying to do is we're actually trying to do

18     things in this case that is efficient for the Court and for the

19     jury and things like that are not helping.

20                It was a belittling statement, laughing at him and

21     laughing at his testimony and asking the person who was

22     belittling him to show up in court.                     I've spoken to

23     Mr. Brenner.     I've asked for those statements to stop because

24     it's not helpful in this case.                So --

25                THE COURT:    I don't want to spend more time than is

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 9 of 215
                                                                                               9


  1    necessary.    Mr. Freedman, is that what you're doing, sir, is

  2    being involved in --

  3               MR. FREEDMAN:      No, Your Honor.                   That's not true.

  4               First of all, let me say, as the Court has said

  5    before, there's no gag order on this case, and the actions of

  6    counsel to advance their client's interests are not subject to

  7    comment by opposing counsel.

  8               That being said, Your Honor -- and we have no problem

  9    with Dr. Wright talking about the case.                         That's his

10     prerogative.     It's when he intimidates witnesses, which is an

11     issue.

12                That being said, Your Honor, so the record is clear,

13     my tweet last night said:           "Kleiman v. Wright update.

14     Plaintiffs have rested.         It's been a long ride but a pleasure

15     working with @kyleroche and @andrewbrenner.                           Thanks also for

16     the help and effort from this great crypto community, including

17     @mylegacykid.     All your efforts are noticed and appreciated."

18     And the specific quote that Ms. McGovern --

19                MS. MCGOVERN:      That's not the quote.

20                THE COURT:    That's not the quote?

21                All right.    Let me say that it may make sense to focus

22     your time on:     "Let's get the response to the motion."                       And at

23     this point in time, I'm not going to be involved in monitoring

24     the public or private messages that are made by counsel.

25                MS. McGOVERN:      Your Honor, the only thing I'd like to

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 10 of 215
                                                                                               10


  1     say, if I could, is that wasn't the quote.                            I would just like

  2     the record -- I'd like to have an opportunity -- you are

  3     interrupting me, Mr. Freedman.

  4                THE COURT:   Ms. McGovern, why don't you read the

  5     quote.

  6                MS. McGOVERN:      I'd like to read the quote into the

  7     record, please.     And the reason for that is because it's

  8     just -- actually, it's at a point where it's just not fair.                             It

  9     specifically says -- there's a crypto message that compares --

 10     that Dr. Wright -- comparing himself to Elan, claiming that

 11     W -- Bitcoin W -- WP released in March, referring to the

 12     Bitcoin being purchased and referring to Craig being a fake

 13     Satoshi.

 14                And then Mr. Freedman writes:                      "Ha.     Make sure you

 15     introduce yourself on Monday."                This is a belittling statement

 16     of counsel.    I would never have brought this to Your Honor's

 17     attention, except that the representations to the Court I think

 18     need to be complete so that the record is complete.

 19                MR. FREEDMAN:      Your Honor, if I may just respond?

 20                First of all, even if that were, in fact, an accurate

 21     representation of the tweet, I still stand by there was nothing

 22     wrong with that from counsel.

 23                Second of all, Your Honor, the tweet that I

 24     actually -- it was from an observer of the trial who tweeted --

 25     I don't know -- 20 messages about the cross-examination with

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 11 of 215
                                                                                        11


  1     humor, including I believe at one point saying something about

  2     how I said something like Zeus or something silly --

  3               THE COURT:    And once again, in this age of electronic

  4     communication, I am not going to be the monitor of the

  5     messages, either public or private, unless it has an effect on

  6     this jury and it affects the integrity and the progress of this

  7     trial.

  8               So, at this point in time, thank you for bringing it

  9     to the Court's attention.           Let's bring in the jury.

 10               And if we can have Mr. Madura come forward, please.

 11          (Before the Jury, 10:09 a.m.)

 12               THE COURT:    Good morning, Ladies and Gentlemen.

 13     Please be seated, everyone.             It's good to see each of you.

 14               Once again, I apologize for the delay.                      The fault is

 15     all mine.    We are ready to proceed.

 16               Mr. Madura, let me remind you, you were previously

 17     placed under oath.     And let us proceed with the questioning.

 18                        DIRECT EXAMINATION [CONTINUED]

 19     BY MR. KASS:

 20     Q.   Good morning, Mr. Madura.

 21     A.   Good morning.

 22     Q.   Could you explain to the jury what are the important

 23     concepts that are central to how Bitcoin operates?

 24     A.   Bitcoin incorporates a variety of concepts from many

 25     different fields, most notably from computer science, game

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 12 of 215
                                                                                              12


  1     theory, accounting, and statistics.

  2     Q.   And could you elaborate a little bit how game theory is

  3     part of the Bitcoin protocol and software?

  4                MR. FREEDMAN:      Objection, Your Honor.                    Outside the

  5     scope of the expert report.

  6                MR. KASS:    Your Honor, that's Paragraph 18, 31 to 33,

  7     and 54.

  8                THE COURT:    Okay.        31 to 33.

  9                MR. KASS:    Yeah, 18 and 54.                  It contains a description

 10     of how the game theory works.

 11                MR. FREEDMAN:      Your Honor, the words "game theory"

 12     don't appear once in the entire report.

 13                MR. KASS:    Your Honor, if you would like me to respond

 14     I can.    The description that are in those paragraphs is game

 15     theory.    It may not say the word "game theory" but it sets out

 16     what it is.

 17                THE COURT:   All right.              Overruled.            Let's continue.

 18                THE WITNESS:     So an understanding of game theory is

 19     useful in that it informs how the miners interact in the

 20     system.    Essentially, because miners are incentivized to

 21     support instead of attack the network, there's some game

 22     theoretical components that go into that and actually making it

 23     operational.

 24     BY MR. KASS:

 25     Q.   Mr. Madura, could you explain how the different incentives

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 13 of 215
                                                                                            13


  1     align within the Bitcoin blockchain with respect to mining?

  2     A.   So miners are incentivized essentially to support the

  3     network because they receive, as I mentioned yesterday, the

  4     block subsidy.     Essentially, when they find a valid block, they

  5     broadcast it to the network.              And if it's accepted by the

  6     network, part of that creates new Bitcoin that are then

  7     essentially sent to the miner.                And because of that incentive,

  8     they are incentivized essentially to dedicate their computing

  9     power to finding new blocks and to validating transactions,

 10     instead of spending money on equipment and electricity in order

 11     to attack the network.        It essentially incentivizes them to

 12     support instead of attack the network.

 13     Q.   Mr. Madura, could you explain to the jury how statistics is

 14     part of the Bitcoin protocol?

 15     A.   Statistics is an important piece of how Bitcoin works.

 16     Essentially, as part of mining, the statistical properties of

 17     the hashing algorithms essentially ensures that you don't know

 18     who the next successful miner is going to be.                         It's essentially

 19     everybody in the network is attempting at the same time to

 20     solve the cryptographic puzzle.                 And the statistical property

 21     of that is such that everybody is trying at the same time.                          You

 22     don't know who the next one is going to be.

 23     Q.   Could you explain to the jury how accounting is part of the

 24     Bitcoin protocol.

 25               MR. FREEDMAN:       Your Honor, objection.                  Outside the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 14 of 215
                                                                                            14


  1     scope of the expert report.

  2               MR. KASS:    Your Honor, it's Paragraph 18, 34 to 35,

  3     Paragraph 41.

  4               THE COURT:    Hold on.            Hold on.            Hold on.   Because I'm

  5     now in the report.     Is there a report after April 10th, 2020?

  6               MR. KASS:    No.      That is the last one, Your Honor.

  7               THE COURT:    All right.              So I'm in the report.          So

  8     please provide the page.

  9               MR. KASS:    Sure.        Well, I have it by paragraph.                It's

 10     Paragraph 18.

 11               MR. FREEDMAN:       Your Honor, I'm showing Paragraph 18 as

 12     a list of Dave Kleiman's publications.

 13               THE COURT:    Right.          That's Dave Kleiman's

 14     publications.

 15               MR. KASS:    Your Honor, there's two reports.

 16               THE COURT:    Well, that's what I asked.                     Is this the

 17     right report?

 18               MR. KASS:    No.      I'm sorry.              It is a report dated April

 19     17th, 2020.

 20               THE COURT:    April 17th?

 21               MR. KASS:    Yes.       It's a rebuttal report of --

 22               THE COURT:    All right.              I have the expert report on

 23     April 10th.    You're saying that there's another one from April

 24     17th?

 25               MR. KASS:    Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 15 of 215
                                                                                            15


  1               THE COURT:    Can you give me the ECF number or the

  2     exhibit number, please?

  3               MR. KASS:    Give me one moment, Your Honor.

  4          (Pause in proceedings.)

  5               MR. KASS:    Your Honor, we're working on that.                       If it

  6     would help, I don't mind giving Your Honor my paper copy.

  7               THE COURT:    Well, I don't want to take your copy, but

  8     if there is a way to reference it for the Court, then I can

  9     properly rule on objections.

 10               You're saying that seven days later there was another

 11     report?

 12               MR. KASS:    Your Honor, I do have a second copy if

 13     that's helpful.

 14               THE COURT:    Liz, do you mind -- that's a second

 15     report.

 16               Thank you.

 17               MR. FREEDMAN:       Your Honor, I have that page and that

 18     paragraph.    I don't see the word "game theory," "statistics,"

 19     or "accounting" in that paragraph.

 20          (Pause in proceedings.)

 21               THE COURT:    Mr. Kass, where would I find it?

 22               MR. KASS:    Sure.        The line starts:                  "Ownership" and

 23     then it says:    "The ledger is simply a mechanism for recording

 24     a set of transactions."         And what Mr. Madura was going to

 25     testify is that the Bitcoin is a ledger which is a concept from

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 16 of 215
                                                                                        16


  1     accounting.

  2                 THE COURT:   All right.             Let's continue.       Overruled at

  3     this point.

  4     BY MR. KASS:

  5     Q.   Mr. Madura, can you please explain to the jury how

  6     accounting is part of the Bitcoin protocol.

  7     A.   So really what Bitcoin is, at the end of the day, is a

  8     globally distributed ledger, right?                     It keeps track of

  9     transactions that are occurring on the network.                       And so I don't

 10     know if you have taken an accounting class before, but

 11     essentially a ledger is just that, is a record of transactions

 12     between individuals.

 13          And Bitcoin essentially creates a distributed ledger that

 14     no one is able to tamper with.                And that's really one of the

 15     novel breakthroughs of the Bitcoin system, is that it's done in

 16     such a way that you can't modify it and it solves what's called

 17     the double-spend problem.           So you can't spend your money

 18     somewhere, you can't send someone Bitcoin, and then take it

 19     back and spend it somewhere else.                   That was another novel

 20     breakthrough of the system.

 21     Q.   Mr. Madura, can you please explain to the jury how the

 22     Bitcoin protocol involves math?

 23     A.   Yes.   So mathematics is the underlying concept essentially

 24     that inform the cryptographic algorithms that are used

 25     throughout.    There's also evidence in the source code of the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 17 of 215
                                                                                           17


  1     application of certain mathematical algorithms, essentially how

  2     particular Bitcoins are chosen to be spent while using the

  3     wallet software.     So it's embedded within the code itself.

  4     Q.   Does the Bitcoin protocol involve cryptography?

  5     A.   It does, yes.

  6     Q.   And what type of cryptography does it involve?

  7     A.   The Bitcoin software incorporates what we call a coding

  8     library.    So this is prepackaged code that was developed.                        I

  9     believe it was an open source package.                        And it uses just a

 10     subset of that package for its hashing algorithms, for its

 11     signing algorithms.     And so there was no new cryptography

 12     essentially introduced, but it does utilize some well-known

 13     cryptographic components.

 14     Q.   Does the Bitcoin blockchain involve coding?

 15     A.   It does, yes.    So the Bitcoin software itself is a program

 16     that was coded by a developer.                And as I mentioned yesterday, a

 17     fairly sophisticated C++ developer.

 18     Q.   How many lines of code is the Bitcoin blockchain?

 19     A.   The original version was approximately 15,000 lines of

 20     code, somewhere around there.

 21     Q.   And what language was it coded in?

 22     A.   It was coded in C++.

 23     Q.   Mr. Madura, I want to move on to a new subject about

 24     transacting on the Bitcoin blockchain.                        How does someone

 25     transact on the Bitcoin blockchain?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 18 of 215
                                                                                              18


  1     A.   So when you create a transaction in Bitcoin, essentially

  2     what you need is your private key.                     You essentially construct a

  3     transaction.    Say you want to send five Bitcoin to my mother.

  4     I would say:    "Okay.    I want to create a transaction saying I

  5     want to spend five Bitcoin to this address essentially."

  6          I would then use my private key to create a signature,

  7     essentially putting a stamp of approval on it, saying:                            "Yes.

  8     I authorize this Bitcoin to be sent."                       And then I basically

  9     broadcast to the network, tell everyone I'm sending this

 10     Bitcoin and the transactions are accepted by miners and

 11     validated, added to a block, and the transaction is considered

 12     complete.

 13     Q.   Could you explain a little bit more to the jury physically

 14     what are these private keys.

 15     A.   So depending on the format, a private key at the end of the

 16     day is really just a really long number, but it can be stored

 17     in a variety of ways.       You can encode it.                        You can compress it.

 18     So it's anywhere from maybe 40 to 80 characters long

 19     essentially.

 20     Q.   How are Bitcoin private keys stored?

 21     A.   So Bitcoin private keys are data.                      It's just, as I

 22     mentioned, a string of characters.                     And so it could be stored

 23     much as you would store a photo file or a Word document; it can

 24     be stored in the same type of electronic media like a computer

 25     hard disk, for example.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 19 of 215
                                                                                            19


  1               MR. KASS:    I would like to know if we could pull up

  2     Exhibit D425.

  3     BY MR. KASS:

  4     Q.   Mr. Madura, do you see the devices that are on the board

  5     over here?

  6     A.   I do, yes.

  7     Q.   And do you also see devices on your screen?

  8     A.   I do, yes.

  9               MR. KASS:    And if we could go to the second page also

 10     of the exhibit, D425.

 11     BY MR. KASS:

 12     Q.   Mr. Madura, how many of these devices are capable of

 13     storing Bitcoin private keys?

 14     A.   It would appear all of them are some type of digital

 15     storage media.

 16     Q.   Are there any that are in particular more suitable for

 17     storing Bitcoin private keys?

 18               MR. FREEDMAN:       Objection, Your Honor.                  Outside the

 19     scope of this witness's expert report.

 20               MR. KASS:    If you'll give me a moment, Your Honor.

 21               THE COURT:    All right.              Certainly.

 22               MR. KASS:    Okay.        I am referring to Paragraph 19 --

 23     no -- 19 of the report and also 140.

 24               MR. FREEDMAN:       Which report?

 25               MR. KASS:    Again, it's going to be Mr. Madura's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 20 of 215
                                                                                    20


  1     rebuttal report.

  2               MR. FREEDMAN:       Can you restate which paragraph?

  3               MR. KASS:    Sure.        Paragraph 19 and Paragraph 140.

  4               THE COURT:    Overruled.              I'll allow it.

  5               THE WITNESS:      Could you repeat the question?            Sorry.

  6               MR. KASS:    Sure.

  7               Madam Court Reporter, could you repeat the question?

  8          (Read back.)

  9               THE WITNESS:      So all of them are capable of storing

 10     Bitcoin private keys.       But because it's a sensitive piece of

 11     data, right, it controls your Bitcoin, typically you want to

 12     use something that's a little bit more ruggedized that can

 13     withstand potentially water damage or some type of corruption.

 14     So I would think the devices on the top left appear to be some

 15     type of rubberized or ruggedized storage device.

 16     BY MR. KASS:

 17     Q.   Is portability also a factor that someone would consider

 18     for their storing of private keys?

 19               MR. FREEDMAN:       Could you repeat the question?          I'm

 20     sorry.

 21     BY MR. KASS:

 22     Q.   Is portability also a factor that one would consider when

 23     storying their private keys?

 24               MR. FREEDMAN:       Again, Your Honor, same objection.

 25               THE COURT:    The objection is sustained.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 21 of 215
                                                                                      21


  1               MR. KASS:    Your Honor, could I show a reference to the

  2     report?

  3               THE COURT:    You can reference the report, but this

  4     appears to be speculation as to what one would consider more

  5     preferable than another.          Let's continue.

  6               MR. KASS:    Okay.

  7     BY MR. KASS:

  8     Q.   Mr. Madura, as a Bitcoin expert, are you familiar with the

  9     different ways of storing Bitcoin private keys?

 10     A.   I am, yes.

 11     Q.   Okay.   Would you have any preference for storing your

 12     private keys on a certain type of device?

 13               MR. FREEDMAN:       Objection.               Relevance.

 14               THE COURT:    Sustained.

 15     BY MR. KASS:

 16     Q.   I want to go back to talking about how to transact on the

 17     Bitcoin network.     When you make a transaction on the Bitcoin

 18     network, is it visible to other participants in the network?

 19     A.   It is, yes.    Because it's an open and distributed system,

 20     anybody can download the software.                     They can analyze their own

 21     version of the ledger itself.               And there are also public

 22     sources, such as websites you could go onto, to view any

 23     transaction that's ever occurred on Bitcoin blockchain.

 24     Q.   Mr. Madura, were you here in the court when

 25     Mr. Antonopoulos testified about mining difficulty?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 22 of 215
                                                                                        22


  1     A.   I was, yes.

  2     Q.   And did you see a graph that he had showing how the

  3     difficulty in mining changed over time?

  4     A.   Yes.

  5     Q.   When the difficulty changes with time, what's the cause of

  6     that change?

  7     A.   So the Bitcoin system, as additional miners come and become

  8     participants of this system, it will dynamically adjust what's

  9     called "the difficulty factor."                 Essentially, the more

 10     participants in the network, the more people attempting to

 11     mine, the more difficult it becomes.

 12          And so the more compute power that is dedicated towards the

 13     network, again, that difficulty level will adjust dynamically.

 14     Q.   And do you recall seeing a demonstrative that showed a

 15     mining farm and a stand-alone computer?

 16     A.   I do, yes.

 17     Q.   Do you recall Mr. Antonopoulos testifying that one could

 18     mine Bitcoin from a wheelchair?

 19     A.   I remember that, yes.

 20     Q.   And that one can mine Bitcoin from a laptop?

 21     A.   Yes.

 22     Q.   If one started mining Bitcoin in February of 2011 on a

 23     laptop and stopped mining in April of 2013, how many Bitcoin

 24     would that person be able to mine?

 25                 MR. FREEDMAN:     Objection, Your Honor.                  This is

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 23 of 215
                                                                              23


  1     undisclosed.

  2               THE COURT:    The basis of the objection?

  3               MR. FREEDMAN:       It's outside the scope of the expert

  4     report.   There's no opinion on the amount of Bitcoin one could

  5     mine.

  6               MR. KASS:    Your Honor, Mr. Antonopoulos interjected

  7     this into the trial saying that you could mine Bitcoin on a

  8     laptop, with the implication that's what --

  9               THE COURT:    Okay.         So --

 10               MR. KASS:    And so Mr. Madura is simply opining on how

 11     efficient that would be, or inefficient, and what the results

 12     of that mining would be.

 13               THE COURT:    The objection is sustained.

 14     BY MR. KASS:

 15     Q.   Mr. Madura, as far as mining on a laptop goes, when did

 16     mining on a laptop become uncompetitive?

 17               MR. FREEDMAN:       Same objection, Your Honor.

 18               MR. KASS:    Your Honor, Mr. Antonopoulos directly

 19     testified on this.

 20               MR. FREEDMAN:       Your Honor?

 21               THE COURT:    When does it become uncompetitive?

 22               MR. KASS:    Okay.        I'll rephrase the question.

 23     BY MR. KASS:

 24     Q.   Mr. Madura, did there come a point in time when mining on a

 25     laptop was essentially -- was essentially no longer practical?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 24 of 215
                                                                                            24


  1               MR. FREEDMAN:       Objection, Your Honor.                  This is an

  2     undisclosed expert report.

  3               THE COURT:    Sustained.

  4     BY MR. KASS:

  5     Q.   Mr. Madura, if one was mining Bitcoin on a laptop, would

  6     one be able to use a laptop for anything else?

  7               MR. FREEDMAN:       Objection, Your Honor.                  Undisclosed

  8     expert opinion.

  9               THE COURT:    Sustained.

 10     BY MR. KASS:

 11     Q.   Mr. Madura, do you recall Mr. Antonopoulos testifying that

 12     mining didn't require any physical activity once it was set up?

 13     A.   I do, yes.

 14     Q.   How much physical activity would be involved in setting up

 15     mining if one was trying to mine on a large scale?

 16               MR. FREEDMAN:       Objection, Your Honor.                  Undisclosed

 17     expert opinion.

 18               MR. KASS:    Your Honor, this is --

 19               THE COURT:    The objection is overruled.                    I'll allow

 20     that.

 21               THE WITNESS:      So in mining on a large scale,

 22     particularly any time after, say, 2011, because the difficulty

 23     increased fairly significantly during that time and onwards, to

 24     mine on any type of large scale you would need a large amount

 25     of specialized equipment.           Essentially, at that time, what's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 25 of 215
                                                                                            25


  1     called GPUs or graphical processing units, which are just

  2     specialized computer chips essentially.                         You would need many,

  3     many numbers of those to mine any type of significant number of

  4     Bitcoin at the time.

  5     BY MR. KASS:

  6     Q.   Could you explain to the jury a little bit more about what

  7     would the physical difficulty be involved in setting up such a

  8     system.

  9               MR. FREEDMAN:       Objection, Your Honor.                  Outside the

 10     scope of the disclosed expert report and Mr. Madura is not a

 11     qualified expert to opine on the physical requirements of

 12     setting up --

 13               THE COURT:    Sustained.              I'm looking at Paragraph 60 to

 14     63, and I agree.

 15               MR. KASS:    Your Honor, Mr. Antonopoulos testified as

 16     to whether somebody can mine Bitcoin from a laptop and whether

 17     that involved any difficulty.               Mr. Madura is a rebuttal expert.

 18               THE COURT:    I understand.                  The objection is sustained.

 19     You may continue.

 20     BY MR. KASS:

 21     Q.   If one were to attempt to do mining on such a large scale,

 22     what would be involved in setting it up?

 23               MR. FREEDMAN:       Same objection.

 24               THE COURT:    Overruled.              I'll allow that.

 25               THE WITNESS:      So in setting up a large-scale mining

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 26 of 215
                                                                                               26


  1     operation, as we call it, you would need to have many, many --

  2     probably hundreds at the time, of those GPU units.

  3               And to set it up, essentially what you would do is you

  4     would have to unpack the unit, you would have to physically

  5     plug in each of the GPUs to what we call a motherboard,

  6     essentially the kind of logic center of a computer.

  7               And you would need to do this for as many GPUs as you

  8     have at the time.     And so, you know, it requires you to --

  9     again, to plug them in.         You would need to plug in each of the

 10     motherboards to some type of networking device so you can

 11     coordinate the different machines together.                           You would also

 12     need a power supply.      So you would need to plug in all of these

 13     motherboards essentially into a power strip or some type of

 14     specialized power unit, for example.

 15               And then such a rig of this size or scale would

 16     require some type of cooling solution as well.

 17               So mining at this scale generates significant heat

 18     when the GPUs are running consistently.                         And so you would need

 19     some type of box fan or cooling system or some type of liquid

 20     cooling solution.     And so you would need to manage all these

 21     different components together.

 22     BY MR. KASS:

 23     Q.   Mr. Madura, once you had -- you had all the different

 24     components of this mining system, what would one need to do to

 25     make the system operational?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 27 of 215
                                                                                             27


  1     A.   So after you physically plug everything in, you then need

  2     to configure each and every device.                     So if you figure that each

  3     mining rig, as we call it, supports anywhere from four to six

  4     GPUs at a single time, you would need to first set up all the

  5     different rigs and then you'd need to install software on them.

  6          You would need to configure the mining software.                       You would

  7     need to somehow coordinate the different systems together so

  8     that they're all mining to the same address essentially.                        And

  9     then you would need to set up some type of solution to monitor,

 10     right, to understand -- if one of them went down, if a

 11     motherboard failed, for example, you would need some type of

 12     monitoring solution to understand if the system is running as

 13     you expect it to.

 14     Q.   And physically, what would be required to set up this

 15     system?

 16               MR. FREEDMAN:       Objection, Your Honor.                  Completely

 17     undisclosed expert report.

 18               THE COURT:    Sustained.

 19     BY MR. KASS:

 20     Q.   If one wanted to mine Bitcoin from September 2011 through

 21     April of 2013 using this GPU system, and they were planning on

 22     mining a million Bitcoin, how many of these GPUs would they

 23     need?

 24               MR. FREEDMAN:       Same objection.                   And speculation as

 25     well.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 28 of 215
                                                                                     28


  1               THE COURT:    Sustained.

  2     BY MR. KASS:

  3     Q.   If this system was set up, would one be able to set it up

  4     and let it run and monitor it remotely, let's say from -- let's

  5     say this was set up in Tampa and that somebody wanted to set it

  6     up, drive back to Miami, could they monitor it remotely?

  7               MR. FREEDMAN:       Same objections, Your Honor.

  8               THE COURT:    Sustained.

  9     BY MR. KASS:

 10     Q.   Could you describe to the jury what such a system would

 11     look like?    If one were to go into a room and see this system,

 12     what would they see?      What would they see with their senses?

 13               MR. FREEDMAN:       Same objections, Your Honor.

 14               THE COURT:    Could you clarify "the system"?

 15               MR. KASS:    Sure, Your Honor.                    Mr. Madura had

 16     described -- I'll call it a mining farm where one could mine

 17     Bitcoin on a large scale.

 18               THE COURT:    Maybe we clarify the question, please.

 19               MR. KASS:    Sure.

 20     BY MR. KASS:

 21     Q.   So, Mr. Madura, if one wanted to mine Bitcoin on a large

 22     scale with the GPU, the power supplies, cooling system,

 23     interconnected motherboard, if one were to come into a room

 24     where this system was set up, what would they see or feel with

 25     their senses?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 29 of 215
                                                                                         29


  1               MR. FREEDMAN:       Objection, Your Honor.                  As phrased, I'm

  2     objecting.

  3               THE COURT:    Sustained.

  4     BY MR. KASS:

  5     Q.   Does running this mining farm system -- would it generate

  6     noise?

  7     A.   It would, yes.    There would be fans running.

  8     Q.   Would the room -- would it generate heat?

  9     A.   It would, yes.

 10     Q.   Would it generate light?

 11     A.   Yeah.   Depending on the specific hardware components.                     Many

 12     of them have some type of LED indicator light.                        So you would

 13     see lights, yes.

 14     Q.   If one had -- if a large mining farm was set up, would it

 15     be readily apparent as such a system?

 16               MR. FREEDMAN:       Objection, Your Honor.

 17               THE COURT:    The basis?

 18               MR. FREEDMAN:       Speculation and outside the scope.

 19               THE COURT:    Sustained.

 20     BY MR. KASS:

 21     Q.   Mr. Madura, how does a large-scale mining farm, like the

 22     one proposed on that board, differ from a regular desktop

 23     computer that's running, if it does?

 24               MR. FREEDMAN:       Objection.               Undisclosed expert opinion.

 25               THE COURT:    I'll allow it.                  Overruled.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 30 of 215
                                                                                            30


  1                THE WITNESS:     Something of this scale would be much,

  2     much larger than just a typical desktop or laptop.                       This would

  3     be essentially room-sized devices, because you would -- just by

  4     the physical nature and the size of these things, you would

  5     need to stack them either upwards or horizontally.                       And that,

  6     by itself, takes up space.            So you can think of a room full of

  7     computers essentially just stacked on top of each other.

  8     BY MR. KASS:

  9     Q.   Do you know whether a mining farm like this would fit in a

 10     room in the VA hospital?

 11                MR. FREEDMAN:      I'm sorry.               Could you repeat the

 12     question?

 13     BY MR. KASS:

 14     Q.   Do you know whether a mining system like this would fit in

 15     the hospital, the VA hospital, in a room?

 16                MR. FREEDMAN:      Objection.               Foundation.    Undisclosed

 17     opinion.

 18                THE COURT:   Sustained.

 19     BY MR. KASS:

 20     Q.   Mr. Madura, when you were here listening to

 21     Mr. Antonopoulos' testimony, did you hear him testify about the

 22     phrase:    "Not your keys, not your Bitcoin"?

 23                MR. FREEDMAN:      Objection, Your Honor.                  Outside the

 24     scope.

 25                THE COURT:   I'm sorry.              What is the objection?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 31 of 215
                                                                                         31


  1                 MR. FREEDMAN:      It's outside the scope.                 But right now,

  2     I guess --

  3                 THE COURT:   Overruled.

  4                 THE WITNESS:     Yes.        I was here for that.

  5     BY MR. KASS:

  6     Q.   What do you understand that phrase to mean?

  7     A.   So Mr. Antonopoulos -- so this phrase refers to essentially

  8     the notion that you should always control your private keys.

  9     As I mentioned before, the private keys are the -- is the thing

 10     you need to control Bitcoin.               And so essentially the phrase:

 11     "Not your keys, not your coin" means that if you give someone

 12     else your private key, you're also allowing them access to

 13     control the Bitcoin as well.               And so if you wanted to retain

 14     control yourself over your Bitcoin, you should keep it to

 15     yourself.    So if they're not your keys, if you don't control

 16     your keys, they're not your coin.

 17     Q.   Do you recall Mr. Antonopoulos' testimony that in certain

 18     circumstances where you really trust the person, for example,

 19     his mother -- he says he does share his -- or her Bitcoin keys

 20     with himself, correct?

 21     A.   Yes.

 22     Q.   Is there a technological way that one could share control

 23     of Bitcoin on the Bitcoin blockchain without having to trust

 24     the other person?

 25                 MR. FREEDMAN:      Objection.               Outside the scope and

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 32 of 215
                                                                                           32


  1     speculation.

  2                THE COURT:   Overruled.

  3                THE WITNESS:     Yes.        There's a mechanism built into the

  4     Bitcoin software called multisig, where you can set it up

  5     similar to a safety deposit box, where you need your key and

  6     the bank teller's key, for example, in order to unlock the

  7     safety deposit box.     That same mechanism exists on the Bitcoin

  8     blockchain.    You can set it up in a way that you need two

  9     separate keys to unlock Bitcoin at the same time.

 10     BY MR. KASS:

 11     Q.   Mr. Madura, would it work, then, that one person would hold

 12     one key and the other person would hold the other key?

 13                MR. FREEDMAN:      Same objections, Your Honor.

 14                THE COURT:   Overruled.              I'll allow it.

 15                THE WITNESS:     That's correct.

 16     BY MR. KASS:

 17     Q.   Then if they wanted to spend those Bitcoin, would they both

 18     have to be present to sign -- like, how does it work?                         So each

 19     side has their own key.         How do they then go and spend these

 20     Bitcoin?

 21     A.   So, as I mentioned before, when you construct a

 22     transaction -- say I want to send five Bitcoin to my mother.

 23     In a multisig situation, you would need both participants to

 24     sign the transaction with each of their key.                          So they retain

 25     control.    Each one has -- I have my key, they have their key.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 33 of 215
                                                                                         33


  1     We both sign the same transaction.

  2     Q.    From looking at Bitcoin blockchain, is it possible to tell

  3     whether a Bitcoin address is a multisig key which requires two

  4     people to unlock it?

  5                MR. FREEDMAN:      I'm sorry.               I couldn't hear that

  6     question.

  7     BY MR. KASS:

  8     Q.    From looking at the Bitcoin blockchain, is it possible to

  9     identify or tell whether a particular address is a multisig

 10     address which would then require two separate keys to unlock

 11     the Bitcoin?

 12                MR. FREEDMAN:      Again, Your Honor, outside the scope.

 13     I don't believe the word "multisig" appears in the report.

 14                THE COURT:    Yeah.        Where --

 15                MR. KASS:    Your Honor, there's multiple mentions to

 16     locking scripts.     Multisig is a type of locking script.                    It's

 17     on Paragraph 20 and Paragraph 83.

 18           (Pause in proceedings.)

 19                THE COURT:    I'm sorry.             The multisig, where --

 20                MR. KASS:    So, Your Honor, multisig --

 21                THE COURT:    No.      You don't have to explain multisig.

 22     You've stated that it's in the report.                        I'm just looking for

 23     it.

 24                MR. KASS:    So it doesn't have that word because it's a

 25     subset of --

                                  Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 34 of 215
                                                                                           34


  1                 THE COURT:   Sustained.

  2     BY MR. KASS:

  3     Q.   Mr. Madura, do you know what a locking script is?

  4     A.   Yes.   It's a term that generally refers to the multitude of

  5     ways you're able to essentially lock Bitcoin.                          The most common

  6     use is to an address, for example, but there are many others.

  7     Q.   Is multisig a type of locking script?

  8                 MR. FREEDMAN:      Objection, Your Honor.

  9                 THE COURT:   Overruled.

 10                 THE WITNESS:     Yes.

 11     BY MR. KASS:

 12     Q.   Is one able to look at the Bitcoin blockchain and tell

 13     whether certain Bitcoin addresses are locked by a script such

 14     as multisig?

 15     A.   Yes.

 16     Q.   Do you know when the first time any Bitcoin were mined into

 17     a multisig address that requires two people to unlock it?

 18     A.   Yes.   In 2018 was the first multisig coinbase transaction,

 19     as we call it.

 20     Q.   Can you explain to the jury what a coinbase transaction is?

 21     A.   So, as I mentioned before, when you're mining, when you

 22     create a block of valid transactions, when you receive the 50

 23     Bitcoin that are created, you receive that in a special type of

 24     transaction, which is called the coinbase transaction.                         It's

 25     essentially how the Bitcoin come into existence.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 35 of 215
                                                                              35


  1     Q.   So you were able to look at all the coinbase transactions

  2     and determine that -- and is it accurate that the first time

  3     you determined this multisig, two-people locking script was I

  4     believe in 2018?

  5               MR. FREEDMAN:       Your Honor, again, I hate to object,

  6     but outside the scope of the disclosed report.

  7               THE COURT:    I'll allow it.                  Overruled.

  8               THE WITNESS:      For that particular type of locking

  9     script, yes.

 10     BY MR. KASS:

 11     Q.   When were locking scripts such as multisig enabled on the

 12     Bitcoin blockchain?

 13     A.   The original software supported multisig, as well as a

 14     variety of other locking scripts from the original release.

 15     Q.   So is it accurate to state that from the start multisig

 16     existed on the Bitcoin blockchain?

 17               MR. FREEDMAN:       Objection.               Leading.

 18               THE COURT:    Sustained.

 19     BY MR. KASS:

 20     Q.   Let me ask you, Mr. Madura -- I'm going to go back to this

 21     timeline.    Can you identify from the different dates what was

 22     the date when multisig -- when one could have mined Bitcoin

 23     into a multisig account?

 24     A.   From January 8th, 2009.

 25     Q.   And, Mr. Madura, this may not end up being to scale, but

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 36 of 215
                                                                                   36


  1     could you tell the jury what was the first date a multisig

  2     transaction was actually -- Bitcoin ever mined into a multisig

  3     account?

  4     A.   From my review for that specific transaction type would

  5     have been sometime in 2018.

  6          (Pause in proceedings.)

  7                MR. KASS:    Your Honor, if I could just have one moment

  8     to confer with my co-counsel?

  9                THE COURT:    Certainly.

 10          (Pause in proceedings.)

 11                MR. KASS:    Your Honor, we're done with Mr. Madura.

 12                THE COURT:    Okay.        Cross-examination.

 13                                 CROSS-EXAMINATION

 14     BY MR. FREEDMAN:

 15     Q.   Good morning, Mr. Madura.

 16     A.   Good morning.

 17     Q.   Mr. Madura, you're not opining that a multisig was used

 18     between Dave Kleiman and Craig Wright, are you?

 19     A.   No.

 20     Q.   In fact, no one used multisig until 2018, right?

 21     A.   Multisig existed before 2018.                  That's talking about

 22     specifically a coinbase transaction.

 23     Q.   But no one mined a Bitcoin into a multisig account until

 24     2018, correct?

 25     A.   That's my understanding, yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 37 of 215
                                                                              37


  1     Q.   And you know Dave Kleiman died in -- it's not on here, but

  2     April 2013, right?

  3     A.   Yeah.    If you say so, yes.

  4     Q.   Nothing stops two people from agreeing to mine together and

  5     sharing their private keys, correct?

  6     A.   That's correct.

  7     Q.   Mr. Madura, you've done work for Dr. Wright in other cases,

  8     have you not?

  9     A.   I think so.

 10     Q.   Sorry?

 11     A.   I believe so.

 12               MR. KASS:    Objection.             Relevance.

 13               THE COURT:    Overruled.

 14     BY MR. FREEDMAN:

 15     Q.   In fact, you have written reports on behalf of Dr. Wright

 16     in other cases, too, have you not?

 17               MR. KASS:    Objection.             Relevance.

 18               THE COURT:    The objection is overruled.

 19               THE WITNESS:      I believe so.

 20     BY MR. FREEDMAN:

 21     Q.   You don't recall writing a report for Dr. Wright?

 22     A.   I'm not sure if it was related to a specific case or not.

 23     Q.   You have done work for Dr. Wright outside the context of

 24     this case, correct?

 25               MR. KASS:    Objection.             Relevance.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 38 of 215
                                                                                 38


  1               THE COURT:    The objection is overruled.

  2               THE WITNESS:      I believe so, yes.

  3     BY MR. FREEDMAN:

  4     Q.   And that work was in a case involving -- or between Tulip

  5     Trading, Limited and somebody called Gregory Maxwell?

  6     A.   Not that I recall.

  7     Q.   Do you recall submitting a forensic report?

  8     A.   I've drafted forensic reports, yes.

  9               MR. FREEDMAN:       Ms. Vela, for just the witness and

 10     counsel, let's see if we can refresh Mr. Madura's recollection

 11     here.   Can we put on the Tulip Trading exhibit packet?

 12               THE COURT:    I'm sorry.              What exhibit?

 13               MR. FREEDMAN:       It's not an exhibit, Your Honor.         We're

 14     just using it to refresh the witness's recollection.

 15               Can we go to Page 44, I think.

 16     BY MR. FREEDMAN:

 17     Q.   You see what's on the screen?

 18     A.   I do.

 19     Q.   Does this help refresh your recollection that, in fact, you

 20     did author a forensic report for Dr. Wright in litigation

 21     between Tulip Trading, Limited and Gregory Maxwell?

 22     A.   To be honest, I didn't know which case it was for.               It was

 23     submitted to a law firm.

 24     Q.   Do you remember the scope of this report, Mr. Madura?

 25     A.   Not exactly.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 39 of 215
                                                                                39


  1     Q.   Do you recall whether in this report you offered opinions

  2     as to whether documents produced --

  3               COURT SECURITY OFFICER:                 Here, try this one.

  4               MR. FREEDMAN:       Mr. Roche, can I have that

  5     demonstrative?

  6               MR. KASS:    Your Honor, objection.

  7               THE COURT:    And the basis, Mr. Kass?

  8               MR. KASS:    It's outside the scope of his direct

  9     examination, the contents of this particular report, and

 10     relevance.

 11               THE COURT:    The objection is overruled at this point.

 12     BY MR. FREEDMAN:

 13     Q.   You were in the courtroom when Dr. Edman testified about

 14     forgeries one --

 15               MR. KASS:    Objection, Your Honor.

 16     BY MR. FREEDMAN:

 17     Q.   -- through 10, correct?

 18               MR. KASS:    This is outside the scope of his testimony.

 19               MR. FREEDMAN:       If you could just give me one moment,

 20     Your Honor, I will link it up.

 21               THE COURT:    The objection will be overruled at this

 22     point with a very short path.

 23               THE WITNESS:      I was, yes.

 24     BY MR. FREEDMAN:

 25     Q.   And in the litigation between Tulip Trading, Limited and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 40 of 215
                                                                                                40


  1     Gregory Maxwell, that you submitted for Dr. Wright, you opined

  2     very similarly on whether or not documents were manipulated or

  3     forgeries, correct?

  4               MR. KASS:    Your Honor, objection.                         Same objection.

  5               THE COURT:    Sustained.

  6     BY MR. FREEDMAN:

  7     Q.   You're not here opining on the integrity of any documents

  8     in this case, correct?

  9     A.   That's correct.

 10     Q.   You're not opining on whether or not forgery one through 10

 11     are, in fact, forgeries, correct?

 12     A.   That's correct.

 13     Q.   You're capable of doing that investigation, though, are you

 14     not?

 15     A.   Depends entirely on the questions asked of me by counsel.

 16     Q.   Did anyone ask you to perform that analysis in this case?

 17               MR. KASS:    Objection.             Privileged.

 18               THE COURT:    Sustained.

 19     BY MR. FREEDMAN:

 20     Q.   Mr. Madura, you're employed by AlixPartners, correct?

 21     A.   That's correct.

 22               MR. FREEDMAN:       Ms. Vela, you can take that down.

 23               Thank you.

 24     BY MR. FREEDMAN:

 25     Q.   And AlixPartners receives $480 an hour for your work,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 41 of 215
                                                                                    41


  1     correct?

  2     A.    Previously.   That amount has changed.

  3     Q.    When you started in this case, you received $480 an hour

  4     for your work?

  5     A.    My firm received that amount.                 I was on a regular salary

  6     basis, as I am today.

  7     Q.    And since that time, your rate has gone up?

  8     A.    I believe so, yes.

  9     Q.    So from the start of this case, sometime in the middle of

 10     this case, your rate has increased to?

 11     A.    $665 per hour.

 12     Q.    $665 an hour.    Is it normal for experts such as yourself to

 13     increase their rate as time goes on?

 14     A.    I was promoted to a more senior position during that time.

 15     And so, naturally, we just have a rate card, a rate structure

 16     that differs based on the level that you're at at the firm.

 17     Q.    So it's normal that as you gain seniority your rate should

 18     go up?

 19     A.    At our firm, that's how it works, yes.

 20     Q.    Mr. Madura, AlixPartners, the firm that you're employed by,

 21     was hired to provide other services on behalf of Dr. Wright in

 22     this lawsuit, weren't they?

 23     A.    What type of services?          I'm not sure what you're referring

 24     to.

 25     Q.    Well, are you aware that AlixPartners handled all the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 42 of 215
                                                                                             42


  1     discovery and other electronic production in this case for

  2     Dr. Wright?

  3               MR. KASS:    Your Honor, objection.                         Outside the scope

  4     of his testimony.

  5               THE COURT:    Overruled at this point.

  6               THE WITNESS:      I'm aware we provided litigation support

  7     services, yes.

  8     BY MR. FREEDMAN:

  9     Q.   And you charge -- AlixPartners charges money for those

 10     services, correct?

 11     A.   I believe they do, yeah.

 12     Q.   And are you aware of an expert in this case also from

 13     AlixPartners called Nicholas Chambers?

 14     A.   I am, yes.

 15     Q.   And he's going to testify on behalf of Dr. Wright?

 16     A.   I believe so, yes.

 17     Q.   And he works at AlixPartners, too, right?

 18     A.   He does.

 19     Q.   And his rate is about $665 an hour; is that right?

 20     A.   I'm not sure.

 21     Q.   Dr. Wright also has somebody called William Choi testifying

 22     for him in this case, another expert?

 23               MR. KASS:    Objection.             Relevance.

 24               THE COURT:    Sustained.

 25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 43 of 215
                                                                                                43


  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright has hired a lot of people from AlixPartners for

  3     this case, correct?

  4               MR. KASS:    Objection.

  5               THE COURT:    Sustained with regard to this witness.

  6     BY MR. FREEDMAN:

  7     Q.   One last question on this, Mr. Madura.                           Do you know how

  8     much money in total your employer has received from Dr. Wright

  9     in connection with this case?

 10     A.   I do not.

 11     Q.   So, Mr. Madura, I want to define the scope of your expert

 12     opinion here today so you know where these next questions are

 13     going, okay?

 14          You are not offering an opinion on whether or not Dave and

 15     Craig were partners, correct?

 16     A.   That's correct.

 17     Q.   You are not offering an opinion on whether Dave or Dr.

 18     Wright mined any Bitcoin, correct?

 19     A.   That's correct.

 20     Q.   You are not offering an opinion on whether Dave or Craig

 21     Wright held Bitcoin in trust, correct?

 22     A.   That's correct.

 23     Q.   You're not offering an opinion on whether Dave or Craig

 24     Wright shared the private keys to Bitcoin, correct?

 25     A.   That's correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 44 of 215
                                                                              44


  1     Q.   You're not offering an opinion on the technical skills

  2     required to mine Bitcoin, correct?

  3     A.   Not directly, no.

  4     Q.   You are not offering an opinion on whether or not Dave

  5     Kleiman could have contributed to the creation of Bitcoin

  6     outside of coding the actual Bitcoin source code, correct?

  7     A.   (No verbal response.)

  8     Q.   You want me to ask that again?

  9     A.   Yes, please.

 10     Q.   You're not offering an opinion on whether Dave could have

 11     contributed to the invention of Bitcoin in ways other than

 12     programming the code, correct?

 13     A.   My affirmative report, yes, essentially opines on if Dave

 14     Kleiman's skills and experiences were consistent with being

 15     able to code the original software.

 16     Q.   So contributions to creating Bitcoin outside of coding the

 17     software are beyond -- you're not opining on that here today,

 18     correct?

 19     A.   That's correct.

 20     Q.   You're not, for example, saying that Dave Kleiman didn't

 21     edit the Bitcoin Whitepaper, right?

 22     A.   No.

 23     Q.   You're not saying that Dave Kleiman didn't have long

 24     discussions with Dr. Wright designing the Bitcoin protocol, not

 25     the code, correct?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 45 of 215
                                                                                      45


  1     A.   Well, considering the coding began before the whitepaper

  2     was released, it would be inconsistent if Dave Kleiman were to

  3     contribute to the coding or the structure of the code at all.

  4     Q.   Outside the code.      Not talking about code yet.               We will get

  5     to code in a minute.

  6          Let's just say it simply.              Outside of the code, you have no

  7     opinion on Dave Kleiman's participation in the creation of

  8     Bitcoin?

  9     A.   As far as it relates to the code itself, no.

 10     Q.   You're not saying Dave and Craig Wright did not mine

 11     Bitcoin in partnership, correct?

 12     A.   No.

 13     Q.   You're not offering an opinion on whether Dave or Craig

 14     Wright created intellectual property together, correct?

 15     A.   That's correct.

 16     Q.   Instead, your opinion is limited to whether you believe

 17     Dave Kleiman's background was consistent with someone who could

 18     write some of the code used in the original Bitcoin source

 19     code, correct?

 20     A.   Incorporating his skills and experience, yes.                    His ability

 21     to physically write the C++ code, as well as rebutting

 22     Mr. Antonopoulos.

 23     Q.   So the Bitcoin code was C++, right?

 24     A.   Yes.

 25     Q.   You know C++, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 46 of 215
                                                                                      46


  1     A.   Yes.

  2     Q.   In fact, you're here as an expert on C++ in some capacity,

  3     right?

  4     A.   To the extent it informs how the Bitcoin system works, yes.

  5     Q.   To reach your opinion that Dave Kleiman's background is

  6     inconsistent with someone who would have programmed the Bitcoin

  7     code, you reviewed certain documents, right?

  8     A.   Yes.

  9     Q.   You didn't know Dave Kleiman while he was alive?

 10     A.   I did not.

 11     Q.   You didn't talk to Dave Kleiman ever?

 12     A.   Nope.

 13     Q.   So I want to get back to the basis for your opinion about

 14     Dave Kleiman in a moment.           But before I go there, I want to ask

 15     you some questions about Satoshi Nakamoto.                            Okay?

 16     A.   (No verbal response.)

 17     Q.   You don't know whether Satoshi Nakamoto was one person or a

 18     team, correct?

 19     A.   No.    But by reviewing the code itself, it was generally

 20     consistent with a single coding style.

 21     Q.   You're unable to make the determination of whether Satoshi

 22     Nakamoto was one person or a team, correct?

 23     A.   That's correct.

 24     Q.   It is possible that the Bitcoin code was written by more

 25     than one person, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 47 of 215
                                                                              47


  1     A.   Yes.    It's possible.       Although it's consistent with a

  2     single coding style.

  3     Q.   In fact, you don't know how much of the Bitcoin code was

  4     written by a single person, right?

  5     A.   That's correct.

  6     Q.   You can't give out credit for each line of the Bitcoin

  7     source code that you reviewed, correct?

  8     A.   No.

  9     Q.   You're not even offering any testimony on whether or not

 10     Dr. Wright was part of the Satoshi Nakamoto alias, right?

 11     A.   That's correct.

 12     Q.   You don't even have an opinion on whether or not Dr. Wright

 13     was Satoshi Nakamoto alone, correct?

 14     A.   I have no opinion as to that matter, no.

 15     Q.   In fact, at your deposition, you admitted you don't know a

 16     lot about Satoshi Nakamoto, right?

 17     A.   About the persona.       Only about the public postings from the

 18     persona, that's correct.

 19     Q.   The first public version of the Bitcoin software is known

 20     as Version 0.1, right?

 21     A.   Yeah.

 22     Q.   And it's sometimes called the Satoshi code, correct?

 23     A.   It's been referred to as that, yes.

 24     Q.   And the Satoshi code, we established, was written in C++,

 25     right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 48 of 215
                                                                                   48


  1     A.   Yes.

  2     Q.   And your opinion is that the development of the Satoshi

  3     code for the Bitcoin software by Dave Kleiman would be highly

  4     inconsistent with his skills and experience, correct?

  5     A.   Yes.

  6     Q.   And I think you said, in your view, none of the information

  7     you reviewed regarding the professional or personal life of

  8     David Kleiman shows that he was a skilled programmer in any

  9     language, let alone an advanced language such as C++, nor even

 10     a novice C++ programmer, correct?

 11     A.   That's correct.

 12     Q.   So let's get back to the basis for your opinion.                 In coming

 13     to that opinion, you reviewed certain documents, right?

 14     A.   Yes.

 15     Q.   And you reviewed a copy of Dave's resume, right?

 16     A.   Yes.

 17     Q.   And you got that resume from Dr. Wright's legal team,

 18     right?

 19     A.   Yes.

 20     Q.   In fact, all of the documents that you relied on to form

 21     your opinion were provided to you by Dr. Wright's legal team,

 22     correct?

 23     A.   Yes.

 24     Q.   You don't know if Dave Kleiman had another resume that

 25     Dr. Wright's legal team didn't give you, right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 49 of 215
                                                                              49


  1     A.   The materials that I reviewed were disclosed in my report.

  2     Q.   You don't know if there was another resume from Dave

  3     Kleiman that you simply weren't provided with, right?

  4     A.   I think yesterday you mentioned that there might be a

  5     different version.     But other than that, no.

  6     Q.   So before yesterday, you did not know that there may be

  7     another version of the resume out there, right?

  8     A.   Yeah.   I don't recall.

  9     Q.   And part of the basis for your conclusion was that the

 10     resume that you reviewed did not mention computer programming

 11     or C++, right?

 12     A.   In addition to deposition testimony from one of his

 13     colleagues, Kimon Andreou.

 14     Q.   You're aware that Dave Kleiman worked as an expert witness

 15     like yourself testifying in court about computer forensics,

 16     correct?

 17     A.   Yes.

 18     Q.   Were you aware that the copy of Dave Kleiman's resume that

 19     you relied on in forming your opinion was a copy of Dave

 20     Kleiman's resume that he specifically used for court?

 21     A.   I did not know that, no.

 22     Q.   The resume that you reviewed was Bates-labeled Kimon

 23     0010690.     Do you recall that?

 24     A.   Not specifically, no.

 25                 MR. FREEDMAN:     Ms. Vela, can we please show just the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 50 of 215
                                                                                        50


  1     witness and counsel Mr. Madura's report, Paragraph 30, Page 7.

  2                No.   No.   No.    The report of Mr. Madura.

  3                Can we go to Paragraph 30.

  4     BY MR. FREEDMAN:

  5     Q.   Does that help refresh your recollection that the resume

  6     that you reviewed was Kimon 0010690?

  7     A.   It does.

  8     Q.   Mr. Madura, you know how Bates numbers work.                     So each page

  9     is given a number.

 10     A.   Okay.   Yes.

 11                MR. FREEDMAN:      Ms. Vela, for just witness and counsel

 12     can you put on the Bates that came right before the resume that

 13     Mr. Madura reviewed, Kimon 0010689.

 14     BY MR. FREEDMAN:

 15     Q.   Were you provided with this document to review which

 16     attached the resume that you reviewed?

 17     A.   I don't recall, no.

 18     Q.   You don't recall reviewing this?

 19     A.   No.

 20     Q.   Does it refresh your recollection at all about the fact

 21     that the resume that you reviewed was specifically for Dave

 22     Kleiman's use in court?

 23     A.   That's what it says in the email.                      I would think that his

 24     resume would include his professional experience and his skill

 25     sets.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 51 of 215
                                                                                          51


  1     Q.   Whether or not Dave Kleiman knew how to code C++ code

  2     programming is not relevant to computer forensic testimony,

  3     correct?

  4     A.   I think it would bolster his position as an expert,

  5     displaying the wide range of potential skill sets and

  6     understanding of how computer systems work even at a deeper

  7     fundamental level.

  8                MR. FREEDMAN:      Counsel -- one second.                  Give me a

  9     moment.

 10          (Pause in proceedings.)

 11                MR. FREEDMAN:      I'm going to the deposition of

 12     Mr. Madura, Page 68, lines 22 through Page 69, line 2.

 13                Any objection?

 14                MR. KASS:   We don't see it on the screen.

 15                MR. FREEDMAN:      So you don't have Mr. Madura's

 16     deposition with you right now?

 17                MR. KASS:   Not handy.

 18                MS. MCGOVERN:      The screen is not working.

 19                MR. FREEDMAN:      No.       No.       It's not on the screen.         It's

 20     just a transcript.     I'm just seeking to impeach Mr. Madura with

 21     his prior testimony.

 22                MR. KASS:   If you're going to be impeaching him --

 23                MR. FREEDMAN:      It's going to be Page 68, lines 22

 24     through Page 69, line 2.

 25                If you could have your witness's deposition

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 52 of 215
                                                                              52


  1     transcript, it would be helpful, please.

  2                 MS. MCGOVERN:     We're pulling it up now.

  3                 THE COURT:   Are your screens working properly?

  4                 MR. FREEDMAN:     It's not on the screen, Your Honor.

  5     I'm just going to read it to him as impeachment once they don't

  6     have an objection.

  7          (Pause in proceedings.)

  8                 MR. FREEDMAN:     Could we have the question read back.

  9          (Read back.)

 10                 MR. FREEDMAN:     The question before that.

 11          (Read back.)

 12                 MR. KASS:    No objection.

 13     BY MR. FREEDMAN:

 14     Q.   Mr. Madura, do you remember I took your deposition and you

 15     were under oath in that deposition?

 16     A.   Yes.

 17     Q.   And at that deposition, I asked you the following questions

 18     and you gave the following answers:

 19          Question:   "Isn't it true that C++ coding wasn't relevant

 20     to Dave Kleiman's public-facing forensic investigation

 21     business?"

 22          Answer:   "That's my opinion, yes."

 23     A.   You had asked about his business specifically.

 24     Q.   So it was relevant to -- it's not relevant to his business,

 25     but it is relevant to the business of him testifying in court?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 53 of 215
                                                                                         53


  1     Is that what your testimony is here today?                            Making a

  2     distinction between his business as a computer forensics expert

  3     and the function of him testifying in court as a computer

  4     forensic expert?

  5     A.   Not necessarily, no.

  6     Q.   Okay.

  7               MR. FREEDMAN:       Thank you, Ms. Vela.

  8     BY MR. FREEDMAN:

  9     Q.   So one reason why his resume may not have discussed coding

 10     is because it simply wasn't relevant to his business, correct?

 11     A.   That's one possible explanation, yes.

 12     Q.   But nonetheless, you relied on the absence of C++ coding on

 13     his resume to say:     "Inconsistent with knowing C++ coding,"

 14     right?

 15     A.   I reviewed his background, his certifications, as well as

 16     testimony from his colleague at a software development firm to

 17     come to my conclusion and my opinion.

 18     Q.   But part of your analysis is that C++ coding was not

 19     mentioned on his resume, right?

 20     A.   That's part of it, yes.

 21     Q.   You remember a few moments ago you testified that you are

 22     an expert in C++ coding and that you know C++ coding?

 23     A.   To the extent that it supports the Bitcoin blockchain, yes.

 24     Q.   Mr. Madura, you're aware that your resume does not mention

 25     C++ coding at all, correct?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 54 of 215
                                                                              54


  1     A.   The one that was submitted, yes.

  2     Q.   Doesn't mention C++ coding, correct?

  3     A.   It lists a variety of different programming languages.

  4     Q.   But it doesn't list C++ coding, correct?

  5     A.   That's correct.

  6     Q.   And yet, you're here as an expert in this case in this

  7     court testifying about C++ coding, aren't you?

  8     A.   I'm here to provide an opinion as to the Bitcoin

  9     technology, Bitcoin blockchain and its underlying technologies,

 10     including computer programming.

 11     Q.   And rendering an expert opinion on whether or not Dave

 12     Kleiman had the requisite C++ coding skills to code the Bitcoin

 13     blockchain.    You formed your opinion on the basis of the fact

 14     that his resume doesn't contain C++ coding and you don't have

 15     it on your resume either?

 16     A.   My resume includes C, which is the basis for C++, as well

 17     as a variety of other programming languages, to demonstrate

 18     that I have the ability to assess the competency of other

 19     individuals and their programming skill sets.

 20     Q.   Mr. Madura, Perl is a computer programming language,

 21     correct?

 22     A.   It's a scripting language, yes.

 23     Q.   Programming language, right?

 24     A.   It's a script, a scripting language.

 25     Q.   Is it a form of coding?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 55 of 215
                                                                                        55


  1     A.   It is.

  2     Q.   So it's a coding language, correct?

  3     A.   Yes.

  4     Q.   Let's go back to Dave Kleiman.                    You discussed that you

  5     reviewed a copy of Dave Kleiman's resume for court.                    And that

  6     you're aware that there's a copy of Dave Kleiman's resume that

  7     you didn't review, right?

  8     A.   I'm aware of that now, yes.

  9     Q.   You saw it yesterday, though, right?

 10     A.   Maybe briefly, but not -- I didn't study it.

 11                 MR. FREEDMAN:     Ms. Vela, can you put P478 for the

 12     witness and counsel.

 13     BY MR. FREEDMAN:

 14     Q.   This is the resume you saw yesterday?

 15     A.   It looks fairly similar to the one I reviewed.

 16     Q.   But it's not, right?

 17     A.   I'm not sure if the Bates numbers match up.

 18     Q.   Well, do you recall the Bates number of the one you

 19     reviewed was Kimon 0010690?

 20     A.   It appears to be different.

 21     Q.   It's different, right?

 22     A.   It is.

 23     Q.   This is the one you saw yesterday?

 24     A.   If you say so, yes.

 25                 MR. FREEDMAN:     Your Honor, can we move P478 into

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 56 of 215
                                                                                                56


  1     evidence?

  2               MR. KASS:    Objection.             Hearsay.

  3               THE COURT:    What would be the purpose?

  4               MR. FREEDMAN:       We would like to talk about things that

  5     appear on the resume, Your Honor.

  6               MR. KASS:    Your Honor, hearsay.

  7               MR. FREEDMAN:       He was shown the resume yesterday and

  8     opined on the certifications based on it.                             So normally, we

  9     wouldn't seek to admit but we think since he was given it

 10     yesterday and then was read certifications off it, it would be

 11     fair to allow it into evidence.

 12               Also, Your Honor, Mr. Andreou will come to testify in

 13     this proceeding and this document will be admitted by

 14     Mr. Andreou, so if we can admit it subject to getting

 15     Mr. Andreou to sponsor it.

 16               MR. KASS:    Your Honor, it's --

 17               THE COURT:    Mr. Kass?

 18               MR. KASS:    Sorry.         It's still hearsay.                  There's still

 19     no foundation.     Mr. Madura was not shown that transcript when

 20     he was testifying or asked questions.

 21               THE COURT:    For purposes of impeachment with regard to

 22     the premise of his opinions reviewing another CV, you may

 23     certainly show it.     But I agree, the request to admit it into

 24     evidence is denied and the objection is sustained.

 25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 57 of 215
                                                                                     57


  1                 MR. FREEDMAN:      Does that mean we can publish it, Your

  2     Honor?

  3                 THE COURT:    You may show it but it does not come into

  4     evidence.

  5                 MR. FREEDMAN:      Understood.

  6                 THE COURT:    Just for purposes of impeachment.

  7                 MR. FREEDMAN:      Yeah.

  8                 Ms. Vela, can we go --

  9                 MR. KASS:    Your Honor, improper impeachment use of

 10     that document.

 11                 MR. FREEDMAN:      It's not being shown to the jury.

 12                 MR. KASS:    Well, it is being shown to the jury -- oh,

 13     sorry, Your Honor.       Now it's not.

 14     BY MR. FREEDMAN:

 15     Q.   Sorry.    We were at Perl.            Perl is a scripting language, a

 16     programming language, right?

 17     A.   It's a scripting language.                It's not as low level as a C or

 18     C++ would be.

 19     Q.   But a programming language?

 20     A.   Yes.

 21     Q.   Okay.    According to Dave Kleiman's resume, he was the

 22     tactical editor of a book titled:                    "Perl Scripting for Windows

 23     Security," right?

 24     A.   I'm not sure.

 25                 MR. FREEDMAN:      Ms. Vela, can we please bring up P478

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 58 of 215
                                                                                             58


  1     on the screen and publish it to the jury for purposes of

  2     impeachment.

  3                Dave Kleiman's resume at the top.                          Ms. Vela, can you

  4     bring us to the next page.

  5                "Published Works."           Ms. Vela, can you zoom in on that

  6     and highlight "Perl Scripting for Windows Security, technical

  7     editor."

  8     BY MR. FREEDMAN:

  9     Q.   Do you see that?

 10     A.   I do.

 11     Q.   You weren't provided with this resume before you rendered

 12     your opinion, right?

 13     A.   That's correct.

 14                MR. FREEDMAN:      Oh, can we please publish it?

 15     BY MR. FREEDMAN:

 16     Q.   Sorry.   Mr. Madura, we went through this but now the jury

 17     can see it.    It says "Perl Scripting for Windows Security,

 18     technical editor," right?

 19     A.   That's what it says, yes.

 20     Q.   Mr. Madura, you're aware that Dave Kleiman studied computer

 21     science at Palm Beach Community College, right?

 22     A.   In the '80s, if I remember correctly, yes.

 23     Q.   You didn't review which classes he took when he was

 24     enrolled there, did you?

 25     A.   Not the specific classes, no.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 59 of 215
                                                                              59


  1     Q.   Did you review any classes he took when he was there?

  2     A.   Not that I can recall.

  3     Q.   So you didn't review any classes he took in Palm Beach

  4     Community College, correct?

  5     A.   That's correct.

  6     Q.   You don't know whether or not Dave Kleiman learned about

  7     coding at all when he was studying computer science at Palm

  8     Beach Community College, do you?

  9     A.   Not specifically, no.

 10     Q.   It's possible he did, right?

 11     A.   It's possible that he took a course in that, yes.

 12               MR. KASS:    Objection.             Speculation.

 13               THE COURT:    Sustained.

 14     BY MR. FREEDMAN:

 15     Q.   Were you aware, Mr. Madura, that Dave Kleiman studied

 16     computer science at the University of Maryland too?

 17     A.   I saw that, yes.

 18     Q.   That's where you went to school, right?

 19     A.   That's correct.

 20     Q.   Did you look at the courses he took while at the University

 21     of Maryland?

 22     A.   Not the specific courses, no.

 23     Q.   Did you look at any courses he took when he was enrolled in

 24     computer science at the same school you went to?

 25     A.   I think it was for a year, if I remember correctly on his

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 60 of 215
                                                                                         60


  1     resume.     But no, I didn't review specific courses, no.

  2     Q.   Are you aware that the first course in the computer science

  3     curriculum listed on the University of Maryland website is

  4     called "Object-Oriented Programming"?

  5     A.   I wasn't aware if that is the actual one.                        But the

  6     curriculum has likely changed since the '80s.

  7     Q.   And C++ is an object-oriented programming language, right?

  8     A.   Yes.    It has object-oriented features in it.                     Typically,

  9     that class is taught in Java, however.

 10     Q.   You don't know what it was taught in the '80s, do you?

 11     A.   I don't.    But by then, C++ had maybe just been released.

 12     It wasn't a widely commercially available programming language.

 13     Q.   Published a few years before then, right?

 14     A.   Yes.

 15     Q.   University of Maryland's a good school, right?

 16     A.   It is.

 17     Q.   Mr. Madura, you don't know one way or the other whether or

 18     not Dave attended a course on programming at any time before

 19     2008?

 20     A.   No, not specifically.

 21     Q.   In fact, in reaching your conclusion and your opinion about

 22     Dave Kleiman, you did not rule out the possibility that he

 23     was -- did attend a course on computer programming sometime

 24     before 2008, right?

 25     A.   Yes.    Although attending a disparate course or two doesn't

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 61 of 215
                                                                                             61


  1     confer any type of sophisticated expertise in anything, much

  2     less C++ specifically.

  3     Q.   You didn't rule out the possibility, correct?

  4     A.   Correct, yes.

  5     Q.   And it is entirely possible that Dave Kleiman taught

  6     himself C++?

  7               MS. McGOVERN:       Objection, Your Honor.                   There's no

  8     foundation.    This is pure speculation.

  9               THE COURT:    Sustained.

 10     BY MR. FREEDMAN:

 11     Q.   Do you know whether or not Dave Kleiman taught himself C++

 12     coding?

 13     A.   There's nothing in the materials that I reviewed that would

 14     infer that, no.

 15     Q.   Is there anything that would prevent himself from teaching

 16     himself --

 17               MR. KASS:    Objection.             Speculation.            Foundation.

 18               THE COURT:    Whether the witness knows.                      Overruled.

 19               THE WITNESS:      Could you repeat that?

 20     BY MR. FREEDMAN:

 21     Q.   Yeah.   Yeah.   I didn't finish the question.                      I'm sorry.

 22          The question was:      Is there anything that would have

 23     prevented Dave Kleiman from teaching himself C++ coding?

 24     A.   Not that I'm aware of.           Although it would be inconsistent

 25     with the materials I reviewed, including the testimony of one

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 62 of 215
                                                                              62


  1     of his colleagues at a software development firm.

  2     Q.   And at deposition, you previously testified that it is

  3     possible he could have taught himself C++ coding, right?

  4     A.   That's correct.

  5     Q.   Are you aware, Mr. Madura, that Patrick Paige, one of Dave

  6     Kleiman's closest friends, described Dave Kleiman as a

  7     self-taught computer genius?

  8     A.   Wasn't aware of that characterization, no.

  9     Q.   You're familiar with a website called Stack Overflow,

 10     right?

 11     A.   Yes.

 12     Q.   We talked about it at our deposition, right?

 13     A.   We did.

 14     Q.   And you're aware of a survey where more than 50,000 coders

 15     responded that -- and 69.1 percent of those 50,000 coders

 16     described themselves as somewhat self-taught, correct?

 17     A.   The users of that particular website, yes.

 18     Q.   50,000 of them?

 19     A.   If you say so, yeah.

 20     Q.   And that same survey found that 13 percent of those coders

 21     were completely self-taught, right?

 22     A.   I don't recall specifically.

 23     Q.   And that 19.2 percent of those coders had some college

 24     coursework related to computer science like Dave Kleiman,

 25     right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 63 of 215
                                                                              63


  1     A.   I don't recall that specifically.

  2                MR. FREEDMAN:      Ms. Vela, can you show Mr. Madura his

  3     deposition, Page 55, 8 through 13.

  4     BY MR. FREEDMAN:

  5     Q.   Does that help refresh your recollection, Mr. Madura, that

  6     13 percent of coders were completely self-taught according to

  7     the Stack Overflow survey?

  8     A.   From that one particular survey, yes.

  9                MR. FREEDMAN:      Ms. Vela, can you show Mr. Madura Page

 10     56, lines 3 through 7 of his deposition.

 11     BY MR. FREEDMAN:

 12     Q.   Mr. Madura, does that help refresh your recollection that,

 13     according to the survey, 19.2 percent of the coders had some

 14     college coursework related to computer science just like Dave

 15     Kleiman?

 16     A.   I see the 19.2 percent from this particular survey.

 17     Q.   And you saw Dave Kleiman had some computer science-related

 18     coursework, right?

 19     A.   I didn't review the courses specifically, but he -- yes.

 20     Q.   He studied computer science at University of Maryland and

 21     at Palm Beach Community College, right?

 22     A.   For potentially a year at Maryland and Palm Beach in the

 23     '80s, that's correct.

 24     Q.   Isn't it -- Mr. Madura, somebody who didn't have any

 25     college degree could nonetheless have meaningfully contributed

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 64 of 215
                                                                              64


  1     to the Bitcoin code, correct?

  2     A.   The developer of Bitcoin code was clearly very

  3     sophisticated -- a very sophisticated C++ programmer, likely

  4     with some type of formalized education.

  5     Q.   You have heard of Microsoft, right?

  6     A.   Yes.

  7     Q.   Complicated operating system, right?

  8     A.   Very much so, yes.

  9     Q.   Coded by Bill Gates, right?

 10     A.   That's correct.

 11     Q.   College dropout, right?

 12     A.   Yes.

 13     Q.   Somebody with no college degree, right?

 14     A.   Yes.   Although I think his friends would say he would be a

 15     very good coder, yes.

 16     Q.   So it is true that someone who had no college degree could

 17     have contributed meaningfully to the Bitcoin code, correct?

 18     A.   It's possible.

 19     Q.   In fact, Mr. Madura, you taught yourself how to code long

 20     before you graduated from college, didn't you?

 21     A.   I did.

 22     Q.   As of April of 2020, you said that you had been reading and

 23     writing code personally and professionally for over 12 years,

 24     right?

 25     A.   That's correct.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 65 of 215
                                                                              65


  1     Q.   So that would have made you -- 12 years before 2020 would

  2     have been in 2008, correct?

  3     A.   That's correct.

  4     Q.   You would have been about 16 years old when you started

  5     professionally coding, correct?

  6     A.   That's correct.

  7     Q.   You didn't start college two years later, until 2010,

  8     right?

  9     A.   High school would have been 2010.

 10     Q.   So --

 11     A.   I'm sorry.    You're right.

 12     Q.   You were reading and writing code personally and

 13     professionally two years before you had a bachelor's degree --

 14     sorry -- before you even started working on a bachelor's

 15     degree?

 16     A.   That's correct.    Although my formal education really

 17     brought the different concepts of computer science together.

 18     It was more of a more basic understanding of coding and the

 19     formal education really teaches you a lot about specifically

 20     how computers and computer programming works on a more

 21     formalized level.

 22               THE COURT:    Mr. Freedman, let me know when it might be

 23     appropriate either to complete the cross-examination or take a

 24     break.

 25               MR. FREEDMAN:       Now.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 66 of 215
                                                                                      66


  1                THE COURT:    How much longer do you have, sir?

  2                MR. FREEDMAN:      Now is perfect, Your Honor.

  3                THE COURT:    To take a break?

  4                MR. FREEDMAN:      Yes.

  5                THE COURT:    All right.             Ladies and Gentlemen, let's go

  6     ahead and take a 20-minute recess.

  7          (Jury not present, 11:28 a.m.)

  8                THE COURT:    All right.             We're on a 20-minute recess.

  9          (Recess from 11:29 a.m. to 11:47 a.m.)

 10                THE COURT:    Welcome back.                 Are we ready to continue?

 11                MR. FREEDMAN:      We are, Your Honor.

 12                MR. RIVERO:    Yes.

 13                THE COURT:    All right.             Let's bring in the jury.

 14          (Before the Jury, 11:47 a.m.)

 15                THE COURT:    All right.             Welcome back, Ladies and

 16     Gentlemen.    Please be seated.

 17                And we'll continue with the cross-examination of the

 18     witness.

 19     BY MR. FREEDMAN:

 20     Q.   Mr. Madura, just so you know where I'm going, I'd like to

 21     show you two pieces of evidence to find out whether or not you

 22     reviewed these before you formed your opinion.                        Okay?

 23     A.   Okay.

 24                MR. FREEDMAN:      Ms. Vela, can you please put on P853.1,

 25     which is in evidence.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 67 of 215
                                                                                           67


  1     BY MR. FREEDMAN:

  2     Q.   Mr. Madura, were you in the courtroom when Dr. Wright

  3     testified that this is his Slack message, only he posts from

  4     this Slack account?

  5     A.   I don't recall if I was there for that specifically.

  6     Q.   I'll represent to you as an officer of the court that that

  7     was his testimony.      Okay?

  8     A.   Okay.

  9     Q.   Somebody in the Slack account posts the question:                        "So the

 10     code for Client 0.1 was pretty much Kleiman," and Dr. Wright

 11     responds:    "No.    Dave Kleiman and I."                   Do you see that?

 12     A.   I see that.

 13     Q.   Were you provided this piece of evidence to review before

 14     you formed your opinions in this matter?

 15     A.   I was not.     I don't know when this was posted.

 16                MR. FREEDMAN:      Thank you, Ms. Vela.                    Can you take that

 17     down?

 18     BY MR. FREEDMAN:

 19     Q.   Do you recall reviewing the deposition transcript of Kimon

 20     Andreou?

 21     A.   I do.

 22     Q.   And you relied on that in forming your opinion?

 23     A.   I do -- I did.

 24                MR. FREEDMAN:      Ms. Vela, can you put P767 on the

 25     screen, which is in evidence.               Can we please share that with

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 68 of 215
                                                                                           68


  1     the jury.

  2     BY MR. FREEDMAN:

  3     Q.   Mr. Madura, this is an email message from Kimon Andreou to

  4     Ira Kleiman, which is in evidence in this case.                         And do you see

  5     on the one -- two, three, fourth -- fourth paragraph down

  6     Mr. Andreou tells Ira Kleiman:                "If all the documents are

  7     authentic, then with the addition of anecdotal information we

  8     have from discussions with Dave all point to Dave and Craig

  9     indeed being behind Bitcoin?"               Do you see that?

 10     A.   I see that.

 11     Q.   Were you provided a copy of this email from Kimon Andreou

 12     before you formed your opinion?

 13     A.   Not that I recall.

 14                 MR. FREEDMAN:     Thank you, Ms. Vela.                    You can take that

 15     down.

 16                 Your Honor, we have no further questions for

 17     Mr. Madura.

 18                 THE COURT:   All right.             Any redirect?

 19                 MR. KASS:    Yes, Your Honor.

 20                               REDIRECT EXAMINATION

 21     BY MR. KASS:

 22     Q.   Mr. Madura, do you recall being asked a series of questions

 23     about Bill Gates' coding ability?

 24     A.   Yes.

 25     Q.   Do you know what university Bill Gates dropped out of?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 69 of 215
                                                                               69


  1     A.   I think it was Harvard.

  2     Q.   When Bill Gates dropped out of Harvard, was coding the same

  3     as coding in 2017 [sic] when the Bitcoin software was coded?

  4     A.   Sorry.    Could you repeat the question?

  5     Q.   Sure.    When Bill Gates dropped out of Harvard University,

  6     was coding the same as coding in 2007 when the Bitcoin software

  7     was starting to be coded?

  8     A.   It was much different.            Computer programming languages have

  9     evolved dramatically over time, becoming more complex and

 10     there's many more of them.

 11     Q.   Do you know whether it's widely known that Bill Gates could

 12     code?

 13                 MR. FREEDMAN:      Objection.               Leading.

 14                 THE COURT:   Overruled.              I'll allow it.

 15                 THE WITNESS:     I believe those within -- those who knew

 16     Bill Gates were familiar with his coding abilities, yes.

 17     BY MR. KASS:

 18     Q.   Have you heard or read any testimony from any of Dave's

 19     friends with respect to his ability to code?

 20     A.   Only that he had trouble drafting even simple scripts and

 21     used -- utilized others to develop programs for him.

 22     Q.   Do you recall being asked a series of questions about

 23     self-reported levels of coding on some sort of a website?

 24     A.   Yes.

 25     Q.   Do you know if that website is representative of all coders

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 70 of 215
                                                                              70


  1     out there in the US?

  2     A.   I don't believe it is.

  3     Q.   Do you have any reason to believe why it may not be

  4     representative?

  5     A.   Well, that's only one website out of many that are out

  6     there.   And those taking the survey, I think it was 50,000 or

  7     so -- there's many more coders in the world than just 50,000.

  8     Q.   Do you know whether coders who are looking for help with

  9     their coding are more likely to visit that website?

 10     A.   Yes.    That's one primary reason for visiting the website,

 11     is to ask questions about code.

 12     Q.   So an experienced coder as yourself, would you be going on

 13     that website and filling out surveys as to your coding ability?

 14                 MR. FREEDMAN:     Objection.               Leading.

 15                 THE COURT:   Sustained.             Rephrase.

 16     BY MR. KASS:

 17     Q.   Do you know whether -- do you know who are -- the primary

 18     users of that website are?

 19     A.   Yeah.    The users of the website are typically -- well, it

 20     could be people learning to program, or people -- or typically

 21     novice programmers asking questions about how certain things

 22     work.    And then others are able to respond providing answers to

 23     those questions, typically including code within the response.

 24     Q.   When one codes, are there other sorts of tools that you

 25     need to code?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 71 of 215
                                                                                             71


  1     A.   Well, depending on the sophistication of the user, they can

  2     write it just in text files essentially.                          Now, development

  3     environments as we know them have evolved dramatically over

  4     time as well.    And so there are entire programs built to help

  5     you build other programs essentially.                       It's like a text editor

  6     on steroids essentially that help you develop the code.

  7     Q.   Do you recall being asked some questions about your

  8     personal resume?

  9     A.   Yes.

 10     Q.   Does your resume have reference to your coding abilities?

 11     A.   Yes.

 12     Q.   What references are on your resume with respect to your

 13     coding abilities?

 14     A.   So I listed it in my work experience, in my work with the

 15     government, as well as listing a variety of different

 16     programming languages and the techniques used to develop secure

 17     code.

 18     Q.   Do you remember how many coding languages you listed on

 19     your resume?

 20     A.   Approximately 10.      Something like that.

 21     Q.   Okay.   Did you -- I believe you testified that C was listed

 22     on your resume?

 23     A.   It was.

 24     Q.   What relationship does C have to C++?

 25     A.   So C was one of the original programming languages.                        It's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 72 of 215
                                                                                       72


  1     been around for a very long time.                   And C++ is essentially a

  2     derivative of C.     It adds on some additional features to make

  3     it slightly more organized and have standardized features, but

  4     C is essentially a superset of the C++ language.

  5     Q.   Now, by now, you've seen two resumes of Dave.                    You've seen

  6     the one that you saw on your report and the one that was shown

  7     to you briefly yesterday and, again, you were asked further

  8     questions, correct?

  9     A.   Yes.

 10     Q.   On either of those two resumes, is there any reference --

 11     does Dave Kleiman state:          "I can write the 'X' coding

 12     languages," or any coding language?

 13     A.   No.

 14                 MR. KASS:   And if we could pull up P478.

 15                 And then do you also have the additional document

 16     from -- can you also pull up the additional document which is a

 17     resume that Mr. Madura reviewed in drafting his expert report.

 18                 And if you could just scroll down to the second page

 19     so we could see where the resume starts.

 20     BY MR. KASS:

 21     Q.   Okay.    Mr. Madura, are there any significant differences

 22     between these two resumes --

 23                 MR. KASS:   Well, actually, let's scroll down a little

 24     bit to give Mr. Madura a chance to look at it a little bit

 25     further.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 73 of 215
                                                                               73


  1                 So continue scrolling.

  2                 And a little bit more.

  3                 And go up a little bit.

  4                 Oh, that's perfect.

  5                 Now, if you would go back to the other one, which is

  6     the one that's in evidence as P478 and could you scroll through

  7     it.

  8                 Okay.   You could stop right there.

  9     BY MR. KASS:

 10     Q.    Mr. Madura, are there any significant differences between

 11     these two resumes?

 12     A.    I haven't compared them line by line but they look nearly

 13     identical.

 14     Q.    Well, let's look on the page that is -- the page where you

 15     are now where it shows the certifications on both of these two

 16     resumes.      Do you see a list of certifications on both resumes?

 17     A.    I do.

 18     Q.    What's the comparison between the two different lists of

 19     certifications -- between the two of them?

 20                 MR. KASS:   If you can do a pull-up and a comparison.

 21                 THE WITNESS:     It appears to be the same list.

 22     BY MR. KASS:

 23     Q.    Are there any certifications relating to coding?

 24     A.    No.

 25                 MR. KASS:   You can take down the pull-ups, but please

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 74 of 215
                                                                               74


  1     leave the resumes.

  2                 Now I want to go back to the one that is introduced

  3     into evidence, which I believe is P -- well, not introduced

  4     into evidence -- that was shown to the jury, which is the P478.

  5                 And if you could scroll up a little bit towards the

  6     reference as to the books.

  7                 Scroll drown.

  8                 There we go.     Perfect.            Okay.

  9                 Now, if you can take down the one that's not in

 10     evidence, the one on the right side of the screen.

 11                 Now, can you zoom in on the "Perl Scripting for

 12     Windows."     It's going to be right there under "Published

 13     Works."

 14     BY MR. KASS:

 15     Q.   Mr. Madura, do you recall being asked questions about the

 16     "Perl Scripting for Windows Security, technical editor"?

 17     A.   Yes.

 18     Q.   Were you shown any other part -- on cross, were you shown

 19     any other parts of this document where there may be some sort

 20     of reference to coding?

 21     A.   Not that I recall.

 22     Q.   Was this the only reference that you were shown?

 23     A.   I believe so.

 24     Q.   Okay.    Do you know what a technical editor is?

 25     A.   My understanding in this context is essentially making sure

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 75 of 215
                                                                                          75


  1     that the text of the book reads logically and is, well,

  2     technically, you know, in alignment with what you would expect

  3     from this type of book.

  4     Q.   Does one need to know how to code -- do you know whether

  5     one needs to know how to code to be a technical editor for a

  6     book on Perl scripting?

  7               MR. FREEDMAN:       I'm sorry.               I couldn't hear that

  8     question.

  9     BY MR. KASS:

 10     Q.   Do you know whether one needs to be a computer coder to be

 11     able to be a technical editor for a book on Perl scripting?

 12     A.   Not necessarily, no.

 13     Q.   All right.    I believe you also testified that there's Perl

 14     scripting and then there's coding.                     Could you explain to the

 15     jury where Perl scripting falls into the, I guess, continuum of

 16     different types of computer coding.

 17     A.   So, as I mentioned before, there's low-level programming

 18     languages and then there's higher-level programming languages,

 19     and you could say scripting falls into that higher end.                        It's

 20     kind of an even higher level than that.                         And so Perl kind of

 21     sits at that higher-level end of the spectrum whereas C++ is

 22     much more -- kind of close to the system, much more complex.

 23          And in this case, Perl scripting specifically for Windows

 24     Security is likely interacting with, say, the configuration

 25     variables of the Microsoft operating system, so Windows 7 or

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 76 of 215
                                                                               76


  1     something.     This would be automating, essentially flipping

  2     flags or checking boxes, or what have you, and changing the

  3     configuration of the Windows operating system.

  4     Q.   Do you know whether if one knows how to -- assuming they

  5     knew how to script in Perl, does that mean they're able to code

  6     in C++?

  7     A.   No.

  8     Q.   Is this also -- I believe you said you reviewed the

  9     testimony of Kimon Andreou.

 10     A.   Yes.

 11     Q.   Did he provide -- did he say something about Dave's ability

 12     to do simple scripting?

 13     A.   I believe the statement was he required help with

 14     developing even simple scripts.

 15                 MR. KASS:    Your Honor, if you could give me one

 16     moment.

 17                 THE COURT:    All right.

 18          (Pause in proceedings.)

 19                 MR. KASS:    Your Honor, if I could have one more

 20     moment.     I believe I'm done.

 21                 THE COURT:    All right.             Certainly.

 22          (Pause in proceedings.)

 23                 MR. KASS:    That's it, Your Honor.

 24                 THE COURT:    All right.             Thank you, sir.

 25                 Ladies and Gentlemen, you have certainly the

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 77 of 215
                                                                                                 77


  1     opportunity to ask questions of Mr. Madura.                            Does anyone have

  2     any questions?     If you do, just raise your hand so that I can

  3     give you the time to write your question down.                            And I would ask

  4     that you provide it to the court security officer.

  5               Is there anyone else that has a question for

  6     Mr. Madura?

  7               Okay.    Seeing no further questions, let me have the

  8     attorneys sidebar, please.

  9          (At sidebar on the record.)

 10               THE COURT:    All right.              Here we go.             The first

 11     question reads as follows:            "When making transactions from one

 12     person or private key to another, can the location of either

 13     sender or receiver be traced?"

 14               MS. MCGOVERN:       No objection.

 15               THE COURT:    All right.              Hold on.              Second question:

 16     "In reference to lines of coding, how can you tell if coding is

 17     done by one person or many?"

 18               MR. KASS:    No objection.

 19               MR. FREEDMAN:       I think that's outside the scope of his

 20     report.

 21               THE COURT:    Third question -- I'm sorry?

 22               MR. FREEDMAN:       I think that's outside the scope of his

 23     report.

 24               THE COURT:    Okay.         Hold on.            I need one attorney.

 25          (Court reporter interruption.)

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 78 of 215
                                                                                             78


  1                THE COURT:    Yeah.        One attorney on behalf of the

  2     Plaintiffs.    One attorney on behalf of the Defendant.

  3                I just read the second question.                           Is there any

  4     objection by the Plaintiffs?

  5                MR. FREEDMAN:      I believe so.                 One moment.

  6          (Pause in proceedings.)

  7                MR. FREEDMAN:      Okay.         Fine.         No objection.

  8                THE COURT:    All right.             Third question:             "How does a

  9     style of coding be used to identify an individual or is it even

 10     possible to identify the individual?"

 11                MS. MCGOVERN:      No objection, Your Honor.

 12                MR. FREEDMAN:      No objection.

 13                MR. RIVERO:    No objection.

 14                THE COURT:    All right.             Thank you.

 15          (End of discussion at sidebar.)

 16                THE COURT:    All right.             Ladies and Gentlemen, thank

 17     you for the questions.        There are three questions.                      They are

 18     permissible and I will ask Mr. Madura each in turn.

 19                The first question, Mr. Madura, is the following:

 20     "When making transactions from one person or private key to

 21     another, can the location of either sender or receiver be

 22     traced?"

 23                THE WITNESS:     No.       No.

 24                THE COURT:    Have you finished your answer, sir?

 25                THE WITNESS:     Yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 79 of 215
                                                                                             79


  1               THE COURT:    The second question is the following:                        "In

  2     reference to lines of coding, how can you tell if coding is

  3     done by one person or many?"

  4               THE WITNESS:      Typically, you are unable to tell

  5     specifically who coded a particular line, unless you're

  6     utilizing what's called a -- well, a GitHub repository, for

  7     example, which assigns specific lines of code to a particular

  8     individual.

  9               In the case of the original Bitcoin software, we don't

 10     have that type of history, so it's just the text files

 11     themselves.

 12               THE COURT:    Have you completed your answer, sir?

 13               THE WITNESS:      I have.

 14               THE COURT:    The third question reads the following:

 15     "How does a style of coding be used to identify an individual

 16     or is it even possible to identify the individual?"

 17               THE WITNESS:      Unless you know the coder and are

 18     familiar with their prior work, it's difficult to assign a

 19     particular coding style to one person or another.

 20               I'm finished, yes.

 21               THE COURT:    All right.              Thank you, sir.

 22               All right.    No further questions.                         Is there any

 23     follow-up with regard to these three specific questions on

 24     behalf of the Defendant?

 25               MR. KASS:    No.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 80 of 215
                                                                                      80


  1               THE COURT:    On behalf of Plaintiffs?

  2               MR. FREEDMAN:       No, Your Honor.

  3               THE COURT:    All right.              Is Mr. Madura excused?

  4               MR. KASS:    Yes, Your Honor.

  5               THE COURT:    On behalf of Plaintiffs?

  6               MR. FREEDMAN:       Yes, Your Honor.

  7               THE COURT:    Thank you, sir.                   You are excused.

  8          (Witness excused.)

  9               THE COURT:    And the Defendant's next witness.

 10               I'm sorry?    I didn't hear the response.

 11          (Court reporter interruption.)

 12               THE COURT:    Yeah.         If you could identify yourself and

 13     speak into microphone, please.

 14               MR. FERNANDEZ:        Your Honor, Michael Fernandez for

 15     Dr. Craig Wright.     We are going to be playing one clip of

 16     Plaintiff, Ira Kleiman, and then we'll be proceeding with the

 17     testimony of Mr. Nicholas Chambers.

 18               THE COURT:    All right.              One clip being the deposition

 19     testimony?

 20               MR. FERNANDEZ:        Yes, Your Honor.

 21               THE COURT:    All right.              Then, Ladies and Gentlemen,

 22     you are to consider the testimony as if the witness was

 23     testifying on the witness stand.

 24               And can we identify the date of the deposition.                    And

 25     if you can identify the page and line for the record because,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 81 of 215
                                                                                                 81


  1     as I understand it, since these are portions of the deposition,

  2     that you do not want the court reporter to transcribe; is that

  3     correct?

  4                MR. FERNANDEZ:       Correct, Your Honor.

  5                THE COURT:   All right, then.

  6                MR. FERNANDEZ:       So, Your Honor, it is the January 10,

  7     2020 deposition and the clip will run from Page 64, line 7,

  8     through Page 64, line 24.

  9                THE COURT:   Thank you.

 10                MR. FERNANDEZ:       Thank you, Your Honor.

 11          (Video played.)

 12                MR. FERNANDEZ:       Thank you, Your Honor.                     And at this

 13     time, Dr. Craig Wright would call Mr. Nicholas Chambers to the

 14     stand.

 15                THE COURT:   All right.              Certainly.

 16                Is this Mr. Chambers?

 17                MR. FERNANDEZ:       Yes, Your Honor.

 18                THE COURT:   Good afternoon, sir.                          If you'll step

 19     forward, remain standing.           Raise your right hand to be placed

 20     under oath.

 21          NICHOLAS CHAMBERS, DEFENSE WITNESS, SWORN

 22                COURTROOM DEPUTY:          Can you please state your name and

 23     also spell it for the record.

 24                THE WITNESS:     Nicholas Chambers.                        C-H-A-M-B-E-R-S.

 25                COURTROOM DEPUTY:          Thank you.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 82 of 215
                                                                                        82


  1                                DIRECT EXAMINATION

  2     BY MR. FERNANDEZ:

  3     Q.   Good afternoon, Mr. Chambers.

  4     A.   Good afternoon.

  5     Q.   Can you please tell the jury about your educational

  6     background?

  7     A.   Sure.   I have a bachelor of science in computer engineering

  8     and computer science, specializing in digital forensics, from

  9     the University of Southern California.

 10     Q.   And what do you do for a living?

 11     A.   I am a digital forensics examiner.

 12     Q.   And have you been asked to testify about topics related to

 13     digital forensics in this case?

 14     A.   Yes, I have.

 15     Q.   And, Mr. Chambers, are you here to provide an opinion as to

 16     whether there was any sort of partnership between David Kleiman

 17     and Dr. Craig Wright?

 18     A.   No, I'm not.

 19     Q.   And can you please tell the jury about your employment

 20     experience.

 21     A.   I began my career at SPAWAR Pacific, S-P-A-W-A-R, which is

 22     a research center underneath the Department of Defense for the

 23     federal government.     I worked there as an information

 24     technology support and development team member.                       From there, I

 25     moved on to Navigant Consulting as a senior consultant in their

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 83 of 215
                                                                                          83


  1     digital forensics and investigation practice.                         And lastly, I

  2     moved on to AlixPartners where I currently work and where I've

  3     been for seven and a half years, and I am a senior vice

  4     president in the digital forensics and global cybersecurity

  5     practice.

  6     Q.    And over your career, what kinds of things have you worked

  7     on?

  8     A.    Through my career, I've worked on hundreds of civil and

  9     criminal cases, and provided consulting and my digital forensic

 10     expertise on those cases and matters.

 11     Q.    And are you involved in any professional associations?

 12     A.    Yes.   I'm a long-time member of the High Technology Crime

 13     Investigation Association, which is known as HTCIA, and it's a

 14     non-profit organization that provides education and networking

 15     for digital forensics and incident response professionals, and

 16     many law enforcement members are also part of that

 17     organization.

 18     Q.    And during your professional career, have you participated

 19     in any trainings on digital forensics?

 20     A.    Yes.   I participated in many trainings related to the areas

 21     of digital forensics and the examination of digital media, and

 22     the usage of digital forensic software.                         Many of those

 23     trainings were conducted by the SANS Institute, which is a

 24     leading organization that conducts those types of trainings for

 25     professionals in that industry.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 84 of 215
                                                                              84


  1     Q.   And have you conducted any trainings yourself?

  2     A.   Yes.   I'm a frequent speaker at law firms on the area of

  3     digital forensics.     And I am a frequent -- also a presenter and

  4     speaker at non-profit organizations, State Bar associations,

  5     and other conferences.

  6     Q.   And have you earned any certifications on digital forensics

  7     or other computer forensics-related issues?

  8     A.   Yes.   I earned my EnCase certified examiner, which is EnCE.

  9     It's an industry standard certification that shows that you

 10     have proven your knowledge and practical use of the EnCase

 11     forensic software, which is used and accepted in courts all

 12     over the world for digital forensic examinations.

 13     Q.   And have you ever been invited to be a speaker on digital

 14     forensics issues?

 15     A.   Yes.   At many different conferences and associations and

 16     law firms.

 17     Q.   And what were you asked to testify about in this case?

 18     A.   I was asked to examine 14 devices belonging to the

 19     decedent, David Kleiman.          And I was also asked to write a

 20     rebuttal report associated with Dr. Edman's testimony.

 21     Q.   And you prepared reports on the issues that you were asked

 22     to testify about in this case?

 23     A.   Yes.   I prepared two reports, one affirmative and one

 24     rebuttal.

 25     Q.   And when coming to the conclusions you made in those

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 85 of 215
                                                                                          85


  1     reports, did you rely on methods that are widely used in your

  2     field?

  3     A.   Yes.   The methodology I used was industry standard and

  4     accepted as standard in our practice.

  5     Q.   And would someone be able to replicate your conclusions?

  6     A.   Yes.   With the evidence I had, the training I have, and the

  7     software available to me, they could replicate my results.

  8     Q.   And over your career, how many devices have you examined?

  9     A.   Over my career, I've examined hundreds, potentially

 10     thousands of pieces of electronic media to include computer

 11     hard drives, thumb drives, cellphones; any manner of media that

 12     can hold electronic data.

 13     Q.   And during your career, how many devices have you attempted

 14     to recover?

 15     A.   Likely a similar number of devices.                        Typically, the two go

 16     hand in hand.    When we're examining electronic media, typically

 17     also attempt to recover data from that media at the same time.

 18     Q.   So I dropped out of computer science in high school, so

 19     it's a little bit of a mystical field for me.                         So I want to ask

 20     you about what exactly your field of expertise is about.                        Can

 21     you tell the jury what is digital forensics?

 22     A.   Digital forensics is the scientific investigation,

 23     analysis, and recovery of data stored on electronic media.

 24     Q.   And using digital forensics, is it possible to recover

 25     information that was deleted from a device?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 86 of 215
                                                                                        86


  1     A.   It's sometimes possible to recover data, but not always.

  2     There's a number of different factors that go into that.

  3     Q.   So let's talk a little bit about kind of the background of

  4     how the process of what you would do would work out.

  5          So I think, going back to basics, can you tell us how data

  6     is ordinarily stored in a device?

  7     A.   Sure.   Data is arranged on a device via what we call a file

  8     system, and a file system is really just the structure and the

  9     rules for organizing and accessing the data on that device.

 10          So I like to use an analogy of a library to describe this.

 11     So the library has rules.           It's set up in a certain way.             There

 12     are shelves where we can place books.                       And there's also a card

 13     catalog in this library, kind of an old-school library, where

 14     there's an entry in the card catalog for every book that it's

 15     tracking in the library.

 16          And those card catalog entries will have information such

 17     as the title of the book, maybe a little bit more information

 18     about when the book came to reside in that particular library.

 19     And more importantly, it will also tell us where in the library

 20     that book is stored.      So if it's on shelf A, in the first

 21     position, it will tell you that.                  And you can go through the

 22     library and find the book and read it if you wanted to read it.

 23     Q.   And can you explain for the jury what is formatting?

 24     A.   Sure.   Formatting is simply placing a file system on a

 25     drive.   So similar to the library analogy, it's just preparing

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 87 of 215
                                                                                            87


  1     to store books; in this case, files on a device.

  2     Q.   And what happens when new information is added to a device?

  3     A.   Going back to our library analogy, if a new book comes into

  4     the library and it needs to be stored, the first thing that

  5     would happen -- this is generally speaking -- the first thing

  6     that would happen is that a new entry would be added to the

  7     card catalog with information about that book.                        And then we

  8     would choose a place on one of the shelves for the book to be

  9     stored.    And we can look at a card catalog and see what spaces

 10     are available for something to go in.

 11          Where this becomes a little bit tricky and where it's not

 12     quite exactly organized how, you know, you and me as humans

 13     think that it logically should be organized, is that sometimes

 14     a book will come in and -- let's say it's a very large book.

 15     It's two volumes, one and two.                Sometimes the volumes will be

 16     split.    Maybe one volume is put on a shelf, shelf A, and the

 17     second volume is put on a different shelf, shelf B.

 18          And why it's so important to have that card catalog is

 19     because it tells exactly where the pieces of the book reside.

 20     We can go to shelf A to find the first one and shelf B to find

 21     the second book -- or volume, rather.                       And then we can put them

 22     together and read the whole thing if we want.

 23          And this is similar to what happens on a file system with

 24     files.    When you add a file to a drive, sometimes it will be

 25     placed all in one area.         Sometimes it will be split up and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 88 of 215
                                                                                          88


  1     placed into different areas.              But we need to have that

  2     reference, what we call an index, in a file system similar to

  3     the card catalog in a library.                That index lets us find out

  4     where the actual pieces of the data are.

  5     Q.   And so would copying and pasting new data to a drive have

  6     this impact that you're talking about?

  7     A.   Yes.    It would follow the same procedure.                      Yeah.

  8     Q.   How about if you create a new document?

  9     A.   Yes.    Same.

 10     Q.   And if you "save as," would that also add data to a device?

 11     A.   Yes, it would.

 12     Q.   Okay.    And what happens when data is deleted?

 13     A.   When data is deleted -- we'll go back to the library

 14     analogy.     If a book is determined to no longer be needed,

 15     essentially what happens is, in the card catalog, the space

 16     where the book resides is marked as now available to be used,

 17     but the actual book stays on the shelf.                         It doesn't go anywhere

 18     until something else comes along and takes its place.

 19          And so the card catalog is split into things that are

 20     available and things that are in use in terms of spaces on the

 21     shelf.   And so if the book is deleted, a file is deleted, the

 22     actual data doesn't go anywhere.                  It's just marked as available

 23     for something else that can come along and take its place if

 24     it's needed.

 25     Q.   What does it mean to format a device?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 89 of 215
                                                                                           89


  1     A.   So as we spoke about previously, formatting is placing a

  2     file system on a drive.         And so if you are formatting a device

  3     that already has a file system in place, essentially you are

  4     throwing out the card catalog, if we're using that analogy, and

  5     putting a new one in its place.                 And there's a couple different

  6     ways to format a drive.         So I'll go through the two different

  7     ways.

  8          The first is what we call a quick format.                        And that's

  9     preparing the drive to be used -- that's what formatting is.                            A

 10     quick format, it's a very quick process.                          It's almost

 11     instantaneous to the user.            What it does is it throws out the

 12     card catalog, puts a new one in its place, but everything in

 13     the shelves, all the data for the files, remain.                         It's just the

 14     card catalog doesn't see it anymore.                      It doesn't see them as in

 15     use.    They're just available to be written to if they need to.

 16          There's also full formatting.                  Full formatting is a much

 17     longer process and can take potentially up to a couple hours

 18     depending on the size of the drive that you're dealing with.

 19     And what it does is it throws out the card catalog and it also

 20     starts going through all the shelves in the library and

 21     throwing out all the books as well.                     So you start from a

 22     completely clean slate.         That's full formatting.

 23     Q.   What does it mean when you reformat a device?

 24     A.   Reformatting is formatting a device that already has a file

 25     system.    So either you're doing a quick format or a full

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 90 of 215
                                                                                              90


  1     format.     Either way, at the very least, the card catalog is

  2     being thrown out.     So the references to where things are stored

  3     on the drive are gone.

  4     Q.   And is there a concept called fragmentation associated with

  5     this reformatting process?

  6     A.   That's right.    Fragmentation is eluding to what we talked

  7     about earlier where a new file is added.                          Sometimes they're

  8     split up into multiple different pieces on the drive.                         That's

  9     what we refer to as fragmentation.                     And that's why it's so

 10     important to keep that card catalog intact, because it allows

 11     us to put back together and piece back together the different

 12     pieces of the files.

 13     Q.   So -- and I started using computers about 20 years ago when

 14     I was in high school and I remember that you had to defragment

 15     your devices.     Is that something that you would -- what you're

 16     speaking about here?

 17     A.   Yes.    You may have heard the term "defrag your computer"

 18     before.     That essentially is trying to reorganize it in a way

 19     to put everything back together.                  So if you have piece one and

 20     piece two that are separate, you try to put them next to each

 21     other so it's not as disorganized.                     That's essentially what

 22     that means.

 23     Q.   When you reformat a device, what does it do to the data on

 24     the device?

 25     A.   Depends on the type of reformatting that you do.                        If it's a

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 91 of 215
                                                                                      91


  1     quick reformat, as I described, you throw out the card catalog

  2     but the data remains on the drive.                     If you do a full format,

  3     then you are throwing out the index and also clearing the

  4     shelf, so to speak, clearing the drive of data.

  5     Q.   So it sounds like reformatting can put that at risk?

  6     A.   Yes.   It absolutely does.             By its very nature, it is

  7     changing the contents of the media of the drive.

  8     Q.   And when a device is reformatted, would it affect your

  9     ability as a forensicist to go back and recover any data on the

 10     device?

 11     A.   Yes.   It greatly impacts the ability to recover data.                  Like

 12     I mentioned, if you throw out the card catalog, using the

 13     library analogy, if we're trying to piece back together what

 14     was there, it's very hard to tell maybe where one file starts

 15     and where it should end because it's split amongst each other.

 16     It's hard to determine how the drive and how the shelves in the

 17     library are organized.        That's why it's important to have that

 18     card catalog.

 19     Q.   And what other things can affect your ability to recover

 20     data on a device?

 21     A.   Things such as encryption can affect the ability to recover

 22     data.   Things such as installing an operating system can affect

 23     the ability to recover data.              And also the simple act of adding

 24     data to a drive can also affect the ability to recover data.

 25     Q.   Is there a technical term used for adding data to a drive?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 92 of 215
                                                                                             92


  1     A.   We call it writing data and overwriting data on a drive.

  2     Q.   Let's talk through -- about encryption.                          What is

  3     encryption?

  4     A.   Encryption is the means by which you can essentially secure

  5     data and make it inaccessible, unless you know how it was

  6     encrypted and the passcode that was used to encrypt it.

  7     Q.   So how does overwriting affect your ability to recover data

  8     on a device?

  9     A.   Simply put, there's no way to go back from overwriting.

 10     Once something is overwritten, you cannot recover what was

 11     there before.

 12          To describe overwriting a bit more, going back to our

 13     library example, we had deleted the book from -- or decided

 14     that we didn't need the book any longer in the library.                         It

 15     remained on the shelf until something else came along and took

 16     its place.    What can happen is that if a new book comes in and

 17     it's determined that that book should be in the spot where the

 18     deleted book is currently residing, the deleted book will be

 19     removed, thrown away, and the new book will go in its place.

 20          And this can happen when you write data to a drive, or

 21     items that are not seen by the card catalog or not seen by the

 22     file system, because it doesn't know they're there or they're

 23     available to be written to, they can take the place of those.

 24          And what can happens sometimes is that the book -- the

 25     library is -- now we're getting a little difficult with the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 93 of 215
                                                                                            93


  1     analogy.    But what can happen sometimes is when you throw out

  2     the book, parts of the book can remain in the position.                        So

  3     maybe the new book that came in is not quite the same size as

  4     the book that was there before.                 What can happen is the new

  5     book can be in place and a little bit of the old book can

  6     remain.    And that's what we call fragmentary data because it's

  7     kind of left over from what was there before.

  8     Q.   How about installing an operating system?                        How does that

  9     affect your ability to recover data on a device?

 10     A.   Installing an operating system is a massive operation that

 11     involves writing and adding thousands of files to a drive.                          You

 12     are all familiar with an operating system such as Windows, or

 13     if you have a Macbook, Mac OS in the operating system on there.

 14     It allows a user to essentially control the computer and add

 15     files and run programs and do all the things that you expect a

 16     computer to be able to do.

 17          And when we install an operating system, like I said, it's

 18     a massive operation and fundamentally changes the contents of

 19     the drive by the operation itself.

 20     Q.   And how does encryption affect your ability to recover data

 21     on a device?

 22     A.   Like I said, encryption is a means to secure and render

 23     data inaccessible unless you know the way to access it.                        We are

 24     not able to view the contents of encrypted data unless we're

 25     able to unlock it first.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 94 of 215
                                                                                              94


  1          When we look at data in our forensic tools, really when

  2     you're looking at the content of encrypted data, it looks like

  3     a jumble of random data.          It's not readable like we would

  4     expect a Word document or a PDF to read, to be readable.

  5          When we encrypt something, to use the library analogy

  6     again, you're essentially putting a locked door around one of

  7     the shelves, for instance.            And if you don't have the key to

  8     that lock, you can't see what's there.

  9     Q.   And so is that -- for instance, talking about the

 10     encryption and how it might come across to an end user, is that

 11     like when you open a document, it's like a bunch of squiggles

 12     and symbols that are randomly just there and it's not visible

 13     text?

 14     A.   That could be one example, yes.

 15     Q.   And are there different levels of encryption?

 16     A.   There are many different encryption schemes out there.

 17     Some encryption schemes can be run, or some -- excuse me --

 18     some encryption programs can apply multiple different schemes,

 19     and some schemes are stronger than others.                            But generally

 20     speaking, they all operate on the same principle, is that you

 21     need the passcode in order to view whatever is encrypted.

 22     Q.   And are there ways to try to get around an encryption to

 23     access information on a device?

 24     A.   If you do not have the passcode or the means to open and

 25     unlock that encrypted data, one of the only remaining options

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 95 of 215
                                                                              95


  1     to you is what we call a brute force attack, which is --

  2     essentially to use the library analogy of a locked door.

  3     You're essentially trying every combination of key to open up

  4     that lock.    It can take a significant amount of time

  5     potentially to do that.

  6     Q.   So it's not always possible to break an encryption for a

  7     device; is that right?

  8     A.   It's not always practically feasible, yes.

  9     Q.   Okay.   So you said you were first asked to examine certain

 10     devices here.    There are certain demonstratives up on the

 11     board.

 12                 MR. FERNANDEZ:      Your Honor, I'm going to ask that D425

 13     be published to the jury as well, which is drawn from these

 14     demonstratives.

 15     BY MR. FERNANDEZ:

 16     Q.   So, Mr. Chambers, do these look like the devices that you

 17     reviewed?

 18     A.   Yes, they do.

 19     Q.   And have you seen those devices before?

 20     A.   I had not seen those physical devices before, but they seem

 21     to match the make and model of the devices I reviewed.

 22     Q.   So you reviewed five hard drives?

 23     A.   Yes.

 24     Q.   And you reviewed nine thumb drives?

 25     A.   That's right.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 96 of 215
                                                                                      96


  1     Q.    Why didn't you see the thumb drives?

  2     A.    I did not physically view the thumb drives because forensic

  3     images or exact copies of those devices were sent to me by

  4     Plaintiffs' counsel for analysis.

  5     Q.    So we'll talk about -- we'll get to what a forensic image

  6     is, because, as I said, only with ninth-grade computer science,

  7     it's a little bit beyond my head.                   But let's talk about --

  8     before we get there, let's talk about what you were asked to do

  9     with these devices.     Can you speak to what you were asked to

 10     do?

 11     A.    I was asked to identify activity before and after Dave

 12     Kleiman's death in 2013 and the impact of that activity on

 13     these devices.     I was asked to identify encrypted data on the

 14     devices and I was asked to recover data on the devices via

 15     deleted file recovery and file carving.

 16     Q.    And what kind of activity were you asked to look out for?

 17     A.    I was asked to look out for activity that would impact the

 18     contents of the drives.

 19     Q.    So, for example, some of the things we talked about, like

 20     overwriting.

 21     A.    Exactly.   So installing an operating system, formatting,

 22     adding data, overwriting data.

 23     Q.    Okay.   And so did you actually review these devices -- or

 24     you said you reviewed something else, forensic images; is that

 25     right?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 97 of 215
                                                                                       97


  1     A.   That's right.    I did not, during my examination, review the

  2     actual physical devices themselves, but I reviewed what we call

  3     forensic images which is essentially just a single file that

  4     contains the entirety -- the entire content of a physical

  5     drive, physical device.

  6          So I had 14 forensic images to review, instead of 14

  7     devices themselves.     And the forensic images are exact copies

  8     of the originals.

  9     Q.   So does the fact that you reviewed a forensic image, and

 10     not the device itself, affect your conclusions in this case?

 11     A.   No, not at all.    Having the forensic image is like I had

 12     the original device itself.             And we can prove that the forensic

 13     image is an exact copy of the original via a mathematical

 14     operation where essentially it's assigning a digital

 15     fingerprint of the physical device at the time it was collected

 16     and the data in the forensic image that we have.                      And if they

 17     match, which they did in this case, we know that the forensic

 18     image we're looking at is an exact copy of the original.

 19          And it's an exact copy of the original at the time the

 20     forensic image is made, which my understanding is all these

 21     forensic images were not created until 2019.

 22     Q.   So -- but you reviewed to make sure that they were exact

 23     copies?

 24     A.   Yes.

 25     Q.   And did you test to see whether there were any alterations

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 98 of 215
                                                                               98


  1     made to the forensic images?

  2     A.   I did.   I tested via that mathematical operation that I

  3     described to ensure that the hash values were correct and

  4     matched, which they did.

  5     Q.   What did you do when you went to examine these devices?

  6     A.   I used forensic best practices when I was reviewing these

  7     devices, including using a clean environment to ensure that

  8     there was no other data from other cases or other information

  9     that could taint my results.              And I also used a -- what we call

 10     a write blocker to ensure that no changes are made to the data

 11     that I'm examining.

 12     Q.   So kind of to think back to basic high school chemistry or

 13     biology, you went to a laboratory and started to perform

 14     testing on the devices.         Is that kind of a fair way of

 15     describing what you did?

 16     A.   Yes.   That's fair.

 17                 MR. FERNANDEZ:      Okay.         So if we can put up

 18     Mr. Chambers' demonstrative.

 19     BY MR. FERNANDEZ:

 20     Q.   Let's talk about kind of what you found when you looked at

 21     these devices.     So did you detect any signs of encryption on

 22     the thumb drives that you reviewed?

 23     A.   Yes.   I identified TrueCrypt container files on three of

 24     the thumb drives.

 25     Q.   So the first three?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 99 of 215
                                                                                       99


  1     A.   Devices 1, 2 and 3, correct.

  2     Q.   And what is TrueCrypt?

  3     A.   TrueCrypt is a discontinued free software program that

  4     allows a user to encrypt their data.                      And you can either

  5     encrypt it with -- you can encrypt a single container file or

  6     you can encrypt whole sections of a drive.

  7          And so going back to the library analogy, you could

  8     encrypt, for instance, a single book or you could encrypt

  9     entire shelves of the library and basically put a wall around

 10     an entire shelf.

 11               MR. FERNANDEZ:        Your Honor, may we publish this

 12     demonstrative to the jury?

 13               THE COURT:    Certainly.

 14               MR. FERNANDEZ:        Thank you.

 15               Please proceed.

 16     BY MR. FERNANDEZ:

 17     Q.   And how were you able to detect that encryption?

 18     A.   TrueCrypt can be a little difficult to detect.                    But it has

 19     a couple characteristics that, based on my experience, tells me

 20     that it is a TrueCrypt file, an encrypted file.

 21          The first is that TrueCrypt, when the actual content of the

 22     data is viewed, it appears as a random jumble of data, which

 23     these all did.

 24          Second, by their very nature, TrueCrypt container files,

 25     the logical size of them are divisible by 512, which these

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 100 of 215
                                                                                           100


   1    were.

   2         Third, these files were found in a folder called TrueCrypt

   3    with the TrueCrypt software.

   4         And those reason -- for those reasons led me to believe

   5    that they are TrueCrypt container files.

   6    Q.   And you have the software to be able to find the TrueCrypt

   7    files; is that correct?

   8    A.   I have a copy of the TrueCrypt software, yes.

   9    Q.   And were you able to get access to those TrueCrypt files?

  10    A.   I was not able to access these files, since I do not know

  11    the password.

  12    Q.   Is there anything that you noticed about these files?

  13    A.   The -- every single one of the files, which appear to be

  14    copies of each other, were all named "Do not delete."

  15    Q.   And so we've talked about the thumb drives.                        Did you detect

  16    any signs of encryption on any of the hard dives?

  17    A.   I detected encryption on three of the hard dives, which

  18    were device 12, 13, and 14.

  19    Q.   And what kind of encryption did you detect?

  20    A.   I was unable to determine what type of encryption it was,

  21    only that it appears to be encrypted.                       And the reason for that

  22    is that encryption necessarily doesn't have an identifier so

  23    you can tell exactly where it came from.                          Some do, most don't.

  24         These did not have a standard identifier, what we call a

  25    header.    And this kind of is one way to identify a file or, in

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 101 of 215
                                                                                     101


   1    this case, encrypted data.

   2         For instance, to step back for a second, if you have a PDF

   3    on your computer, PDFs by their nature all have a standard

   4    identifier to them.      It's the first chunk -- the first little

   5    bit of the data in the file tells you that it's a PDF.                 And

   6    it's a very standard identifier.                  And so, if you know what the

   7    identifier is, even without knowing that it's a PDF, even if

   8    you took away the .pdf of a file --

   9         (Court reporter interruption.)

  10               THE WITNESS:     I'm sorry.

  11               Essentially, the encrypted data does not have an

  12    identifier, but it does appear to be encrypted and I was not

  13    able to access the contents of that encryption.

  14    BY MR. FERNANDEZ:

  15    Q.   So you were able to detect encryption on six files.                Let's

  16    talk about what other analysis you did on these documents.                   Did

  17    you look to whether there were any documents that were

  18    reformatted after April 26th, 2013?

  19    A.   I identified four devices of the 14 that were reformatted

  20    following Dave Kleiman's death in 2013.

  21    Q.   And do you remember what devices those were?

  22    A.   Those were devices 6, 9, 11, and 14.

  23    Q.   And why does it matter that those devices were reformatted?

  24    A.   Again, going back to our library example, when we reformat

  25    a device, we are fundamentally changing the contents of that

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 102 of 215
                                                                                        102


   1    device.    We're throwing out the card catalog and we are losing

   2    the pointers, the knowledge of where the data on the drive is

   3    and how it's organized.

   4    Q.   And how did this reformatting impact your ability to

   5    recover data from these devices?

   6    A.   It greatly impacts the ability to recover data and it

   7    greatly impacts the examination of that device.                       Because, like

   8    I said, you don't have the references to know where the

   9    previous data resided on that device.

  10    Q.   And you testified just now that one of the devices that was

  11    reformatted was number 14; is that right?

  12    A.   That's right, yes.

  13    Q.   And that device was also encrypted, as I see here; is that

  14    right?

  15    A.   That's right.     Device 14 was also -- it was fully

  16    encrypted.    It wasn't just a single TrueCrypt file.                    The entire

  17    device appeared to be encrypted.

  18    Q.   And so how does the combination of encryption and

  19    reformatting impact your ability to recover data from a device?

  20    A.   The combination of a fully encrypted drive, following

  21    reformatting -- like I said, essentially reformatting

  22    overwrites a part of that drive.                  You're throwing out the card

  23    catalog.

  24         And the way that most full-disk encryption works -- and

  25    TrueCrypt is among these -- is that the first little bit of the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 103 of 215
                                                                                            103


   1    drive, the first chunk of the encryption on the drive, holds a

   2    scrambled version of the master key.                      And when you reformat a

   3    drive, you are overwriting the section that holds that

   4    scrambled bit of the master key.                  It's essentially damaging the

   5    lock of that encryption.          So even if you did have the key,

   6    you're not able to unlock that lock anymore because it's been

   7    damaged.

   8    Q.   So basically, it's like taking a hammer to a lock and like

   9    hitting it and then trying to fit in a key?                           Is that a fair way

  10    of describing it?

  11               MR. ROCHE:    Objection.

  12               THE COURT:    The objection is sustained.

  13    BY MR. FERNANDEZ:

  14    Q.   Let's talk about other things that you looked at that might

  15    affect data.     Did you also look to whether there was any --

  16    there were any operating systems installed in any of the

  17    devices?

  18    A.   I did.   I identified two operating systems as having been

  19    installed on the devices after Dave Kleiman's death in 2013.

  20    Q.   And which devices were those?

  21    A.   Devices 10 and 11.

  22    Q.   And I believe it would -- is it fair to say that it's this

  23    one and this one?

  24    A.   That's right, yes.

  25    Q.   And why does it matter that a new operating system was

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 104 of 215
                                                                                          104


   1    installed on those devices?

   2    A.   As I described previously, the operating system

   3    installation is a massive change that involves writing

   4    thousands of files onto a device.                   And adding those files

   5    overwrites sections of the drive such that we're unable to

   6    recover what was there before.

   7    Q.   And have you read the transcript of Ira Kleiman's testimony

   8    in this case?

   9    A.   Yes, I have.

  10    Q.   And is it your conclusion that certain devices had a new

  11    operating system installed consistent with his testimony?

  12    A.   Yes.   That's my understanding.

  13    Q.   And do you recall his testimony that certain devices were

  14    empty?

  15    A.   I do recall that testimony, yes.

  16    Q.   And is it possible that they weren't?

  17    A.   Absolutely.    It's -- as a person sitting in front of a

  18    computer, as a layperson using a computer, you do not see by

  19    the very nature of that all the sorts of data that are hidden

  20    from that user.     As a forensic examiner with the tools

  21    available to me, I can see deleted content.                           I can see

  22    fragmentary data.      I can see data from previous file systems

  23    that still reside on the drive.                 All that is invisible to

  24    someone sitting in front of a computer.                         So even if the drive

  25    appears to you, when you're looking in front of it, as it's

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 105 of 215
                                                                                        105


   1    empty, it might not be.

   2    Q.   And do you recall the testimony of Ira Kleiman where he

   3    said that he added and deleted data from devices?

   4    A.   I do, yes.

   5    Q.   Okay.    Was there any data added to the devices after April

   6    26th, 2013?

   7    A.   Yes.    I identified data being added to the devices, 13 of

   8    the 14 devices, after Dave's death in 2013.

   9    Q.   And this is what we call overwriting; is that correct?

  10    A.   Yes.    Writing data to a drive, adding data to a drive,

  11    fundamentally by its nature, takes the place of something on

  12    the drive.     It overwrites an area of the drive.                    It takes the

  13    place -- a position on the bookshelf.

  14    Q.   And what was the first date that data was added to one of

  15    the devices?

  16    A.   The earliest that I identified was May 22nd, 2013.

  17    Q.   How many devices had data added to them?

  18    A.   It was 13 of the 14.

  19    Q.   And was data added to each of the thumb drives?

  20    A.   Yes.

  21    Q.   And was data added into the various devices in 2014?

  22    A.   Yes.

  23    Q.   2015?

  24    A.   Yes.

  25    Q.   2016?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 106 of 215
                                                                                          106


   1    A.   Yes.

   2    Q.   2017?

   3    A.   I believe -- let me correct my statement.                        Maybe not every

   4    device, but data continued to be added to devices in 2014,

   5    2015, 2016.

   6    Q.   And up through the filing of this case in 2018; is that

   7    right?

   8    A.   Yes.    In fact, I identified data being added to the

   9    devices, 11 of the 14, up until and after October 1st, 2018,

  10    which was I believe the filing of this case.

  11    Q.   And why does all this matter?

  12    A.   It matters because all the activities here fundamentally

  13    change the contents of the drive and affect our ability to

  14    forensically examine the drives and recover data from the

  15    drives and see what was there before.

  16    Q.   And how does this impact your ability to recover data?

  17    A.   Greatly impacts it.

  18    Q.   And will we ever be able to know the content of the

  19    information that was lost in these devices?

  20                MR. ROCHE:   Objection.             Calls for speculation.

  21                THE COURT:   Sustained.

  22    BY MR. FERNANDEZ:

  23    Q.   Is there any way to know what data was on the devices

  24    before they were the subject of being overwritten?

  25                MR. ROCHE:   Objection.             Calls for speculation.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 107 of 215
                                                                                           107


   1               THE COURT:    Overruled.

   2               THE WITNESS:     No.       There is no way to determine the

   3    content of what was there before.                   And due to the actions that

   4    I described, to include formatting, installing an operating

   5    system, adding data, which fundamentally changed the contents

   6    of these drives, we weren't able to know what was there before.

   7    BY MR. FERNANDEZ:

   8    Q.   And who was responsible for those actions?

   9    A.   Ira Kleiman.

  10               MR. FERNANDEZ:       If I may have a second to consult with

  11    co-counsel, Your Honor.

  12               THE COURT:    All right.

  13         (Pause in proceedings.)

  14               MR. FERNANDEZ:       Thank you, Your Honor.                No further

  15    questions.

  16               THE COURT:    All right.             Cross-examination.

  17                                CROSS-EXAMINATION

  18    BY MR. ROCHE:

  19    Q.   Good morning, Mr. Chambers.                Let's do some rearranging

  20    here.

  21         Mr. Chambers, were you here when Dr. Edman testified?

  22    A.   I was, yes.

  23    Q.   And you understand that Dr. Edman testified that 10

  24    exhibits that were --

  25               MR. FERNANDEZ:       Objection, Your Honor.                Relevance and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 108 of 215
                                                                                        108


   1    exceeds the scope of direct.

   2               THE COURT:    Overruled at this point.

   3    BY MR. ROCHE:

   4    Q.   You understand that Dr. Edman testified that 10 of the

   5    documents that were collected by the Defendant in this

   6    litigation were, in fact, forgeries?

   7    A.   I was here for that testimony, yes.

   8    Q.   And you reviewed the metadata that Dr. Edman submitted with

   9    his report associated with forgeries one through 10, didn't

  10    you?

  11               MR. FERNANDEZ:       Objection, Your Honor.                It exceeds the

  12    scope of direct.

  13               THE COURT:    I'll allow it.                 Overruled at this point.

  14               THE WITNESS:     I reviewed Dr. Edman's reports, yes.

  15               MR. ROCHE:    Dorian, if we could pull up the first

  16    slide from Dr. Edman's presentation.

  17               And, Your Honor, this is Plaintiffs' Exhibit 823.                    It

  18    was previously admitted.          We would like to publish it to the

  19    jury.

  20               THE COURT:    All right.             It's in evidence.       You may.

  21    BY MR. ROCHE:

  22    Q.   Mr. Chambers, you testified that you reviewed the metadata

  23    submitted by Dr. Edman in his report associated with

  24    Plaintiffs' Exhibit 823.          What did you conclude about the

  25    cryptographic signature?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 109 of 215
                                                                                         109


   1                MR. FERNANDEZ:       Objection, Your Honor.                Exceeds the

   2    scope of direct.

   3                MR. ROCHE:   Your Honor, he's testified that he's

   4    reviewed this data.

   5                THE COURT:   Overruled.              I'll allow it.

   6    BY MR. ROCHE:

   7    Q.   What did you conclude about the cryptographic signature in

   8    what Dr. Edman testified as forgery number one, Plaintiffs'

   9    Exhibit 823?

  10    A.   I did not make a conclusion about the metadata

  11    specifically.

  12    Q.   But you reviewed it?

  13    A.   I did.

  14    Q.   So did you come to any conclusion as to the date?

  15    A.   I reviewed Dr. Edman's reports to review his methodology

  16    and look at his conclusions.

  17    Q.   Okay.

  18                MR. ROCHE:   Dorian, can we go to the next slide,

  19    please.

  20    BY MR. ROCHE:

  21    Q.   Mr. Chambers, you have Plaintiffs' Exhibit 823.2 in front

  22    of you?

  23    A.   Yes.    I see that.

  24    Q.   And you've reviewed this document?

  25    A.   I have seen this document, yes.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 110 of 215
                                                                                           110


   1    Q.   Okay.   And you didn't come to any conclusions?

   2               MR. FERNANDEZ:       Your Honor, if I can have a continuing

   3    objection to this line of questioning.                        He's exceeding the

   4    scope of direct.

   5               MR. ROCHE:    Your Honor, he's testified he reviewed

   6    these documents.

   7               THE COURT:    I am certainly -- it goes to the

   8    qualifications of the witness.                I will allow it and I will give

   9    you a continuing objection.

  10               MR. FERNANDEZ:       Thank you, Your Honor.

  11    BY MR. ROCHE:

  12    Q.   Mr. Chambers, you reviewed lines 13 to 15 of Plaintiffs'

  13    Exhibit 823.2?

  14    A.   As I mentioned, I reviewed Dr. Edman's reports for the

  15    purposes of reviewing his methodology and coming to the

  16    conclusions whether his methodology was flawed.

  17    Q.   But you didn't come to any conclusions about lines 13 to 15

  18    in Plaintiffs' Exhibit 823.2?

  19    A.   I was not asked to come to any conclusions about that

  20    specifically, no.

  21    Q.   In fact, you reviewed all of the metadata and cryptographic

  22    signatures in forgeries one through 10, and you didn't come to

  23    any conclusions about the exhibits associated with forgeries

  24    one through 10?

  25    A.   As I mentioned, I was not asked to review those for the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 111 of 215
                                                                                      111


   1    purposes of coming to a conclusion about the metadata itself.

   2    It was more looking at Dr. Edman's methodology.

   3    Q.   But you're not testifying -- you didn't testify during your

   4    direct examination about Dr. Edman's methodology?

   5    A.   No.

   6    Q.   So you have no opinions as to whether or not forgery number

   7    one is an authentic document?

   8               MR. FERNANDEZ:       Objection.              Asked and answered, Your

   9    Honor.

  10               THE COURT:    Sustained.

  11    BY MR. ROCHE:

  12    Q.   Do you have any opinions as to whether any of forgeries one

  13    through 10 are authentic documents?

  14               MR. FERNANDEZ:       Objection.              Asked and answered, Your

  15    Honor.

  16               THE COURT:    Overruled.             I'll allow it.

  17    BY MR. ROCHE:

  18    Q.   Do you have any opinions as to whether forgeries one

  19    through 10 are authentic documents?

  20    A.   No.

  21    Q.   Okay.   I'd like to change gears here and discuss the drives

  22    you analyzed.     You're not an expert on Bitcoin?

  23    A.   I do not consider myself an expert on Bitcoin, no.

  24    Q.   You're not an expert on cryptocurrencies?

  25    A.   No.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 112 of 215
                                                                              112


   1    Q.   You have no opinion one way or another as to whether

   2    Dr. Wright stole Bitcoin from Dave or W&K?

   3    A.   I was not asked to look into that, no.

   4    Q.   You have no opinion one way or the other as to whether

   5    Dr. Wright took intellectual property from Dave -- from Dave

   6    Kleiman's estate or W&K?

   7    A.   No.

   8    Q.   And you didn't review any data related to that on any of

   9    these drives?

  10    A.   No, not specifically related to that.

  11    Q.   Your role in this litigation was to perform data

  12    collections, process those data collections, and perform a

  13    forensic analysis of those data collections?

  14    A.   I was involved in the data collection process and the

  15    forensic analysis, but I was not involved in processing.

  16    Q.   In fact, you were -- we were together when we collected

  17    these five devices on the left side of the screen about a year

  18    and a half ago?

  19    A.   That's right.

  20    Q.   Okay.   And so you analyzed the 14 devices that were

  21    provided to you by Plaintiff and Plaintiffs' counsel in this

  22    litigation?

  23    A.   I analyzed the forensic images of those devices.

  24    Q.   Okay.   And your opinion boils down to the fact that we'll

  25    never know what is on -- before Dave Kleiman died, what was on

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 113 of 215
                                                                                  113


   1    these 14 devices?

   2               MR. FERNANDEZ:       Objection, Your Honor.

   3    Mischaracterizes his testimony.

   4               THE COURT:    Overruled.             I'll allow it.

   5               THE WITNESS:     Can you repeat the question, sir?

   6    BY MR. ROCHE:

   7    Q.   Your opinion boils down to:                We will not know before Dave

   8    Kleiman died what was on these 14 devices?

   9    A.   My opinion is that we will not know what was overwritten on

  10    these drives and on these devices and what was there before the

  11    actions that took place.

  12    Q.   And how many of the drives are you testifying had

  13    overwritten data?

  14    A.   Thirteen of the 14.

  15    Q.   Thirteen of the 14.        Okay.

  16         When a file is deleted by a user -- I think we went through

  17    an analogy earlier.      When a file is deleted by a user, the file

  18    allocation table -- when a file is deleted by a user, the file

  19    allocation table tells the computer what can be removed and

  20    overwritten and what cannot be?

  21    A.   The file table on the file system marks the space, the

  22    areas where the file resides, as available to be overwritten.

  23    Q.   Okay.    And so it's -- and I think you testified it's

  24    equivalent to -- the file table we can think of as books in a

  25    library.     And files that are supposed to be there are -- or

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 114 of 215
                                                                                            114


   1    files that a user wants to remove are marked for deletion, but

   2    aren't actually moved off the bookshelf until something else

   3    takes its place?

   4    A.   I think I testified that a file system is like a library,

   5    not the file table.

   6    Q.   File system.    Okay.

   7         And the books are individual files in the library?

   8    A.   In the analogy that we're using, yes.

   9    Q.   Okay.   So the file table's the library.                         The books are the

  10    files?

  11    A.   The file table is the card catalog.

  12    Q.   The card catalog.

  13    A.   The file system is the library.

  14    Q.   File system's the library.               Okay.

  15         So -- and it's the card catalog is what marks things for

  16    deletion so that they can be removed if space is needed?

  17    A.   It marks what's available to be overwritten and available

  18    to be used by something else and what is in use, generally

  19    speaking.

  20    Q.   But until the card catalog marks something for removal, the

  21    book -- that book is not marked for deletion, right?                          So

  22    basically it requires a user to tell the card catalog:                          "Hey,

  23    this book no longer needs to be on the shelf."                          Is that a fair

  24    characterization of the analogy you're using?

  25    A.   A user or a program, operating system, but yes.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 115 of 215
                                                                              115


   1    Q.   Okay.   So it would be -- if I have a number of files on my

   2    desktop and I delete one, that's the equivalent of telling the

   3    card catalog that this can now be overwritten in the library,

   4    can be taken off the shelf and removed and replaced with

   5    something else?

   6    A.   With that analogy, yes.

   7    Q.   Mr. Chambers, you understand the devices you reviewed

   8    belonged to Dave Kleiman?

   9    A.   Yes.

  10    Q.   And you have no evidence to suggest that Dave Kleiman

  11    deleted or marked for deletion any files related to Bitcoin?

  12    A.   I can only opine on what is on the drives currently and

  13    what I can determine from a forensic examination.

  14    Q.   I'm asking you:     Do you have any evidence that Dave Kleiman

  15    marked for deletion, before he passed away, files related to

  16    Bitcoin -- marked them for deletion off the shelf?

  17    A.   No.

  18    Q.   What about any private keys?

  19    A.   No.

  20    Q.   So anything related to Bitcoin whatsoever?

  21    A.   No.

  22    Q.   Would it make sense for Dave Kleiman to delete files

  23    relating to his private keys, to mark them for removal off the

  24    shelf?

  25    A.   If you're referring to him specifically deleting a file

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 116 of 215
                                                                                116


   1    versus some other operation on the drive, I don't think I can

   2    speculate on what would make sense related to cryptocurrency or

   3    Bitcoin in that regard.

   4    Q.   Okay.   And were you here, I believe it is two weeks ago

   5    now, when Ira Kleiman testified about his use of his brother's

   6    devices?

   7    A.   I was not here, but I did read the transcripts.

   8    Q.   Okay.   And do you understand Ira Kleiman testified that he

   9    did not delete, mark for deletion, files on these devices?

  10    A.   I don't believe that's correct.

  11    Q.   What's -- you're -- Ira Kleiman testified he marked for

  12    deletion?

  13    A.   I'm sorry.    Let me clarify.              That is Ira Kleiman's

  14    testimony, yes.

  15    Q.   And you did not find any Bitcoin private keys on any of the

  16    14 devices that you reviewed?

  17    A.   No, I did not.

  18    Q.   You didn't find any -- and you only found one Bitcoin

  19    public address on the devices you reviewed?

  20    A.   That's right, yes.

  21    Q.   And you reviewed the fragmented data?

  22    A.   Yes.

  23    Q.   What data did you -- what's the categories of data you

  24    reviewed?

  25    A.   I reviewed data that we recovered from the devices via what

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 117 of 215
                                                                                    117


   1    is called file carving.         And file carving, to step back for a

   2    second, is -- file carving is essentially recovering data from

   3    the devices without the use of the original file system.

   4          So in instances where the card catalog has been thrown out,

   5    to use the library analogy, it's essentially wandering the

   6    shelves trying to piece back together what was there, which can

   7    be hit and miss and fairly difficult, since we don't have the

   8    pointers to know exactly how things were put together in the

   9    original place.

  10          And so to answer your question, Mr. Roche, yes, I reviewed

  11    fragmentary data, and deleted data, and data that was present

  12    on the devices that was not overwritten.

  13    Q.    And you reviewed all that data, and you didn't find any

  14    private keys in the devices?

  15    A.    I did not find any private keys on the devices.                 However,

  16    as I mentioned, I'm not able to recover and examine data that

  17    has been overwritten.       I can only --

  18    Q.    Finish, please.

  19    A.    I can only look at data that has not been overwritten.

  20    Q.    You have no evidence that any private keys were

  21    overwritten?

  22    A.    I did not see evidence of private keys being overwritten,

  23    no.

  24               MR. ROCHE:    Your Honor, I think now is a good time for

  25    a lunch break.     I'll come back and I'll finish up 15 minutes,

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 118 of 215
                                                                                              118


   1    20 minutes.

   2               THE COURT:    All right.

   3               All right.    Then, Ladies and Gentlemen, let's go ahead

   4    and take our one-hour lunch recess and I will see you back at

   5    2:00.

   6         (Jury not present, 12:59 p.m.)

   7               THE COURT:    Okay.        Have a pleasant lunch.                 I'll see

   8    you back at 2:00.

   9         (Recess from 12:59 p.m to 1:59 p.m.)

  10               THE COURT:    We're a little early.                        My apologies.

  11               MR. RIVERO:    We can proceed from the Defense, Your

  12    Honor.

  13               THE COURT:    Do you want to wait for Ms. McGovern?

  14               MR. RIVERO:    Judge, no.              It's okay if we start.

  15               THE COURT:    Are you certain?

  16               MR. RIVERO:    Yes.

  17               THE COURT:    Is Mr. Fernandez here?

  18               MR. FERNANDEZ:       Yes, Your Honor.

  19               THE COURT:    All right.             Are they ready to go?

  20               COURT SECURITY OFFICER:                They are all here, Judge.

  21    Ready to go.

  22               THE COURT:    Okay.        All right, then.                 Let's bring in

  23    the jury.

  24         (Before the Jury, 2:00 p.m.)

  25               THE COURT:    All right.             Welcome back, Ladies and

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 119 of 215
                                                                                 119


   1    Gentlemen.    Please be seated.             I hope that you did have a

   2    pleasant lunch and ready to get back to work.

   3               We'll continue with the cross-examination of Mr.

   4    Chambers.

   5               MR. ROCHE:    May it please the Court.

   6    BY MR. ROCHE:

   7    Q.    I went over my notes at lunch and I just have one last

   8    question for you, Mr. Chambers.

   9          You have testified this morning about 14 of Dave Kleiman's

  10    devices.    Are you aware that the only person who has said that

  11    there are Bitcoin private keys on these 14 devices is Craig

  12    Wright?

  13    A.    I have not reviewed Dr. Wright's testimony in that regard,

  14    no.

  15    Q.    No one else you're aware of has testified that there's

  16    Bitcoin private keys on those 14 devices?

  17    A.    Not that I'm aware of.

  18               MR. ROCHE:    No further questions.

  19               THE COURT:    All right.             Any redirect?

  20               MR. FERNANDEZ:       Yes, Your Honor.

  21                             REDIRECT EXAMINATION

  22    BY MR. FERNANDEZ:

  23    Q.    Mr. Chambers, prior to lunch you testified about what

  24    digital forensics is.       Can you please remind the jury of what

  25    is digital forensics.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 120 of 215
                                                                                              120


   1    A.   Digital forensics is the scientific investigation analysis

   2    and recovery of data on electronic media.

   3    Q.   And can digital forensics be used to determine whether a

   4    device -- a document has been forged?

   5               MR. ROCHE:    Objection.

   6               THE COURT:    Overruled.

   7               MR. ROCHE:    Calls for speculation.

   8               THE COURT:    Overruled.

   9               THE WITNESS:     In my opinion, forgery implies intent.

  10    That's my understanding of the word.                      And I would not use that

  11    word in the context of digital forensics.                             And in my opinion

  12    and my experience, digital forensics is not able to determine

  13    if a document is a forgery or not.

  14    BY MR. FERNANDEZ:

  15    Q.   And in your experience, have you ever been asked to

  16    determine whether a document has been forged?

  17    A.   I have before, and I pushed back on that client and said

  18    I'm not able to make that determination because digital

  19    forensics is not able to apply intent based on digital

  20    evidence.

  21    Q.   And does digital forensics permit you to ascribe conduct to

  22    someone?

  23    A.   Digital forensics alone is not able to put a person behind

  24    a keyboard.     You would need other corroborating evidence to

  25    assert that.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 121 of 215
                                                                                121


   1    Q.   And were you here for Dr. Edman's testimony?

   2    A.   I was, yes.

   3    Q.   And have you ever heard anyone in your field define forgery

   4    in the way he did?

   5               MR. ROCHE:    Objection.

   6               THE COURT:    Sustained.

   7    BY MR. FERNANDEZ:

   8    Q.   Did you review Dr. Edman's report?

   9    A.   I reviewed all of Dr. Edman's reports, yes.

  10    Q.   And in your opinion, would it be appropriate to describe a

  11    document as forged based on metadata alone?

  12    A.   No.

  13    Q.   Did you review Dr. Edman's conclusion?

  14    A.   I did.

  15    Q.   And did you need to review any documents to opine on the

  16    scientific basis of his opinion?

  17    A.   No.   I was able to look at his conclusion and look at his

  18    methodology without reviewing the documents themselves.               I had

  19    looked at his reports.

  20    Q.   And what about his methodology led you to your conclusion?

  21               MR. ROCHE:    Your Honor, I'm having trouble hearing.

  22    If he can take off the mask.              I think it's --

  23               THE COURT:    Well, you certainly don't need to take off

  24    the mask, but if you want to speak right into the microphone.

  25               MR. FERNANDEZ:       Yes, Your Honor.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 122 of 215
                                                                                           122


   1    BY MR. FERNANDEZ:

   2    Q.   And what about Dr. Edman's methodology did you find

   3    problematic?

   4    A.   Dr. Edman's methodology was flawed in several ways,

   5    particularly -- and I'm happy to run through those if you would

   6    like.

   7    Q.   Yes, please.

   8    A.   The first reason being that he failed to consider the

   9    historical background and chain of custody of a document when

  10    he was doing the analysis.

  11         The second, he did not use, based on the reports that he

  12    provided, forensic best practices for those documents during

  13    the analysis of those documents.

  14         And third, he did not independently verify the content and

  15    source of documents where that option was available.

  16               MR. FERNANDEZ:       Thank you, Your Honor.                No further

  17    questions.

  18               THE COURT:    All right.             Thank you.

  19               Ladies and Gentlemen, you have the right to ask

  20    questions to Mr. Chambers.            Does anybody have a question?

  21               If you do, just raise your right hand so I can give

  22    you the time to write down your question.

  23               Does anyone have any questions for Mr. Chambers?

  24               All right.    Seeing no questions.

  25               Is Mr. Chambers excused?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 123 of 215
                                                                                              123


   1               MR. FERNANDEZ:       Yes, Your Honor.                      He's excused.

   2               THE COURT:    All right.             On behalf of the Plaintiffs?

   3               MR. ROCHE:    No further questions.

   4               THE COURT:    All right.             Thank you, Mr. Chambers.              You

   5    are excused.

   6         (Witness excused.)

   7               THE COURT:    And the Defendant's next witness, please.

   8               MS. MCGOVERN:      Your Honor, at this time, we would like

   9    to play the videotaped deposition of Lynn Wright.

  10               THE COURT:    All right.             And can you give me the date

  11    of that deposition, please.

  12               MS. MCGOVERN:      Yes, Your Honor.                    January 13th, 2020.

  13               THE COURT:    All right.             Thank you.

  14         (Video played, 2:06 p.m. - 2:53 p.m.)

  15               THE COURT:    Have we concluded the testimony?

  16               MS. McGOVERN:      Yes.

  17               THE COURT:    All right.

  18               The Defendant's next witness.

  19               MS. McGOVERN:      Yes.        Your Honor, the Defendant calls

  20    Don Lynam via video deposition.

  21               THE COURT:    And can you give me the date of the

  22    gentleman's deposition.

  23               MS. McGOVERN:      April 2nd, 2020, Your Honor.

  24               THE COURT:    Thank you.

  25         (Video played.)

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 124 of 215
                                                                                       124


   1               MS. McGOVERN:      Could you stop for one second.               I

   2    apologize, Your Honor.        Just for planning purposes, this video

   3    is about an hour and 15 minutes long.

   4               THE COURT:    Why don't we stop it about 3:25, if we

   5    can.

   6               MR. RIVERO:    Sure.

   7               THE COURT:    Thank you.

   8               MS. McGOVERN:      Could you start from the top, please.

   9         (Video played, 2:54 p.m. - 3:24 p.m.)

  10               THE COURT:    All right.             Thank you, Ms. McGovern.

  11               At this point in time, Ladies and Gentlemen, let's

  12    take a 20-minute recess.

  13         (Jury not present, 3:25 p.m.)

  14               THE COURT:    Okay.        We're on a 20-minute recess.

  15         (Recess from 3:25 p.m. to 3:43 p.m.)

  16               MS. McGOVERN:      I apologize, Your Honor.                We did not

  17    realize you were here.

  18               THE COURT:    I think our clock in chambers is a

  19    little -- I apologize.        This is the second time I did that.

  20               MS. McGOVERN:      If it makes you feel any better, we

  21    were all talking.

  22               THE COURT:    Let me say that I appreciate everybody

  23    being so prompt when we take breaks.

  24               MS. McGOVERN:      We're prepared to proceed.

  25               THE COURT:    We're ready to proceed?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 125 of 215
                                                                                   125


   1               MS. MCGOVERN:      Yeah.         Just so Your Honor knows --

   2               THE COURT:    Certainly.

   3               MS. MCGOVERN:      -- we still have another 35 minutes on

   4    the video, 40 minutes on the video, and then we'll call a live

   5    witness and we'll be done.

   6               THE COURT:    All right.             Thank you.

   7         (Before the Jury, 3:45 p.m.)

   8               THE COURT:    All right.             Welcome back, Ladies and

   9    Gentlemen.    Please be seated.

  10               And we will continue with the testimony.

  11         (Video played, 3:45 p.m. - 4:32 p.m.)

  12               MS. McGOVERN:      Your Honor, at this time, we would call

  13    Dr. MacIntyre.

  14               THE COURT:    All right.             Certainly.

  15               Good afternoon, sir.             Let me ask that you step

  16    forward, remain standing, raise your right hand to be placed

  17    under oath.

  18         DR. DUGALD STEWART MACINTYRE, DEFENSE WITNESS, SWORN

  19               COURTROOM DEPUTY:          Thank you.

  20               THE COURT:    Sir, I'm not certain if you were here when

  21    it was announced, but we are following CDC guidelines.                 So to

  22    the extent that you are fully vaccinated, and you feel

  23    comfortable, you are permitted to take your mask off while you

  24    are testifying.

  25               THE WITNESS:     Thank you.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 126 of 215
                                                                                            126


   1               I'm fully vaccinated.

   2               THE COURT:    Entirely your decision.                      I did want to let

   3    you know, sir.

   4               Mr. Kass?

   5                               DIRECT EXAMINATION

   6    BY MR. KASS:

   7    Q.   Dr. MacIntyre, are you here to provide expert testimony?

   8    A.   That is correct.

   9    Q.   And what is the subject matter --

  10               COURTROOM DEPUTY:          I'm sorry.              Mr. Kass, would you

  11    please like to introduce the witness?

  12               MR. KASS:    Oh, sorry.

  13    BY MR. KASS:

  14    Q.   Dr. MacIntyre, can you please state your name for the

  15    record.

  16    A.   My name is Dugald Stewart MacIntyre, Jr.

  17    Q.   Dr. MacIntyre, are you here to provide expert testimony?

  18    A.   That's correct.

  19               MR. RIVERO:    I'm sorry, Your Honor.                      I'm having

  20    trouble hearing Dr. MacIntyre.

  21               THE COURT:    Dr. MacIntyre, if you'll speak directly

  22    into the microphone.

  23               Thank you, sir.

  24               THE WITNESS:     Is that better?

  25               MR. KASS:    Moderately, but hopefully we'll see how it

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 127 of 215
                                                                                          127


   1    goes.

   2    BY MR. KASS:

   3    Q.   Dr. MacIntyre, what's the subject matter of your expertise

   4    and the opinion that you will be providing today?

   5    A.   The general field of infectious disease.

   6    Q.   Is it with respect to any person in particular?

   7    A.   It's in respect to Mr. Kleiman.

   8    Q.   Is that Mr. David Kleiman?

   9    A.   That is correct.

  10    Q.   Are you being compensated for your work as an expert?

  11    A.   Yes, I am.

  12    Q.   How much is your compensation?

  13    A.   It's $500 an hour, and that's across the board.                    It's

  14    reviewing records, courtroom time, conference time.

  15    Q.   Could you tell the jury a little bit about your educational

  16    history.

  17    A.   Well, I was privileged to graduate from one of the best

  18    high schools in the country in East Grand Rapids, Michigan.                        I

  19    went to undergraduate at Yale University in New Haven,

  20    Connecticut, including one -- the third year I was in Ludwig

  21    Maximilian University in Munich, Germany, for a third year in

  22    Germany.

  23         Following undergraduate, I wet to medical school at the

  24    University of Michigan in Ann Arbor.                      Then I had a one-year

  25    rotating internship at the University of Oregon in Portland.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 128 of 215
                                                                                             128


   1    Rotating means I rotated through various services: medicine,

   2    surgery, pediatrics.

   3         Following that, I had a three-year residency in internal

   4    medicine back in Ann Arbor, University of Michigan.                        Then I had

   5    two years' service in the US Army.                     I was posted to the Canal

   6    Zone, one year in Colon on the Atlantic end and then the other

   7    year at Gorgas Hospital on the Pacific end.

   8         Then I had a two-year fellowship in infectious disease at

   9    the University of Miami, Jackson Memorial Hospital and the

  10    Miami Veterans Administration Medical Center.

  11    Q.   Dr. MacIntyre, after the fellowship, did you continue

  12    working as a doctor?

  13    A.   Yes, I did.    I had four years.                  I stayed on in the

  14    full-time faculty at the University of Miami.                         I'm still at

  15    Jackson and the VA.      Following that I entered private practice,

  16    where I have been ever since.

  17    Q.   In total, how many years have you been a practicing doctor?

  18    A.   Since 1975, including those four years on the full-time

  19    faculty.

  20    Q.   And in how many of those years have you been specializing

  21    in infectious disease?

  22    A.   Well, the entire time because that's where my fellowship

  23    was, and I stayed on in that field.

  24    Q.   Have you ever worked at a VA hospital?

  25    A.   Yes, I have.    I had experience at the Ann Arbor VA hospital

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 129 of 215
                                                                                        129


   1    when I was a resident there, and then the Miami VA hospital

   2    during my fellowship and time on full-time faculty.

   3    Q.   So in total, how much time have you worked or been a fellow

   4    in a VA hospital?

   5    A.   Well, I've been on and off, because obviously I was not at

   6    the VA the entire time.         But it would be for a total of four --

   7    four, six -- nine years.

   8    Q.   Are VA hospitals similar to typical hospitals?

   9    A.   In many ways they are, but they have substantial

  10    differences as well.

  11    Q.   Could you tell the jury what those substantial differences

  12    are.

  13    A.   Well, the first thing is the VA -- a VA hospital is part of

  14    the VA system that has complete interchangeability of records

  15    among the various VA hospitals.

  16         Secondly, their patient population consists of veterans of

  17    the United States military, and as such tend to be more men

  18    than women, although that difference is starting to decrease

  19    now.

  20         Also, being associated with veterans, they tend to form --

  21    they tend to function in many ways like the military,

  22    particularly in their leave-of-absence regulations.                      It's

  23    almost like a leave of absence in the military.                       If a furlough

  24    from the hospital for an inpatient who is in the hospital --

  25    there has to be a starting and ending time, it has to be

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 130 of 215
                                                                                              130


   1    specifically ordered, and also a reason is given.

   2    Q.   Is another difference the likelihood of having interns or

   3    fellows in the hospital?

   4               MR. RIVERO:    Objection.              Leading.

   5               THE COURT:    Sustained.

   6    BY MR. KASS:

   7    Q.   Dr. MacIntyre, are you aware of any additional differences

   8    between a regular hospital and a VA hospital?

   9    A.   Well, when the VA system was first set up back in the

  10    late -- in the 1940s, somebody had the good sense of

  11    associating major VA hospitals with major universities, such

  12    that the Ann Arbor VA, where I was, was University of Michigan,

  13    and the VA in Miami is University of Miami.

  14         As such, they are teaching hospitals.                            Now, that doesn't

  15    mean that there are not other teaching hospitals.                            Jackson, for

  16    instance.    But as a teaching hospital, they have interns,

  17    residents and fellows on service, and these individuals who are

  18    physicians, they are MDs or DOs.                  They also see the patients,

  19    usually on rounds, in groups.

  20    Q.   Have you previously treated an individual with paraplegia?

  21    A.   Yes, I have.

  22    Q.   Approximately, how many times have you done it?

  23    A.   Well, seeing as they are not very common, I don't see them

  24    tremendously often.      But I do see maybe two, three or four a

  25    year.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 131 of 215
                                                                              131


   1    Q.   And in what context do you typically see those paraplegic

   2    patients?

   3    A.   Well, paraplegia in itself leads to problems with

   4    infections.     So it's not at all surprising that an infectious

   5    specialist would be seeing a paraplegic, particularly a

   6    hospitalized paraplegic.

   7    Q.   Have you reviewed Dave Kleiman's medical records?

   8    A.   Yes, I have.

   9    Q.   Do you recall approximately how many pages of medical

  10    records you reviewed?

  11    A.   Well, I reviewed medical records from the VA system, most

  12    of which were from his final hospitalization from September

  13    2010 until March 2013.        In all, there were -- it was in five

  14    figures, so it was between 10 and 11,000 pages.

  15               MR. KASS:    Mr. Reed, could you please pull up

  16    Defendant's Exhibit 91 and show it to Judge, counsel, and the

  17    witness, but not the jury.

  18    BY MR. KASS:

  19    Q.   Dr. MacIntyre, do you recognize the document in front of

  20    you?

  21    A.   Yes, I do.    Uh-huh.

  22    Q.   What do you recognize it to be?

  23    A.   It is a request for records to the Department of Veterans

  24    Affairs.

  25               MR. KASS:    Mr. Reid, if you could just scroll down a

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 132 of 215
                                                                                  132


   1    little bit to get past the letter.

   2               Just scroll a few more pages.

   3               There we go.     That's perfect.

   4    BY MR. KASS:

   5    Q.   And, Dr. MacIntyre, what do you recognize this document to

   6    be, this portion of the document?

   7    A.   Well, this is a portion of the records during that

   8    hospital -- that prolonged hospitalization that I was talking

   9    about.    This particular portion is a list of problems.

  10    Q.   Dr. MacIntyre, in your review of the medical records, did

  11    you see any statements by Dave Kleiman?

  12    A.   Excuse me.    Again?

  13    Q.   In your review of the medical records, were there any

  14    statements made by Dave Kleiman in the records?

  15    A.   There are statements quoted by the nursing personnel that

  16    they say he made.

  17    Q.   Okay.   And were those statements or quotes in connection

  18    with him obtaining medical treatment?

  19    A.   Well, they had to do with medical treatments usually.

  20               MR. KASS:    Your Honor, I'd like to introduce

  21    Defendant's Exhibit 91 into evidence.

  22               MR. BRENNER:     No objection, Your Honor.

  23               THE COURT:    All right.             Exhibit 91 is admitted into

  24    evidence.

  25         (Defendant's Exhibit 91 received into evidence.)

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 133 of 215
                                                                                         133


   1                MR. KASS:    Mr. Reed, would you be able to pull up

   2    Defendant's Exhibit 92.

   3    BY MR. KASS:

   4    Q.   Dr. MacIntyre, do you recognize this to be another one of

   5    the medical records that you reviewed?

   6    A.   Yes.    That is correct.          It's from the same hospitalization.

   7    These particular are consultations.

   8                MR. KASS:    Your Honor, I'd like to introduce

   9    Defendant's Exhibit 092 into evidence.

  10                MR. BRENNER:     Your Honor, I believe these are broken

  11    down into about 10 exhibits, the medical records.                      I'm not

  12    going to have an objection to any of them.

  13                MR. KASS:    Your Honor, if it's all right, could I read

  14    into the record the different exhibit numbers?

  15                THE COURT:    Certainly.

  16                And, Mr. Brenner, let the Court know if there is any

  17    objection to any of these exhibits.

  18                MR. KASS:    The additional exhibits would be

  19    Defendant's Exhibit 93, Defendant's Exhibit 94, Defendant's

  20    Exhibit 95, Defendant's Exhibit 96, Defendant's Exhibit 97,

  21    Defendant's Exhibit 98, Defendant's Exhibit 99, Defendant's

  22    Exhibit 100, Defendant's Exhibit 101, Defendant's Exhibit 102.

  23                Your Honor, I'd like to move all those medical records

  24    into evidence.

  25                MR. BRENNER:     No objection, Your Honor.

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 134 of 215
                                                                                  134


   1               THE COURT:    All right.             Without objection, admitted

   2    into evidence.

   3          (Defendant's Exhibit 93 through 102 received into

   4    evidence.)

   5               MR. KASS:    Mr. Reed, could you pull up Tab 16.            Tab

   6    16.

   7               And, again, show it only to the witness, counsel, and

   8    the Court.

   9    BY MR. KASS:

  10    Q.    Dr. MacIntyre, do you recognize this document?

  11    A.    Yes, I do.

  12    Q.    What do you believe it to be or recognize it as?

  13    A.    This is a brief summary of the dates of the hospitalization

  14    that I was talking about previously.

  15    Q.    And does the information in here accurately reflect what

  16    you saw in the long medical records that were previously shown

  17    to you?

  18    A.    That is correct.

  19               MR. KASS:    Your Honor, I'd like to introduce

  20    Defendant's summary exhibit into evidence.

  21               MR. BRENNER:     Your Honor, I have no objection to this

  22    as a demonstrative, but it's not evidence in and of itself.

  23               THE COURT:    Right.         This is your exhibit that you're

  24    using to assist Dr. MacIntyre with his testimony?

  25               MR. KASS:    Well, Your Honor, we actually would like to

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 135 of 215
                                                                                         135


   1    introduce it substantively as a summary exhibit.

   2               THE COURT:    What exhibit number is it?

   3               MR. KASS:    Your Honor, I don't believe that summary

   4    exhibits had to be listed on the exhibit list.                        We did share

   5    this previously with opposing counsel.

   6               THE COURT:    For demonstrative purposes or an exhibit?

   7               MR. KASS:    As a summary exhibit.

   8               THE COURT:    All right.             And, Mr. Brenner, your

   9    objection is?

  10               MR. BRENNER:     I don't think it should go into

  11    evidence.    I have no problem with it being displayed to the

  12    jury as a demonstrative.

  13               THE COURT:    Well, unless there's a reason to believe

  14    that the information contained in this exhibit is not accurate,

  15    then I would need this exhibit to be marked and the Court will

  16    allow it into evidence.

  17               MR. KASS:    Your Honor, we will mark it as Defendant's

  18    1000 -- we'll mark it as a 1020.

  19               THE COURT:    All right.

  20         (Defendant's Exhibit 1020 received into evidence.)

  21               MR. KASS:    Could I have this exhibit published to the

  22    jury?

  23               THE COURT:    You may.

  24    BY MR. KASS:

  25    Q.   Dr. MacIntyre, could you read or explain what are the

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 136 of 215
                                                                                           136


   1    high-level events going on in this summary exhibit to the jury.

   2    A.   Okay.   The first entry there, which is dated September

   3    24th, 2010, was the date of admission of Mr. Kleiman to

   4    Miami -- to West Palm Beach VA hospital.                          He presented there

   5    with sepsis and bacteremias related to the pressure ulcers that

   6    he had prior to admission.

   7         The next entry, September 28th, is -- and this is typical

   8    for the VA system, that they will transfer internally, from one

   9    VA hospital to another, in this case to the Miami VA Hospital,

  10    for more specialized treatment that he required.

  11         The final entry is when he was last seen at the Miami VA

  12    Hospital.    He left on a pass at that time.

  13    Q.   Between September 24th, 2010 and March 21st, 2013, was Dave

  14    Kleiman discharged from the hospital for any period of time?

  15    A.   He was not discharged from the hospital.                         He did receive

  16    passes, like I outlined before, temporary passes or furloughs.

  17               MR. KASS:    Mr. Reed, could you pull up Tab 16 -- 17.

  18    I apologize.     17.

  19               Not to the jury yet.             We haven't introduced it.

  20    BY MR. KASS:

  21    Q.   Dr. MacIntyre, do you recognize this document?

  22    A.   Yes, I do.

  23    Q.   And what do you recognize it to be?

  24    A.   This is a listing of the various furloughs or passes issued

  25    to Mr. Kleiman while he was an inpatient during that prolonged

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 137 of 215
                                                                               137


   1    hospitalization.

   2    Q.   Is this an accurate reflection of the information contained

   3    in Dave Kleiman's lengthy medical records?

   4    A.   Yes, it is.    It corresponds to what I noted during my

   5    review of the records.

   6               MR. KASS:    Your Honor, I'd like to introduce this

   7    summary exhibit as Defendant's 1021.

   8               MR. BRENNER:      Can I see just the next three pages,

   9    please.

  10               MR. KASS:    Oh, of course.

  11               Mr. Reed, if you could scroll down.

  12               MR. BRENNER:      Give me one second.

  13               Okay.   Okay.

  14               No objection, Your Honor.

  15               THE COURT:    Admitted into evidence.

  16         (Defendant's Exhibit 1021 received into evidence.)

  17               MR. KASS:    Mr. Reed, if you could pull up the

  18    Defendant's demonstrative exhibit, with respect to the stay in

  19    the hospital.

  20    BY MR. KASS:

  21    Q.   Dr. MacIntyre, do you recognize this demonstrative exhibit?

  22    A.   Yes, I do.    I have seen it before.

  23    Q.   And what does it show?

  24    A.   Well, this particular -- what's up there now, shows his

  25    time -- his days as an inpatient at the Miami Veterans

                                   Yvette Hernandez, Official Court Reporter
                                       400 North Miami Avenue, 10-2
                                            Miami, Florida 33128
                                               (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 138 of 215
                                                                                          138


   1    Administration Medical Center during the year 2010.

   2    Q.   What does the pinkish color reflect?

   3    A.   The days that he was an actual inpatient at the hospital.

   4    Q.   On the legend there's a little bit of a blue.                       What would

   5    that reflect?

   6    A.   Well, the blue would be overnight passes.                        Now, during the

   7    year that's up now, he did not have any.

   8               MR. KASS:    Mr. Reed, if you could move on to the next

   9    stop in the slide.

  10    BY MR. KASS:

  11    Q.   Dr. MacIntyre, what year was this added to this

  12    demonstrative exhibit?

  13    A.   Well, the year 2011.

  14    Q.   Do you see that Dave Kleiman had any overnight passes or

  15    extended day passes in 2011?

  16    A.   None that are indicated during that year.

  17    Q.   So does that mean throughout that entire year he was in the

  18    hospital?

  19    A.   That is correct.     The entire year.

  20               MR. KASS:    Mr. Reed, would you move on.

  21    BY MR. KASS:

  22    Q.   Dr. MacIntyre, what year was just added to the

  23    demonstrative exhibit?

  24    A.   The year 2012.

  25    Q.   In the year 2012, did Dave Kleiman have a number of

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 139 of 215
                                                                                        139


   1    overnight passes or extended day passes?

   2    A.   That is correct.

   3    Q.   How many of those overnight passes or extended day passes

   4    did he have in 2009?

   5    A.   There were two overnight passes.                     Actually, it would be one

   6    pass over two days, in February 2012.                       In September, he was out

   7    on pass seven days out of the month.                      In October, six days out

   8    of the month.     The November and December had no overnight

   9    passes.

  10    Q.   Apart from those overnight or extended day passes, was Dave

  11    Kleiman continuously in the hospital?

  12    A.   He was in the hospital as an inpatient all that time.

  13    Q.   Dr. MacIntyre, what year was just added to the

  14    demonstrative exhibit?

  15    A.   The year 2013.

  16    Q.   And how many overnight or extended day passes did Dave

  17    Kleiman have in the year of 2013?

  18    A.   Again, I'm going to have to amend what I was saying because

  19    an overnight pass is actually indicated by two days here.                      So

  20    he had one overnight pass in January, three of them in

  21    February.

  22    Q.   And apart from those passes, was Dave continuously in the

  23    hospital inpatient?

  24    A.   Well, he was up until March 21st, 2013.

  25    Q.   Okay.   What happened on March 21st, 2013?

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 140 of 215
                                                                                                 140


   1    A.   That's not indicated on this graphic.                            However, from my

   2    review of the records, I found that he was issued an overnight

   3    pass on that day and left the hospital.                         The records indicated

   4    that the next day he called in and he received an extension for

   5    one more day.

   6         After that time, he did not contact the hospital nor return

   7    to the hospital.     The hospital personnel attempted to contact

   8    him and were unsuccessful.            Because of that, he was issued what

   9    is called an irregular discharge.

  10               MR. KASS:    Mr. Reed, you could take down the

  11    demonstrative -- sorry.         If you could go back to that.

  12    BY MR. KASS:

  13    Q.   Dr. MacIntyre, what does this demonstrative exhibit

  14    reflect?

  15    A.   Well, it's a pie chart showing a comparison of the total

  16    amount of time he spent as an inpatient during this

  17    hospitalization, namely, two years, five months and two days,

  18    and the number of days that he was out on pass overnight, which

  19    was 23 days.

  20               MR. KASS:    Mr. Reed, you can take it down now.

  21    BY MR. KASS:

  22    Q.   Dr. MacIntyre, I want to know if you could explain a little

  23    bit more to the jury, what are day passes, overnight passes,

  24    how long do they last, what's their purpose?

  25    A.   Well, as I mentioned previously in the description of a VA

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 141 of 215
                                                                                              141


   1    hospital, when an individual is going to actually physically

   2    leave the hospital, he has to be issued a pass, which is signed

   3    off by one of the physicians, and the pass has to be for a

   4    reason.

   5         The pass indicates the time that he's expected to leave and

   6    the time he's expected back.              It can either be a day pass, when

   7    he's only gone during one day, or an overnight pass, when he

   8    leaves on one day and returns the next day.

   9    Q.   From your review of the records, is there an indication as

  10    to why these passes were just for a day or a day and overnight?

  11    A.   That depends on what he was requesting, if he requested a

  12    day pass or an overnight pass.

  13    Q.   Was there a medical reason from the records as to why he

  14    wouldn't be able to take an extended pass to leave the

  15    hospital?

  16    A.   In general, no, but one exception that he was granted some

  17    passes, in order to supervise the installation of a piece of

  18    equipment in his home, a lift in the shower.                          That could be

  19    considered a medical reason.              Other than that, his reasons were

  20    non-medical.

  21    Q.   Was there anything that you saw in the medical records that

  22    would prevent him from taking an extended stay out of the

  23    hospital?

  24               MR. BRENNER:     Objection.              Asked and answered.

  25               THE COURT:    Sustained.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 142 of 215
                                                                                      142


   1    BY MR. KASS:

   2    Q.   Do the medical records indicate Dave Kleiman's medical

   3    condition?

   4    A.   Yes, they do.

   5    Q.   And what do they show about his medical condition?

   6    A.   Well, in general, he was seriously ill during that entire

   7    time.

   8    Q.   Would that serious illness prevent him from leaving the

   9    hospital for extended furloughs?

  10    A.   Yes, it would, because he required rather extensive care,

  11    which he would not be receiving outside of the hospital for an

  12    extended period of time.

  13    Q.   Could you describe at a high level the various medical

  14    conditions that Dave Kleiman had.

  15    A.   Well, his basic underlying medical condition was

  16    paraplegia.     This was the result of a motor vehicle accident

  17    several years prior to the admission that we're talking about.

  18    But because of that, he had no use of the muscles from the

  19    waist down and he had no sensation the waist down.                    Thus, he

  20    was a paraplegic.

  21         This condition carried a number of complications.                  The

  22    major complications were pressure ulcers, which result from him

  23    lying with a bony prominence over a hard surface, causing loss

  24    of circulation to that area of the body, which leads to death

  25    of the cells and eventual formation of a skin ulceration.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 143 of 215
                                                                                           143


   1    Those are sometimes call decubitus ulcers or bedsores.                         He had

   2    a number of these before he came into the hospital in September

   3    2010, and the care of these throughout the hospitalization was

   4    most important.

   5         Now, he also had infections relating to these bedsores.

   6    Being an open sore, they become infected, and that frequently

   7    leads to infection of the underlying bone, which is called

   8    osteomyelitis, which requires extended antibiotic treatment and

   9    frequently surgical management.

  10         Now, he also had loss of control of the bladder sphincter,

  11    meaning he could not urinate normally.                        Because of that he had

  12    to have catheterizations of the bladder; either a chronic Foley

  13    catheter was left in place or intermittent catheterizations in

  14    and out in order to empty the bladder.                        This, in turn, can lead

  15    to infections, bladder infections, kidney infections, and they

  16    can also escape into the bloodstream relating to this problem.

  17         Then, finally, he had loss of control of the anal

  18    sphincter, meaning that defecation was not through the normal

  19    route.    He would require stimulation or it would occur

  20    spontaneously without control.                And this, of course, can lead

  21    to contamination of the pressure ulcers.                          I think that should

  22    be rather obvious.

  23    Q.   Dr. MacIntyre, what was the condition of Dave's bones?

  24    A.   The bones in the area of paraplegia -- and that is from the

  25    waist down -- were not subjected to weight bearing and not

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 144 of 215
                                                                                             144


   1    subjected to general use.           Bones that are not subjected to

   2    weight bearing or general use lose calcium and become brittle,

   3    easily fractured.      He had one fracture of his femur, which

   4    occurred just during physical therapy.

   5               MR. KASS:    Your Honor, this would be a good place to

   6    stop on my end, if that's okay with the Court.

   7               THE COURT:    All right.             Certainly.

   8               All right.    Ladies and Gentlemen, we will adjourn for

   9    the evening.     I will see you tomorrow morning at 9:45.                      If

  10    you'll make your way into the jury room.

  11               Please remember, you're not to discuss the case with

  12    anyone, nor permit anyone to speak with you.                          Everything

  13    learned about the case is learned within the courtroom.                            You're

  14    not to conduct any independent research.

  15               Have a pleasant evening.                 I'll see you tomorrow

  16    morning.

  17         (Jury not present, 4:59 p.m.)

  18               THE COURT:    Dr. MacIntyre, we'll see you tomorrow

  19    morning, sir.

  20               All right.    Is there anything further that we need to

  21    address this evening on behalf of the Plaintiffs?

  22               MR. FREEDMAN:      Your Honor, one thing.

  23               THE COURT:    Go ahead and have a seat.

  24               Thank you, Dr. MacIntyre.                   We'll see you tomorrow

  25    morning.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 145 of 215
                                                                                           145


   1               Dr. MacIntyre, you're free to go, sir.                     Thank you.

   2    We'll see you tomorrow morning.

   3         (Pause in proceedings.)

   4               THE COURT:    Mr. Freedman.

   5               MR. FREEDMAN:      Your Honor, never mind.                 Apologize.

   6    We're all set.

   7               THE COURT:    Is there anything to address on behalf of

   8    the Plaintiffs?

   9               MR. FREEDMAN:      No, Your Honor.

  10               THE COURT:    Is there anything to address on behalf of

  11    the Defendant?

  12               MS. McGOVERN:      Just one quick thing, Your Honor.                   I

  13    was speaking earlier today -- we're going to be taking

  14    probably -- just to make sure we don't have any gaps, we're

  15    going to be taking Mr. Kuharcik tomorrow afternoon, not Friday

  16    morning.    To just be ready with that for the Zoom.

  17               One question that came up is:                      What happens with

  18    exhibits that are not admitted already, if they were to come in

  19    through Mr. Kuharcik?       If it's by Zoom, I don't know if the

  20    Court has a procedure in that regard so that the jury doesn't

  21    see the exhibit before it's admitted.                       But I can send the

  22    exhibits to Mr. Kuharcik in advance.                      Whatever you prefer.

  23               THE COURT:    Well, obviously, he would need to have the

  24    exhibits in hand to review, and I would suggest that an

  25    instruction be given -- because the jury is going to be

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 146 of 215
                                                                                           146


   1    watching this witness -- that he is not to display the exhibit

   2    until you lay the necessary foundation.

   3               Now, to the extent that the parties can come to an

   4    agreement on the admissibility of these documents, then perhaps

   5    that cures any issue.

   6               MS. MCGOVERN:      Perfect.            Thank you, Your Honor.

   7               THE COURT:    Okay.        All right.              So I believe that Liz

   8    has already sent you the Zoom link.                     So now you have pretty

   9    much control to just let him know, and obviously let the Court

  10    know, when it's time for the witness.                       But will we have any

  11    other gaps in time?

  12               MS. McGOVERN:      No.

  13               THE COURT:    All right.             So we'll finish with

  14    Dr. MacIntyre, and then who will be the next witness?

  15               MS. McGOVERN:      Kimon Andreou and then Carter Conrad

  16    and then Mr. Kuharcik.

  17               THE COURT:    Do you believe that that will take us

  18    through the day?

  19               MS. McGOVERN:      I do.         And in fact, if it doesn't,

  20    there's a video clip that we'll play.

  21               THE COURT:    All right, then.

  22               Okay.   If there's nothing further, have a pleasant

  23    evening.    Take your time, but I do wish to remind you that

  24    we're going to be using the counsel table tomorrow morning.

  25               Have a nice evening.

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 147 of 215
                                                                              147


   1         (Proceedings adjourned at 5:02 p.m.)

   2

   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
Case 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 148 of 215
                                                                              148


   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 17th

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 148.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 27th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
                                Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
  18                            400 North Miami Avenue, 10-2
                                Miami, Florida 33128
  19                            (305) 523-5698
                                yvette_hernandez@flsd.uscourts.gov
  20

  21

  22

  23

  24

  25

                                  Yvette Hernandez, Official Court Reporter
                                      400 North Miami Avenue, 10-2
                                           Miami, Florida 33128
                                              (305) 523-5698
                               51/11
Case 9:18-cv-80176-BB Document 847     51/15
                                   Entered      51/19
                                           on FLSD         135/3 135/7
                                                   Docket 12/20/2021       135/17
                                                                     Page 149 of 215
   COURT SECURITY              51/23 52/4 52/8             135/21 136/17
   OFFICER: [2] 39/3           52/10 53/7 55/11            137/6 137/10
   118/20                      55/25 56/4 56/7             137/17 138/8
   COURTROOM DEPUTY:           56/25 57/5 57/7             138/20 140/10
   [4] 81/22 81/25             57/11 57/25 58/14           140/20 144/5
   125/19 126/10               63/2 63/9 65/25             MR. RIVERO: [8]
   MR. BRENNER: [8]            66/2 66/4 66/11             66/12 78/13 118/11
   132/22 133/10               66/24 67/16 67/24           118/14 118/16
   133/25 134/21               68/14 69/13 70/14           124/6 126/19 130/4
   135/10 137/8                75/7 77/19 77/22            MR. ROCHE: [15]
   137/12 141/24               78/5 78/7 78/12             103/11 106/20
   MR. FERNANDEZ:              80/2 80/6 144/22            106/25 108/15
   [26] 80/14 80/20            145/5 145/9                 109/3 109/18 110/5
   81/4 81/6 81/10             MR. KASS: [96]              117/24 119/5
   81/12 81/17 95/12           12/6 12/9 12/13             119/18 120/5 120/7
   98/17 99/11 99/14           14/2 14/6 14/9              121/5 121/21 123/3
   107/10 107/14               14/15 14/18 14/21           MS. MCGOVERN: [30]
   107/25 108/11               14/25 15/3 15/5              4/12 5/13 6/22
   109/1 110/2 110/10          15/12 15/22 19/1            8/8 9/19 9/25 10/6
   111/8 111/14 113/2          19/9 19/20 19/22            51/18 52/2 61/7
   118/18 119/20               19/25 20/3 20/6             77/14 78/11 123/8
   121/25 122/16               21/1 21/6 23/6              123/12 123/16
   123/1                       23/10 23/18 23/22           123/19 123/23
   MR. FREEDMAN: [97]          24/18 25/15 28/15           124/1 124/8 124/16
    3/4 3/8 4/1 4/3            28/19 33/15 33/20           124/20 124/24
   4/25 6/5 6/8 9/3            33/24 36/7 36/11            125/1 125/3 125/12
   10/19 12/4 12/11            37/12 37/17 37/25           145/12 146/6
   13/25 14/11 15/17           39/6 39/8 39/15             146/12 146/15
   19/18 19/24 20/2            39/18 40/4 40/17            146/19
   20/19 20/24 21/13           42/3 42/23 43/4             THE COURT: [201]
   22/25 23/3 23/17            51/14 51/17 51/22           THE WITNESS: [31]
   23/20 24/1 24/7             52/12 56/2 56/6             12/18 20/5 20/9
   24/16 25/9 25/23            56/16 56/18 57/9            24/21 25/25 30/1
   27/16 27/24 28/7            57/12 59/12 61/17           31/4 32/3 32/15
   28/13 29/1 29/16            68/19 72/14 72/23           34/10 35/8 37/19
   29/18 29/24 30/11           73/20 73/25 76/15           38/2 39/23 42/6
   30/16 30/23 31/1            76/19 76/23 77/18           61/19 69/15 73/21
   31/25 32/13 33/5            79/25 80/4 126/12           78/23 78/25 79/4
   33/12 34/8 35/5             126/25 131/15               79/13 79/17 81/24
   35/17 38/9 38/13            131/25 132/20               101/10 107/2
   39/4 39/19 40/22            133/1 133/8 133/13          108/14 113/5 120/9
   49/25 50/11 51/8            133/18 134/5                125/25 126/24
                               134/19 134/25
                              137/16
  $ 9:18-cv-80176-BB Document 847
Case                                                      148/13 Page 150 of 215
                                  Entered on FLSD Docket 12/20/2021
  $500 [1] 127/13     1021.1 [1] 2/18                  15 [4] 110/12
  $665 [3] 41/11      107 [1] 2/8                       110/17 117/25
   41/12 42/19        10:09 [1] 11/11                   124/3
                      10th [2] 14/5                    15,000 [1] 17/19
  '                    14/23                           16 [4] 65/4 134/5
  '80s [4] 58/22      11 [6] 1/9 2/5                    134/6 136/17
   60/6 60/10 63/23    4/14 101/22 103/21              17 [3] 1/5 136/17
  'X' [1] 72/11        106/9                            136/18
                      11,000 [1] 131/14                17th [4] 14/19
  .                   119 [1] 2/9                       14/20 14/24 148/8
  .pdf [1] 101/8      11:28 [1] 66/7                   18 [5] 12/6 12/9
  /                   11:29 [1] 66/9                    14/2 14/10 14/11
                      11:47 [2] 66/9                   19 [3] 19/22 19/23
  /s/Yvette [1]
                       66/14                            20/3
   148/17
                      12 [3] 64/23 65/1                19.2 [3] 62/23
  0                    100/18                           63/13 63/16
  0.1 [2] 47/20       123 [1] 2/10                     1940s [1] 130/10
   67/10              124 [1] 2/12                     1975 [1] 128/18
  0010689 [1] 50/13 125 [1] 2/12                       1:59 [1] 118/9
  0010690 [3] 49/23 126 [1] 2/13                       1st [1] 106/9
   50/6 55/19         12:59 [2] 118/6
                       118/9
                                                       2
  092 [1] 133/9
                      13 [8] 62/20 63/3                20 [5] 3/16 10/25
  1                    63/6 100/18 105/7                33/17 90/13 118/1
  10 [15] 1/11 39/17 105/18 110/12                     20-minute [4] 66/6
   40/10 71/20 81/6    110/17                           66/8 124/12 124/14
   103/21 107/23      132 [2] 2/16 2/16                200 [1] 1/14
   108/4 108/9 110/22 133 [1] 2/17                     2007 [1] 69/6
   110/24 111/13      134 [1] 2/17                     2008 [3] 60/19
   111/19 131/14      135 [2] 2/17 2/17                 60/24 65/2
   133/11             137 [2] 2/18 2/18                2009 [2] 35/24
  10-2 [2] 1/24       13th [1] 123/12                   139/4
   148/18             14 [20] 84/18 97/6               2010 [7] 65/7 65/9
  100 [2] 1/17         97/6 100/18 101/19               131/13 136/3
   133/22              101/22 102/11                    136/13 138/1 143/3
  1000 [2] 1/21        102/15 105/8                    2011 [5] 22/22
   135/18              105/18 106/9                     24/22 27/20 138/13
  101 [1] 133/22       112/20 113/1 113/8               138/15
  102 [3]  2/17        113/14 113/15                   2012 [3] 138/24
   133/22 134/3        116/16 119/9                     138/25 139/6
  1020 [3] 2/17        119/11 119/16                   2013 [16] 22/23
   135/18 135/20      140 [2] 19/23 20/3                27/21 37/2 96/12
  1021 [2] 137/7      148 [3] 1/8 2/2                   101/18 101/20
  2 9:18-cv-80176-BB Document2:06
Case                               [1] on
                              847 Entered 123/14
                                            FLSD Docket 55  [1] 63/3
                                                        12/20/2021 Page 151 of 215
  2013... [10]               2:53 [1] 123/14            5500 [1] 1/14
   103/19 105/6 105/8        2:54 [1] 124/9             56 [1] 63/10
   105/16 131/13             2nd [2] 1/17               5698 [1] 148/19
   136/13 139/15              123/23                    5:02 [1] 147/1
   139/17 139/24             3                          6
   139/25                    30 [2] 50/1 50/3           60 [1] 25/13
  2014 [2] 105/21            305 [1] 148/19             63 [1] 25/14
   106/4                     31 [2] 12/6 12/8           64 [2] 81/7 81/8
  2015 [2] 105/23            33 [2] 12/6 12/8           68 [3] 2/6 51/12
   106/5                     33128 [2] 1/24              51/23
  2016 [2] 105/25             148/18                    69 [2] 51/12 51/24
   106/5                     33131 [2] 1/14             69.1 [1] 62/15
  2017 [2] 69/3               1/17
   106/2                     33134 [1] 1/22
                                                        8
  2018 [8] 34/18             34 [1] 14/2                80 [1] 18/18
   35/4 36/5 36/20           35 [2] 14/2 125/3          82 [1] 2/8
   36/21 36/24 106/6         36 [1] 2/6                 823 [3] 108/17
   106/9                     3:24 [1] 124/9              108/24 109/9
  2019 [1] 97/21             3:25 [3] 124/4             823.2 [3] 109/21
  2020 [7] 14/5               124/13 124/15              110/13 110/18
   14/19 64/22 65/1          3:43 [1] 124/15            83 [1] 33/17
   81/7 123/12 123/23        3:45 [2] 125/7             8th [1] 35/24
  2021 [3] 1/5 148/9          125/11
   148/15
                                                        9
  21st [3] 136/13            4                          91 [5] 2/16 131/16
   139/24 139/25             40 [3] 4/16 18/18           132/21 132/23
  22 [2] 51/12 51/23          125/4                      132/25
  22nd [2] 4/10              400 [2] 1/24               92 [1] 133/2
   105/16                     148/18                    93 [2] 133/19
  23 [2] 3/17 140/19         41 [1] 14/3                 134/3
  24 [1] 81/8                44 [1] 38/15               93-102 [1] 2/17
  24th [2] 136/3             4:32 [1] 125/11            94 [1] 133/19
   136/13                    4:59 [1] 144/17            95 [1] 133/20
  2525 [1] 1/21                                         96 [1] 133/20
  26 [1] 3/17
                             5                          97 [1] 133/20
  26th [2] 101/18            50 [2] 4/15 34/22          98 [1] 133/21
   105/6                     50,000 [5] 62/14           99 [1] 133/21
  27th [1] 148/15             62/15 62/18 70/6          9:18-cv-80176-BB
  2800 [1] 1/17               70/7                       [1] 1/2
  28th [1] 136/7             512 [1] 99/25              9:45 [1] 144/9
  2:00 [3] 118/5             523-5698 [1]               9:58 [2] 1/6 3/1
   118/8 118/24               148/19
                             54 [2] 12/7 12/9
                              90/7Entered
  A 9:18-cv-80176-BB Document 847
Case                                90/13    90/16
                                          on FLSD Docket accurately
                                                         12/20/2021 Page[1]
                                                                         152 of 215
  abilities [3]               92/2 93/8 94/9              134/15
   69/16 71/10 71/13          96/5 96/7 96/8             acknowledges [1]
  ability [20] 45/20          96/19 98/20 100/12          4/20
   54/18 68/23 69/19          100/15 101/16              across [2] 94/10
   70/13 76/11 91/9           103/14 108/24               127/13
   91/11 91/19 91/21          109/7 109/10               act [1] 91/23
   91/23 91/24 92/7           110/17 110/19              action [2] 7/5 7/8
   93/9 93/20 102/4           110/23 111/1 111/4         actions [5] 6/20
   102/6 102/19               112/17 115/18               9/5 107/3 107/8
   106/13 106/16              116/5 119/9 119/23          113/11
  able [35] 5/6 6/19          121/20 122/2 124/3         activities [1]
   6/20 16/14 22/24           124/4 127/15 132/9          106/12
   24/6 28/3 34/5             133/11 134/14              activity [6] 24/12
   34/12 35/1 44/15           142/5 142/17                24/14 96/11 96/12
   70/22 75/11 76/5           144/13                      96/16 96/17
   85/5 93/16 93/24          above [1] 148/9             actual [8] 44/6
   93/25 99/17 100/6         above-mentioned [1]          60/5 88/4 88/17
   100/9 100/10                148/9                      88/22 97/2 99/21
   101/13 101/15             absence [3] 53/12            138/3
   103/6 106/18 107/6         129/22 129/23              actually [14] 7/2
   117/16 120/12             absolutely [3]               8/1 8/17 10/8
   120/18 120/19              5/20 91/6 104/17            10/24 12/22 36/2
   120/23 121/17             abundance [1] 4/22           72/23 96/23 114/2
   133/1 141/14              accepted [4] 13/5            134/25 139/5
  about [93] 3/8 4/8          18/10 84/11 85/4            139/19 141/1
   4/15 5/8 6/10 6/11        access [8] 7/23             add [4] 6/19 87/24
   8/13 9/9 10/25             8/2 31/12 93/23             88/10 93/14
   11/1 17/23 21/16           94/23 100/9 100/10         added [16] 18/11
   21/25 25/6 30/21           101/13                      87/2 87/6 90/7
   36/21 39/13 42/19         accessing [1] 86/9           105/3 105/5 105/7
   45/4 46/13 46/15          accident [1]                 105/14 105/17
   47/16 47/17 47/17          142/16                      105/19 105/21
   49/15 50/20 52/23         according [3]                106/4 106/8 138/11
   54/7 56/4 59/6             57/21 63/6 63/13            138/22 139/13
   60/21 62/12 65/4          account [5] 35/23           adding [7] 91/23
   65/19 68/23 69/22          36/3 36/23 67/4             91/25 93/11 96/22
   70/11 70/21 71/7           67/9                        104/4 105/10 107/5
   74/15 76/11 82/5          accounting [6]              addition [3] 6/18
   82/12 82/19 84/17          12/1 13/23 15/19            49/12 68/7
   84/22 85/20 85/20          16/1 16/6 16/10            additional [7]
   86/3 86/18 87/7           accurate [5] 10/20           4/11 22/7 72/2
   88/6 88/8 89/1             35/2 35/15 135/14           72/15 72/16 130/7
                              137/2                       133/18
  A 9:18-cv-80176-BB Documentafter
Case                                       14/5Docket 12/20/2021
                                    [11]on FLSD
                              847 Entered              26/23 27/4Page 27/8
                                                                      153 of 215
  address [12] 3/3           24/22 27/1 96/11   35/1 41/25 45/3
   18/5 27/8 33/3            101/18 103/19      48/20 50/20 53/25
   33/9 33/10 34/6           105/5 105/8 106/9  59/7 66/5 66/8
   34/17 116/19              128/11 140/6       66/13 66/15 68/6
   144/21 145/7             afternoon [5]       68/8 68/18 69/25
   145/10                    81/18 82/3 82/4    75/13 76/17 76/21
  addresses [1]              125/15 145/15      76/24 77/10 77/15
   34/13                    again [16] 7/10     78/8 78/14 78/16
  adds [1] 72/2              11/3 11/14 19/25   79/21 79/22 80/3
  adjourn [1] 144/8          20/24 22/13 26/9   80/18 80/21 81/5
  adjourned [1]              33/12 35/5 44/8    81/15 84/11 87/25
   147/1                     72/7 94/6 101/24   89/13 89/20 89/21
  adjust [2] 22/8            132/12 134/7       93/12 93/15 94/20
   22/13                     139/18             97/11 97/20 99/23
  Administration [2]        against [1] 7/6     100/14 101/3
   128/10 138/1             age [1] 11/3        104/19 104/23
  admissibility [1]         ago [4] 53/21       106/11 106/12
   146/4                     90/13 112/18 116/4 107/12 107/16
  admission [3]             agree [3] 8/9       108/20 110/21
   136/3 136/6 142/17        25/14 56/23        117/13 118/2 118/3
  admit [3] 56/9            agreeing [1] 37/4   118/19 118/20
   56/14 56/23              agreement [1]       118/22 118/25
  admitted [9] 2/16          146/4              119/19 121/9
   47/15 56/13 108/18       ahead [4] 3/6 66/6 122/18 122/24
   132/23 134/1              118/3 144/23       123/2 123/4 123/10
   137/15 145/18            algorithms [5]      123/13 123/17
   145/21                    13/17 16/24 17/1   124/10 124/21
  admonishment [2]           17/10 17/11        125/6 125/8 125/14
   6/18 7/21                alias [1] 47/10     131/4 131/13
  advance [2] 9/6           align [1] 13/1      132/23 133/13
   145/22                   alignment [1] 75/2 133/23 134/1 135/8
  advanced [1] 48/9         alive [1] 46/9      135/19 139/12
  advised [1] 7/11          AlixPartners [9]    144/7 144/8 144/20
  Affairs [1] 131/24         40/20 40/25 41/20  145/6 146/7 146/13
  affect [11] 91/8           41/25 42/9 42/13   146/21
   91/19 91/21 91/22         42/17 43/2 83/2   allocation [2]
   91/24 92/7 93/9          all [114] 3/6 3/10 113/18 113/19
   93/20 97/10 103/15        5/1 5/14 5/17 6/1 allow [14] 20/4
   106/13                    8/14 9/4 9/17 9/21 24/19 25/24 29/25
  affects [1] 11/6           10/20 10/23 11/15  32/14 35/7 56/11
  affirmative [2]            12/17 14/7 14/22   69/14 108/13 109/5
   44/13 84/23               16/2 19/14 19/21   110/8 111/16 113/4
                             20/9 26/12 26/20   135/16
Case                          129/15
  A 9:18-cv-80176-BB Document 847                         78/24 79/12
                                  Entered on FLSD Docket 12/20/2021       117/10
                                                                    Page 154 of 215
  allowing [1] 31/12         amongst [1] 91/15           answered [3] 111/8
  allows [3] 90/10           amount [8] 5/3 5/4           111/14 141/24
   93/14 99/4                 23/4 24/24 41/2            answers [2] 52/18
  almost [2] 89/10            41/5 95/4 140/16            70/22
   129/23                    anal [1] 143/17             antibiotic [1]
  alone [6] 7/7              analogy [15] 86/10           143/8
   22/15 47/13 48/9           86/25 87/3 88/14           anticipate [2]
   120/23 121/11              89/4 91/13 93/1             3/23 5/24
  along [3] 88/18             94/5 95/2 99/7             anticipating [1]
   88/23 92/15                113/17 114/8                5/20
  already [4] 89/3            114/24 115/6 117/5         Antonopoulos [8]
   89/24 145/18 146/8        analysis [10]                21/25 22/17 23/6
  also [41] 4/14              40/16 53/18 85/23           23/18 24/11 25/15
   9/15 16/25 19/7            96/4 101/16 112/13          31/7 45/22
   19/9 19/23 20/17           112/15 120/1               Antonopoulos' [2]
   20/22 21/21 26/11          122/10 122/13               30/21 31/17
   31/12 42/12 42/21         analyze [1] 21/20           any [90] 4/6 19/16
   56/12 72/15 72/16         analyzed [3]                 21/11 21/22 24/12
   75/13 76/8 81/23           111/22 112/20               24/22 24/24 25/3
   83/16 84/3 84/19           112/23                      25/17 34/16 40/7
   85/17 86/12 86/19         Andreou [10] 49/13           43/18 47/9 48/8
   88/10 89/16 89/19          56/12 56/14 56/15           51/13 59/1 59/3
   91/3 91/23 91/24           67/20 68/3 68/6             59/23 60/18 61/1
   98/9 102/13 102/15         68/11 76/9 146/15           63/24 68/18 69/18
   103/15 129/20             ANDRES [1] 1/19              69/18 70/3 72/10
   130/1 130/18 143/5        ANDREW [1] 1/16              72/12 72/21 73/10
   143/10 143/16             andrewbrenner [1]            73/23 74/18 74/19
  alterations [1]             9/15                        77/2 78/3 79/22
   97/25                     anecdotal [1] 68/7           82/16 83/11 83/19
  although [6] 47/1          angst [1] 8/16               84/1 84/6 85/11
   60/25 61/24 64/14         Ann [4] 127/24               91/9 92/14 97/25
   65/16 129/18               128/4 128/25                98/21 100/16
  always [4] 31/8             130/12                      100/16 101/17
   86/1 95/6 95/8            announced [1]                103/15 103/16
  am [11] 3/25 11/4           125/21                      103/16 105/5
   19/22 21/10 41/6          another [17] 14/23           106/23 109/14
   42/14 82/11 83/3           15/10 16/19 21/5            110/1 110/17
   84/3 110/7 127/11          42/22 48/24 49/2            110/19 110/23
  AMANDA [1] 1/20             49/7 56/22 77/12            111/12 111/12
  amend [1] 139/18            78/21 79/19 112/1           111/18 112/8 112/8
  AMERICA [1] 148/1           125/3 130/2 133/4           115/11 115/14
  among [2] 102/25            136/9                       115/18 116/15
                             answer [4] 52/22             116/15 116/18
                              1/12Entered on FLSD Docket ask
  A 9:18-cv-80176-BB Document 847
Case                                                     12/20/2021   3/19
                                                               [13] Page 155 of 215
  any... [21] 117/13         appeared [1]                 35/20 40/16 44/8
   117/15 117/20              102/17                      46/14 70/11 77/1
   119/19 121/15             appears [9] 7/19             77/3 78/18 85/19
   122/23 124/20              8/4 21/4 33/13              95/12 122/19
   127/6 130/7 132/11         55/20 73/21 99/22           125/15
   132/13 133/12              100/21 104/25              asked [33] 3/8
   133/16 133/17             application [1]              6/16 8/23 14/16
   136/14 138/7               17/1                        40/15 52/17 52/23
   138/14 144/14             apply [2] 94/18              56/20 68/22 69/22
   145/14 146/5               120/19                      71/7 72/7 74/15
   146/10                    appreciate [1]               82/12 84/17 84/18
  anybody [2] 21/20           124/22                      84/19 84/21 95/9
   122/20                    appreciated [1]              96/8 96/9 96/11
  anymore [2] 89/14           9/17                        96/13 96/14 96/16
   103/6                     appropriate [3]              96/17 110/19
  anyone [7] 40/16            8/5 65/23 121/10            110/25 111/8
   77/1 77/5 121/3           approval [1] 18/7            111/14 112/3
   122/23 144/12             approximately [6]            120/15 141/24
   144/12                     4/15 4/16 17/19            asking [3] 8/21
  anything [11] 3/3           71/20 130/22 131/9          70/21 115/14
   24/6 61/1 61/15           April [12] 14/5             assert [1] 120/25
   61/22 100/12               14/18 14/20 14/23          assess [1] 54/18
   115/20 141/21              14/23 22/23 27/21          assessment [2]
   144/20 145/7               37/2 64/22 101/18           4/25 5/8
   145/10                     105/5 123/23               assign [1] 79/18
  anywhere [4] 18/18         Arbor [4] 127/24            assigning [1]
   27/3 88/17 88/22           128/4 128/25                97/14
  apart [2] 139/10            130/12                     assigns [1] 79/7
   139/22                    are [154]                   assist [1] 134/24
  apologies [1]              area [5] 84/2               associated [6]
   118/10                     87/25 105/12                84/20 90/4 108/9
  apologize [7] 3/18          142/24 143/24               108/23 110/23
   11/14 124/2 124/16        areas [3] 83/20              129/20
   124/19 136/18              88/1 113/22                associating [1]
   145/5                     aren't [2] 54/7              130/11
  apparent [1] 29/15          114/2                      Association [1]
  apparently [2]             Army [1] 128/5               83/13
   7/17 7/21                 around [5] 17/20            associations [3]
  appear [6] 12/12            72/1 94/6 94/22             83/11 84/4 84/15
   19/14 20/14 56/5           99/9                       assuming [1] 76/4
   100/13 101/12             arranged [1] 86/7           Atlantic [1] 128/6
  Appearances [1]            as [151]                    attached [1] 50/16
                             ascribe [1] 120/21          attack [4] 12/21
  A 9:18-cv-80176-BB Documentaway
Case                               [3] on
                              847 Entered 92/19
                                            FLSD Docket Bates   [5]Page49/22
                                                        12/20/2021      156 of 215
  attack... [3]               101/8 115/15               50/8 50/12 55/17
                                                         55/18
   13/11 13/12 95/1          B                          Bates-labeled [1]
  attempt [2] 25/21          bachelor [1] 82/7
   85/17                                                 49/22
                             bachelor's [2]             BB [1] 1/2
  attempted [2]               65/13 65/14
   85/13 140/7                                          be [160]
                             back [42] 16/19            be essentially [1]
  attempting [2]              20/8 21/16 28/6
   13/19 22/10                                           30/3
                              35/20 46/13 48/12         BEACH [7] 1/2
  attend [1] 60/23            52/8 52/9 52/11
  attended [1] 60/18                                     58/21 59/3 59/8
                              55/4 66/10 66/15           63/21 63/22 136/4
  attending [1]               73/5 74/2 86/5
   60/25                                                bearing [2] 143/25
                              87/3 88/13 90/11           144/2
  attention [3] 6/8           90/11 90/19 91/9
   10/17 11/9                                           because [37] 4/9
                              91/13 92/9 92/12           5/18 7/5 7/14 8/17
  attorney [3] 77/24          98/12 99/7 101/2
   78/1 78/2                                             8/23 10/7 12/20
                              101/24 117/1 117/6         13/3 13/7 14/4
  attorneys [1] 77/8          117/25 118/4 118/8
  Australian [1]                                         20/10 21/19 24/22
                              118/25 119/2               30/3 33/24 53/10
   6/11                       120/17 125/8 128/4
  authentic [4] 68/7                                     80/25 87/19 90/10
                              130/9 140/11 141/6         91/15 92/22 93/6
   111/7 111/13              background [6]
   111/19                                                96/2 96/6 102/7
                              45/17 46/5 53/15           103/6 106/12
  author [1] 38/20            82/6 86/3 122/9
  authorize [1] 18/8                                     120/18 128/22
                             bacteremias [1]             129/5 139/18 140/8
  automating [1]              136/5
   76/1                                                  142/10 142/18
                             baffled [1] 8/1             143/11 145/25
  available [13]             bald [1] 6/11
   60/12 85/7 87/10                                     become [5] 22/7
                             bank [1] 32/6               23/16 23/21 143/6
   88/16 88/20 88/22         Bar [1] 84/4
   89/15 92/23 104/21                                    144/2
                             based [7] 5/5              becomes [2] 22/11
   113/22 114/17              41/16 56/8 99/19
   114/17 122/15                                         87/11
                              120/19 121/11             becoming [1] 69/9
  Avenue [2] 1/24             122/11
   148/18                                               bedsores [2] 143/1
                             basic [3] 65/18             143/5
  aware [20] 41/25            98/12 142/15
   42/6 42/12 49/14                                     been [26] 6/10
                             basically [4] 18/8          9/14 36/5 47/23
   49/18 53/24 55/6           99/9 103/8 114/22
   55/8 58/20 59/15                                      60/11 64/22 65/2
                             basics [1] 86/5             65/4 65/9 72/1
   60/2 60/5 61/24           basis [10] 23/2
   62/5 62/8 62/14                                       82/12 83/3 84/13
                              29/17 39/7 41/6            103/6 103/18 117/4
   119/10 119/15              46/13 48/12 49/9
   119/17 130/7                                          117/17 117/19
                              54/13 54/16 121/16         120/4 120/15
                              106/8
  B 9:18-cv-80176-BB Document 847
Case                                  106/24
                                  Entered on FLSD Docket Biscayne    [1]1571/14
                                                         12/20/2021 Page    of 215
  been... [6] 120/16          117/22 122/8      bit [24] 8/1 12/2
   128/16 128/17              124/23 127/10      18/13 20/12 25/6
   128/20 129/3 129/5         129/20 135/11      72/24 72/24 73/2
  before [57] 1/10            143/6              73/3 74/5 85/19
   3/3 4/7 5/1 6/13          belief [1] 7/12     86/3 86/17 87/11
   6/14 7/3 7/20 9/5         believe [36] 3/21   92/12 93/5 96/7
   11/11 16/10 31/9           5/11 11/1 17/9     101/5 102/25 103/4
   32/21 34/21 36/21          33/13 35/4 37/11   127/15 132/1 138/4
   45/1 46/14 49/6            37/19 38/2 41/8    140/23
   50/12 52/10 58/11          42/11 42/16 45/16 Bitcoin [126] 7/15
   60/13 60/18 60/24          69/15 70/2 70/3    10/11 10/12 11/23
   64/20 65/1 65/13           71/21 74/3 74/23   11/24 12/3 13/1
   65/14 66/14 66/22          75/13 76/8 76/13   13/6 13/14 13/15
   67/13 68/12 75/17          76/20 78/5 100/4   13/24 15/25 16/6
   90/18 92/11 93/4           103/22 106/3       16/7 16/13 16/15
   93/7 95/19 95/20           106/10 116/4       16/18 16/22 17/4
   96/8 96/11 104/6           116/10 133/10      17/7 17/14 17/15
   106/15 106/24              134/12 135/3       17/18 17/24 17/25
   107/3 107/6 112/25         135/13 146/7       18/1 18/3 18/5
   113/7 113/10               146/17             18/8 18/10 18/20
   115/15 118/24             belittling [4]      18/21 19/13 19/17
   120/17 125/7               8/15 8/20 8/22     20/10 20/11 21/8
   136/16 137/22              10/15              21/9 21/17 21/17
   143/2 145/21              belonged [1] 115/8 21/23 22/7 22/18
  began [2] 45/1             belonging [1]       22/20 22/22 22/23
   82/21                      84/18              23/4 23/7 24/5
  begin [1] 5/15             best [4] 5/22 98/6 25/4 25/16 27/20
  behalf [13] 2/4             122/12 127/17      27/22 28/17 28/21
   37/15 41/21 42/15         BETH [1] 1/10       30/22 31/10 31/13
   78/1 78/2 79/24           better [2] 124/20   31/14 31/19 31/23
   80/1 80/5 123/2            126/24             31/23 32/4 32/7
   144/21 145/7              between [15] 7/5    32/9 32/17 32/20
   145/10                     16/12 36/18 38/4   32/22 33/2 33/3
  behind [2] 68/9             38/21 39/25 53/2   33/8 33/11 34/5
   120/23                     72/22 73/10 73/18  34/12 34/13 34/16
  being [29] 3/22             73/19 82/16 130/8  34/23 34/25 35/12
   8/11 8/11 9/2 9/8          131/14 136/13      35/16 35/22 36/2
   9/12 10/12 10/12          beyond [2] 44/17    36/23 43/18 43/21
   35/25 44/14 57/11          96/7               43/24 44/2 44/5
   57/12 68/9 68/22          Bill [7] 64/9       44/6 44/11 44/16
   69/22 71/7 74/15           68/23 68/25 69/2   44/21 44/24 45/8
   80/18 90/2 105/7           69/5 69/11 69/16   45/11 45/18 45/23
                             biology [1] 98/13   46/4 46/6 46/24
  B 9:18-cv-80176-BB Documentbony
Case                               [1] on
                              847 Entered 142/23
                                            FLSD Docket brittle
                                                        12/20/2021 [1]   144/2
                                                                   Page 158 of 215
  Bitcoin... [26]            book [39] 57/22            broadcast [2] 13/5
   47/3 47/6 47/19            75/1 75/3 75/6             18/9
   48/3 53/23 54/8            75/11 86/14 86/17         broken [1] 133/10
   54/9 54/12 64/1            86/18 86/20 86/22         brother's [1]
   64/2 64/17 68/9            87/3 87/7 87/8             116/5
   69/3 69/6 79/9             87/14 87/14 87/19         brought [3] 6/8
   111/22 111/23              87/21 88/14 88/16          10/16 65/17
   112/2 115/11               88/17 88/21 92/13         brute [1] 95/1
   115/16 115/20              92/14 92/16 92/17         build [1] 71/5
   116/3 116/15               92/18 92/18 92/19         built [2] 32/3
   116/18 119/11              92/24 93/2 93/2            71/4
   119/16                     93/3 93/4 93/5            bunch [1] 94/11
  Bitcoins [1] 17/2           93/5 99/8 114/21          business [7] 3/20
  bladder [4] 143/10          114/21 114/23              52/21 52/23 52/24
   143/12 143/14             books [7] 74/6              52/25 53/2 53/10
                              86/12 87/1 89/21
   143/15
                              113/24 114/7 114/9
                                                        C
  block [4] 13/4                                        C-H-A-M-B-E-R-S [1]
   13/4 18/11 34/22          bookshelf [2]
                              105/13 114/2                81/24
  blockchain [16]                                       calcium [1] 144/2
   13/1 17/14 17/18          both [5] 32/17
                              32/23 33/1 73/15          California [1]
   17/24 17/25 21/23                                     82/9
   31/23 32/8 33/2            73/16
                             Boulevard [1] 1/21         call [21] 3/1 17/7
   33/8 34/12 35/12                                      26/1 26/5 27/3
   35/16 53/23 54/9          box [3] 26/19 32/5
                              32/7                       28/16 34/19 81/13
   54/13                                                 86/7 88/2 89/8
  blocker [1] 98/10          boxes [1] 76/2
                             break [4] 65/24             92/1 93/6 95/1
  blocks [1] 13/9                                        97/2 98/9 100/24
  bloodstream [1]             66/3 95/6 117/25
                             breaks [1] 124/23           105/9 125/4 125/12
   143/16                                                143/1
  BLOOM [1] 1/10             breakthrough [1]
                              16/20                     called [19] 5/2
  blue [2] 138/4                                         16/16 22/9 25/1
   138/6                     breakthroughs [1]
                              16/15                      32/4 34/24 38/5
  board [4] 19/4                                         42/13 42/21 47/22
   29/22 95/11 127/13        BRENNER [5] 1/16
                              8/13 8/23 133/16           60/4 62/9 79/6
  body [1] 142/24                                        90/4 100/2 117/1
  BOIES [1] 1/15              135/8
                             brief [1] 134/13            140/4 140/9 143/7
  boils [2] 112/24                                      calls [4] 106/20
   113/7                     briefly [2] 55/10
                              72/7                       106/25 120/7
  bolster [1] 51/4                                       123/19
  bone [1] 143/7             bring [5] 11/9
                              57/25 58/4 66/13          came [7] 50/12
  bones [3] 143/23                                       86/18 92/15 93/3
   143/24 144/1               118/22
                             bringing [1] 11/8           100/23 143/2
                              116/1
  C 9:18-cv-80176-BB Document 847
Case                                  117/6
                                  Entered      117/17
                                          on FLSD         38/4 38/22
                                                  Docket 12/20/2021 Page 40/8
                                                                         159 of 215
  came... [1] 145/17          117/19 118/11               40/16 41/3 41/9
  can [138] 6/3               119/24 120/3                41/10 42/1 42/12
   11/10 12/14 15/1           121/22 122/21               42/22 43/3 43/9
   15/8 16/5 16/21            123/10 123/21               54/6 68/4 75/23
   18/16 18/17 18/17          124/5 126/14 137/8          79/9 82/13 84/17
   18/23 20/2 20/12           140/20 141/6                84/22 87/1 97/10
   21/3 21/20 21/20           143/14 143/16               97/17 101/1 104/8
   22/20 25/16 26/10          143/20 145/21               106/6 106/10 136/9
   30/6 32/4 32/8             146/3                       144/11 144/13
   34/20 35/21 38/10         can't [6] 4/24              cases [5] 37/7
   38/11 38/15 39/4           16/16 16/17 16/18           37/16 83/9 83/10
   40/22 49/25 50/3           47/6 94/8                   98/8
   50/12 55/11 55/25         Canal [1] 128/5             catalog [28] 86/13
   56/14 57/1 57/8           cannot [2] 92/10             86/14 86/16 87/7
   57/25 58/3 58/5            113/20                      87/9 87/18 88/3
   58/14 58/17 59/2          capable [3] 19/12            88/15 88/19 89/4
   63/2 63/9 66/24            20/9 40/13                  89/12 89/14 89/19
   67/16 67/24 67/25         capacity [1] 46/2            90/1 90/10 91/1
   68/14 71/1 72/11          card [29] 41/15              91/12 91/18 92/21
   72/16 73/20 73/25          86/12 86/14 86/16           102/1 102/23
   74/9 74/11 77/2            87/7 87/9 87/18             114/11 114/12
   77/12 77/16 78/21          88/3 88/15 88/19            114/15 114/20
   79/2 80/24 80/25           89/4 89/12 89/14            114/22 115/3 117/4
   81/22 82/5 82/19           89/19 90/1 90/10           categories [1]
   85/12 85/20 86/5           91/1 91/12 91/18            116/23
   86/12 86/21 86/23          92/21 102/1 102/22         catheter [1]
   87/9 87/20 87/21           114/11 114/12               143/13
   88/23 89/17 91/5           114/15 114/20              catheterizations
   91/19 91/21 91/22          114/22 115/3 117/4          [2] 143/12 143/13
   91/24 92/4 92/16          care [2] 142/10             cause [1] 22/5
   92/20 92/23 92/24          143/3                      causing [1] 142/23
   93/1 93/2 93/4            career [7] 82/21            caution [1] 4/22
   93/5 93/5 94/17            83/6 83/8 83/18            CDC [1] 125/21
   94/18 95/4 96/9            85/8 85/9 85/13            cellphones [1]
   97/12 98/17 99/4          carried [1] 142/21           85/11
   99/5 99/6 99/18           Carter [1] 146/15           cells [1] 142/25
   100/23 104/21             carving [5] 7/18            center [4] 26/6
   104/21 104/22              96/15 117/1 117/1           82/22 128/10 138/1
   109/18 110/2 113/5         117/2                      central [1] 11/23
   113/19 113/24             case [42] 1/2 3/22          certain [14] 17/1
   114/16 115/3 115/4         3/24 4/7 7/22 7/24          21/12 31/17 34/13
   115/12 115/13              8/16 8/18 8/24 9/5          46/7 48/13 70/21
                              9/9 37/22 37/24             86/11 95/9 95/10
  C 9:18-cv-80176-BB Documentchanges
Case                                   [3]
                              847 Entered      22/5
                                          on FLSD         120/17 Page 160 of 215
                                                  Docket 12/20/2021
  certain... [4]             93/18 98/10               client's [1] 9/6
   104/10 104/13            changing [3] 76/2          clip [4] 80/15
   118/15 125/20             91/7 101/25                80/18 81/7 146/20
  certainly [13]            characteristics [1]        clock [1] 124/18
   19/21 36/9 56/23           99/19                    close [1] 75/22
   76/21 76/25 81/15        characterization           closest [1] 62/6
   99/13 110/7 121/23        [2] 62/8 114/24           closing [1] 4/7
   125/2 125/14             characters [2]             CLR [1] 148/17
   133/15 144/7              18/18 18/22               co [2] 36/8 107/11
  Certificate [1]           charge [1] 42/9            co-counsel [2]
   2/2                      charges [1] 42/9            36/8 107/11
  certification [1]         chart [1] 140/15           code [48] 16/25
   84/9                     checking [1] 76/2           17/3 17/8 17/18
  certifications [8]        chemistry [1]               17/20 44/6 44/12
   53/15 56/8 56/10          98/12                      44/15 44/25 45/3
   73/15 73/16 73/19        cherrypicked [1]            45/4 45/4 45/5
   73/23 84/6                7/10                       45/6 45/9 45/18
  certified [2] 84/8        chips [1] 25/2              45/19 45/21 45/23
   148/5                    Choi [1] 42/21              46/7 46/19 46/24
  certify [2] 148/7         choose [1] 87/8             47/3 47/7 47/22
   148/12                   chosen [1] 17/2             47/24 48/3 51/1
  chain [1] 122/9           chronic [1] 143/12          51/1 54/12 64/1
  chambers [25] 2/7         chunk [2] 101/4             64/2 64/17 64/19
   5/14 42/13 80/17          103/1                      64/23 65/12 67/10
   81/13 81/16 81/21        circulation [1]             69/12 69/19 70/11
   81/24 82/3 82/15          142/24                     70/23 70/25 71/6
   95/16 107/19             circumstances [2]           71/17 75/4 75/5
   107/21 108/22             6/25 31/18                 76/5 79/7
   109/21 110/12            civil [1] 83/8             coded [7] 17/16
   115/7 119/4 119/8        claiming [1] 10/10          17/21 17/22 64/9
   119/23 122/20            clarify [3] 28/14           69/3 69/7 79/5
   122/23 122/25             28/18 116/13              coder [4] 64/15
   123/4 124/18             class [2] 16/10             70/12 75/10 79/17
  Chambers' [1]              60/9                      coders [9] 62/14
   98/18                    classes [4] 58/23           62/15 62/20 62/23
  chance [2] 8/13            58/25 59/1 59/3            63/6 63/13 69/25
   72/24                    clean [2] 89/22             70/7 70/8
  change [4] 22/6            98/7                      codes [1] 70/24
   104/3 106/13             clear [1] 9/12             coding [54] 17/7
   111/21                   clearing [2] 91/3           17/14 44/6 44/16
  changed [4] 22/3           91/4                       45/1 45/3 46/20
   41/2 60/6 107/5          clearly [1] 64/2            47/2 52/19 53/9
                            client [2] 67/10            53/12 53/13 53/18
                              22/7Entered
  C 9:18-cv-80176-BB Document 847
Case                                23/24    28/23
                                          on FLSD         75/22 Page 161 of 215
                                                  Docket 12/20/2021
  coding... [41]             34/25 53/17 56/12        Complicated [1]
   53/22 53/22 53/25         57/3 87/14 88/23          64/7
   54/2 54/4 54/7            94/10 109/14 110/1       complications [2]
   54/12 54/14 54/25         110/17 110/19             142/21 142/22
   55/2 59/7 61/12           110/22 117/25            components [5]
   61/23 62/3 65/5           145/18 146/3              12/22 17/13 26/21
   65/18 68/23 69/2         comes [3] 87/3             26/24 29/11
   69/3 69/6 69/6            88/18 92/16              compress [1] 18/17
   69/16 69/23 70/9         comfortable [1]           compute [1] 22/12
   70/13 71/10 71/13         125/23                   computer [44]
   71/18 72/11 72/12        coming [4] 48/12           11/25 18/24 22/15
   73/23 74/20 75/14         84/25 110/15 111/1        25/2 26/6 29/23
   75/16 77/16 77/16        comment [1] 9/7            49/10 49/15 51/2
   78/9 79/2 79/2           commercially [1]           51/6 53/2 53/3
   79/15 79/19               60/12                     54/10 54/20 58/20
  coin [2] 31/11            common [2] 34/5            59/7 59/16 59/24
   31/16                     130/23                    60/2 60/23 62/7
  coinbase [5] 34/18        communication [2]          62/24 63/14 63/17
   34/20 34/24 35/1          7/23 11/4                 63/20 65/17 65/20
   36/22                    community [5] 9/16         69/8 75/10 75/16
  colleague [1]              58/21 59/4 59/8           82/7 82/8 84/7
   53/16                     63/21                     85/10 85/18 90/17
  colleagues [2]            compared [1] 73/12         93/14 93/16 96/6
   49/13 62/1               compares [1] 10/9          101/3 104/18
  collected [3]             comparing [1]              104/18 104/24
   97/15 108/5 112/16        10/10                     113/19
  collection [1]            comparison [3]            computers [3] 30/7
   112/14                    73/18 73/20 140/15        65/20 90/13
  collections [3]           compensated [1]           computing [1] 13/8
   112/12 112/12             127/10                   concept [3] 15/25
   112/13                   compensation [1]           16/23 90/4
  college [12] 58/21         127/12                   concepts [3] 11/23
   59/4 59/8 62/23          competency [1]             11/24 65/17
   63/14 63/21 63/25         54/18                    concern [1] 5/16
   64/11 64/13 64/16        complete [6] 10/18        conclude [2]
   64/20 65/7                10/18 18/12 65/23         108/24 109/7
  Colon [1] 128/6            129/14 148/10            concluded [1]
  color [1] 138/2           completed [1]              123/15
  comb [1] 7/21              79/12                    conclusion [11]
  combination [3]           completely [4]             5/15 49/9 53/17
   95/3 102/18 102/20        27/16 62/21 63/6          60/21 104/10
  come [19] 11/10            89/22                     109/10 109/14
                            complex [2] 69/9           111/1 121/13
  C 9:18-cv-80176-BB Documentconsistently
Case                                           [1]Docket continuing
                              847 Entered on FLSD        12/20/2021 Page[2]
                                                                         162 of 215
  conclusion... [2]           26/18                       110/2 110/9
   121/17 121/20             consists [1]                continuously [2]
  conclusions [9]             129/16                      139/11 139/22
   84/25 85/5 97/10          construct [2] 18/2          continuum [1]
   109/16 110/1               32/21                       75/15
   110/16 110/17             consult [1] 107/10          contribute [1]
   110/19 110/23             consultant [1]               45/3
  condition [5]               82/25                      contributed [4]
   142/3 142/5 142/15        consultations [1]            44/5 44/11 63/25
   142/21 143/23              133/7                       64/17
  conditions [1]             consulting [2]              contributions [1]
   142/14                     82/25 83/9                  44/16
  conduct [2] 120/21         contact [2] 140/6           control [13] 5/21
   144/14                     140/7                       31/8 31/10 31/13
  conducted [2]              contain [1] 54/14            31/14 31/15 31/22
   83/23 84/1                contained [2]                32/25 93/14 143/10
  conducts [1] 83/24          135/14 137/2                143/17 143/20
  confer [2] 36/8            container [4]                146/9
   61/1                       98/23 99/5 99/24           controls [1] 20/11
  conference [1]              100/5                      conversation [2]
   127/14                    contains [3] 12/9            6/2 8/12
  conferences [2]             97/4 148/12                cooling [4] 26/16
   84/5 84/15                contamination [1]            26/19 26/20 28/22
  configuration [2]           143/21                     coordinate [2]
   75/24 76/3                content [7] 94/2             26/11 27/7
  configure [2] 27/2          97/4 99/21 104/21          copies [4] 96/3
   27/6                       106/18 107/3                97/7 97/23 100/14
  Connecticut [1]             122/14                     copy [13] 15/6
   127/20                    contents [9] 39/9            15/7 15/12 48/15
  connection [2]              91/7 93/18 93/24            49/18 49/19 55/5
   43/9 132/17                96/18 101/13                55/6 68/11 97/13
  Conrad [1] 146/15           101/25 106/13               97/18 97/19 100/8
  consider [6] 20/17          107/5                      copying [1] 88/5
   20/22 21/4 80/22          context [7] 7/1             Coral [1] 1/22
   111/23 122/8               7/2 7/11 37/23             correct [93] 3/25
  considered [2]              74/25 120/11 131/1          31/20 32/15 36/24
   18/11 141/19              continue [10]                37/5 37/6 37/24
  considering [1]             12/17 16/2 21/5             39/17 40/3 40/8
   45/1                       25/19 66/10 66/17           40/9 40/11 40/12
  consistent [5]              73/1 119/3 125/10           40/20 40/21 41/1
   44/14 45/17 46/20          128/11                      42/10 43/3 43/15
   47/1 104/11               continued [3] 2/5            43/16 43/18 43/19
                              11/18 106/4                 43/21 43/22 43/24
                              35/22
  C 9:18-cv-80176-BB Document 847
Case                                  36/1
                                  Entered on FLSD        1/23 1/23
                                             36/7Docket 12/20/2021 Page3/1  3/11
                                                                        163 of 215
  correct... [68]             39/19 44/5 44/10           3/22 4/4 4/24 5/3
   43/25 44/2 44/6            45/17 51/25 52/8           6/9 8/11 8/18 8/22
   44/12 44/18 44/19          61/19 62/3 63/25           9/4 10/17 15/8
   44/25 45/11 45/14          64/16 69/4 69/11           20/7 21/24 49/15
   45/15 45/19 46/18          70/20 72/14 72/18          49/20 50/22 52/25
   46/22 46/23 47/5           72/19 73/6 73/8            53/3 54/7 55/5
   47/7 47/11 47/13           74/5 75/14 75/19           67/6 77/4 77/25
   47/18 47/22 48/4           76/15 76/19 80/12          80/11 81/2 101/9
   48/10 48/11 48/22          85/7 94/14 98/9            119/5 133/16 134/8
   49/16 51/3 53/10           99/7 99/8 108/15           135/15 144/6
   53/25 54/2 54/4            124/1 124/8 127/15         145/20 146/9 148/6
   54/5 54/21 55/2            129/11 131/15              148/9
   58/13 59/4 59/5            131/25 133/13             Court's [2] 3/12
   59/19 61/3 61/4            134/5 135/21               11/9
   62/4 62/16 63/23           135/25 136/17             courtroom [4]
   64/1 64/10 64/17           137/11 137/17              39/13 67/2 127/14
   64/25 65/2 65/3            138/8 140/10               144/13
   65/5 65/6 65/16            140/11 140/22             courts [1] 84/11
   72/8 81/3 81/4             141/18 142/13             CRAIG [13] 1/7
   98/3 99/1 100/7            143/11                     10/12 36/18 43/15
   105/9 106/3 116/10        couldn't [2] 33/5           43/20 43/23 45/10
   126/8 126/18 127/9         75/7                       45/13 68/8 80/15
   133/6 134/18              counsel [19] 9/6            81/13 82/17 119/11
   138/19 139/2               9/7 9/24 10/16            create [5] 18/1
   148/10                     10/22 36/8 38/10           18/4 18/6 34/22
  correctly [2]               40/15 50/1 50/11           88/8
   58/22 59/25                51/8 55/12 96/4           created [4] 8/16
  corresponds [1]             107/11 112/21              34/23 45/14 97/21
   137/4                      131/16 134/7 135/5        creates [2] 13/6
  corroborating [1]           146/24                     16/13
   120/24                    country [1] 127/18         creating [1] 44/16
  corruption [1]             couple [3] 89/5            creation [2] 44/5
   20/13                      89/17 99/19                45/7
  could [78] 10/1            course [7] 59/11           credentials [1]
   11/22 12/2 12/25           60/2 60/18 60/23           7/25
   13/13 13/23 18/13          60/25 137/10              credit [1] 47/6
   18/22 19/1 19/9            143/20                    Crime [1] 83/12
   20/5 20/7 20/19           courses [5] 59/20          criminal [1] 83/9
   21/1 21/22 22/17           59/22 59/23 60/1          cross [16] 2/6 2/8
   23/4 23/7 25/6             63/19                      5/5 5/20 5/23 6/20
   28/6 28/10 28/14          coursework [3]              8/5 10/25 36/12
   28/16 30/11 31/22          62/24 63/14 63/18          36/13 65/23 66/17
                             court [40] 1/1              74/18 107/16
                              20/11
  C 9:18-cv-80176-BB Document 847
Case                                  85/12
                                  Entered      85/17
                                          on FLSD         136/2 Page 164 of 215
                                                  Docket 12/20/2021
  cross... [2]       85/23 86/1 86/5                  dates [2] 35/21
   107/17 119/3      86/7 86/9 88/4                    134/13
  cross-examination  88/5 88/10 88/12                 Dave [80] 14/12
   [12] 2/6 2/8 5/23 88/13 88/22 89/13                 14/13 36/18 37/1
   8/5 10/25 36/12   90/23 91/2 91/4                   43/14 43/17 43/20
   36/13 65/23 66/17 91/9 91/11 91/20                  43/23 44/4 44/10
   107/16 107/17     91/22 91/23 91/24                 44/13 44/20 44/23
   119/3             91/24 91/25 92/1                  45/2 45/7 45/10
  cross-examine [1]  92/1 92/5 92/7                    45/13 45/17 46/5
   6/20              92/20 93/6 93/9                   46/9 46/11 46/14
  crosses [1] 5/5    93/20 93/23 93/24                 48/3 48/24 49/2
  CRR [1] 148/17     94/1 94/2 94/3                    49/14 49/18 49/19
  crypto [2] 9/16    94/25 96/13 96/14                 50/21 51/1 52/20
   10/9              96/22 96/22 97/16                 54/11 55/4 55/5
  cryptocurrencies   98/8 98/10 99/4                   55/6 57/21 58/3
   [1] 111/24        99/22 99/22 101/1                 58/20 59/6 59/15
  cryptocurrency [1] 101/5 101/11 102/2                60/18 60/22 61/5
   116/2             102/5 102/6 102/9                 61/11 61/23 62/5
  cryptographic [6]  102/19 103/15                     62/6 62/24 63/14
   13/20 16/24 17/13 104/19 104/22                     63/17 67/11 68/8
   108/25 109/7      104/22 105/3 105/5                68/8 72/5 72/11
   110/21            105/7 105/10                      96/11 101/20
  cryptography [3]   105/10 105/14                     103/19 112/2 112/5
   17/4 17/6 17/11   105/17 105/19                     112/5 112/25 113/7
  CSR [1] 148/17     105/21 106/4 106/8                115/8 115/10
  cures [1] 146/5    106/14 106/16                     115/14 115/22
  currently [3] 83/2 106/23 107/5 109/4                119/9 131/7 132/11
   92/18 115/12      112/8 112/11                      132/14 136/13
  curriculum [2]     112/12 112/13                     137/3 138/14
   60/3 60/6         112/14 113/13                     138/25 139/10
  custody [1] 122/9  116/21 116/23                     139/16 139/22
  cv [2] 1/2 56/22   116/23 116/25                     142/2 142/14
  cybersecurity [1]  117/2 117/11                     Dave's [5] 48/15
   83/4              117/11 117/11                     69/18 76/11 105/8
  cyberware [1] 8/10 117/13 117/16                     143/23
                     117/19 120/2                     David [5] 1/4 48/8
  D                 data did [1]                       82/16 84/19 127/8
  D425 [3] 19/2      116/23                           day [23] 1/9 4/4
   19/10 95/12      date [8] 35/22                     16/7 18/16 138/15
  damage [1] 20/13   36/1 80/24 105/14                 139/1 139/3 139/10
  damaged [1] 103/7  109/14 123/10                     139/16 140/3 140/4
  damaging [1] 103/4 123/21 136/3                      140/5 140/23 141/6
  data [97] 18/21   dated [2] 14/18                    141/7 141/8 141/8
Case                          133/21
  D 9:18-cv-80176-BB Document 847      133/21
                                  Entered                 95/10 95/14
                                          on FLSD Docket 12/20/2021 Page 165 of 215
  day... [6] 141/10           133/21 133/22              denied [1] 56/24
   141/10 141/12              133/22 134/3               Department [2]
   146/18 148/9               134/20 135/17               82/22 131/23
   148/15                     135/20 137/7               depending [4]
  days [11] 4/11              137/16 137/18               18/15 29/11 71/1
   15/10 137/25 138/3        Defense [5] 1/4              89/18
   139/6 139/7 139/7          81/21 82/22 118/11         depends [3] 40/15
   139/19 140/17              125/18                      90/25 141/11
   140/18 140/19             define [2] 43/11            deposit [2] 32/5
  de [1] 1/21                 121/3                       32/7
  deadline [1] 3/9           defrag [1] 90/17            deposition [25]
  dealing [1] 89/18          defragment [1]               2/10 2/12 6/12
  death [5] 96/12             90/14                       7/24 47/15 49/12
   101/20 103/19             degree [5] 63/25             51/11 51/16 51/25
   105/8 142/24               64/13 64/16 65/13           52/14 52/15 52/17
  decedent [1] 84/19          65/15                       62/2 62/12 63/3
  December [1] 139/8         delay [1] 11/14              63/10 67/19 80/18
  decided [1] 92/13          delete [4] 100/14            80/24 81/1 81/7
  decision [1] 126/2          115/2 115/22 116/9          123/9 123/11
  decrease [1]               deleted [16] 85/25           123/20 123/22
   129/18                     88/12 88/13 88/21          derivative [1]
  decubitus [1]               88/21 92/13 92/18           72/2
   143/1                      92/18 96/15 104/21         describe [5] 28/10
  dedicate [1] 13/8           105/3 113/16                86/10 92/12 121/10
  dedicated [1]               113/17 113/18               142/13
   22/12                      115/11 117/11              described [7]
  deeper [1] 51/6            deleting [1]                 28/16 62/6 62/16
  defecation [1]              115/25                      91/1 98/3 104/2
   143/18                    deletion [8] 114/1           107/4
  Defendant [11] 1/8          114/16 114/21              describing [2]
   1/18 2/4 3/14 3/14         115/11 115/15               98/15 103/10
   4/6 78/2 79/24             115/16 116/9               description [3]
   108/5 123/19               116/12                      12/9 12/14 140/25
   145/11                    demonstrate [1]             designing [1]
  Defendant's [29]            54/17                       44/24
   2/16 2/17 2/17            demonstrative [14]          desktop [3] 29/22
   2/18 80/9 123/7            22/14 39/5 98/18            30/2 115/2
   123/18 131/16              99/12 134/22 135/6         detect [6] 98/21
   132/21 132/25              135/12 137/18               99/17 99/18 100/15
   133/2 133/9 133/19         137/21 138/12               100/19 101/15
   133/19 133/19              138/23 139/14              detected [1]
   133/20 133/20              140/11 140/13               100/17
                             demonstratives [2]          determination [2]
                              97/7Entered
  D 9:18-cv-80176-BB Document 847
Case                                98/5on98/7          117/15 117/22
                                           FLSD Docket 12/20/2021 Page 166 of 215
  determination...    98/14 98/21 99/1                   119/1 121/4 121/8
   [2] 46/21 120/18   101/19 101/21                      121/13 121/14
  determine [8] 35/2 101/22 101/23                       121/15 122/2
   91/16 100/20 107/2 102/5 102/10                       122/11 122/14
   115/13 120/3       103/17 103/19                      124/16 124/19
   120/12 120/16      103/20 103/21                      126/2 128/11
  determined [3]      104/1 104/10                       128/13 132/10
   35/3 88/14 92/17   104/13 105/3 105/5                 135/4 136/15 138/7
  develop [3] 69/21   105/7 105/8 105/15                 138/25 139/4
   71/6 71/16         105/17 105/21                      139/16 140/6
  developed [1] 17/8 106/4 106/9 106/19                 didn't [30] 5/24
  developer [3]       106/23 112/17                      24/12 38/22 44/20
   17/16 17/17 64/2   112/20 112/23                      44/23 46/9 46/11
  developing [1]      113/1 113/8 113/10                 48/25 55/7 55/10
   76/14              115/7 116/6 116/9                  58/23 59/3 60/1
  development [5]     116/16 116/19                      61/3 61/21 63/19
   48/2 53/16 62/1    116/25 117/3                       63/24 64/20 65/7
   71/2 82/24         117/12 117/14                      80/10 92/14 96/1
  device [41] 20/15   117/15 119/10                      108/9 110/1 110/17
   21/12 26/10 27/2   119/11 119/16                      110/22 111/3 112/8
   85/25 86/6 86/7   DEVIN [1] 1/13                      116/18 117/13
   86/9 87/1 87/2    devote [1] 6/3                     died [3] 37/1
   88/10 88/25 89/2  did [80] 3/14 22/2                  112/25 113/8
   89/23 89/24 90/23  23/15 23/24 30/21                 differ [1] 29/22
   90/24 91/8 91/10   38/20 40/16 45/10                 difference [2]
   91/20 92/8 93/9    46/10 49/6 49/10                   129/18 130/2
   93/21 94/23 95/7   49/21 58/24 59/1                  differences [5]
   97/5 97/10 97/12   59/10 59/20 59/23                  72/21 73/10 129/10
   97/15 100/18       60/22 60/23 62/13                  129/11 130/7
   101/25 102/1 102/7 64/21 67/23 71/21                 different [30]
   102/9 102/13       76/11 76/11 85/1                   11/25 12/25 21/9
   102/15 102/17      96/2 96/23 97/1                    26/11 26/21 26/23
   102/19 104/4 106/4 97/17 97/25 98/2                   27/5 27/7 35/21
   120/4              98/4 98/5 98/15                    49/5 54/3 55/20
  devices [71] 19/4   98/21 99/23 100/15                 55/21 65/17 69/8
   19/7 19/12 20/14   100/19 100/24                      71/15 73/18 75/16
   30/3 84/18 85/8    101/16 101/16                      84/15 86/2 87/17
   85/13 85/15 90/15  102/4 103/5 103/15                 88/1 89/5 89/6
   95/10 95/16 95/19  103/18 108/24                      90/8 90/11 94/15
   95/20 95/21 96/3   109/7 109/10                       94/16 94/18 133/14
   96/9 96/13 96/14   109/13 109/14                     differs [1] 41/16
   96/14 96/23 97/2   116/7 116/9 116/15                difficult [5]
                      116/17 116/23                      22/11 79/18 92/25
  D 9:18-cv-80176-BB Documentdiscussion
Case                          847 Entered on[1]           49/23 52/14
                                             FLSD Docket 12/20/2021       55/18
                                                                    Page 167 of 215
  difficult... [2]            78/15              58/9 58/10 59/8
   99/18 117/7               discussions [2]     60/10 61/11 66/1
  difficulty [8]              44/24 68/8         67/11 67/19 67/21
   21/25 22/3 22/5           disease [3] 127/5   67/23 68/4 68/9
   22/9 22/13 24/22           128/8 128/21       68/22 68/25 69/11
   25/7 25/17                disk [2] 18/25      69/22 69/25 70/3
  digital [30] 19/14          102/24             70/8 70/17 70/17
   82/8 82/11 82/13          disorganized [1]    71/7 71/18 72/15
   83/1 83/4 83/9             90/21              73/16 73/17 73/20
   83/15 83/19 83/21         disparate [1]       74/15 74/24 75/4
   83/21 83/22 84/3           60/25              75/10 76/4 76/12
   84/6 84/12 84/13          display [1] 146/1   77/2 81/2 82/10
   85/21 85/22 85/24         displayed [1]       82/10 86/4 90/23
   97/14 119/24               135/11             90/25 91/2 93/15
   119/25 120/1 120/3        displaying [1]      93/16 94/24 95/5
   120/11 120/12              51/5               95/16 95/18 96/8
   120/18 120/19             dispute [4] 7/3     96/10 98/5 100/10
   120/21 120/23              7/4 7/12 7/14      100/14 100/23
  diligence [1] 6/24         distinction [1]     101/21 104/13
  direct [14] 2/5             53/2               104/15 104/18
   2/8 2/13 5/4 5/23         distributed [3]     105/2 105/4 107/19
   11/18 39/8 82/1            16/8 16/13 21/19   111/12 111/18
   108/1 108/12 109/2        DISTRICT [7] 1/1    111/23 115/14
   110/4 111/4 126/5          1/1 1/10 1/23      116/8 118/13
  directly [3] 23/18          148/3 148/6 148/7  122/21 130/24
   44/3 126/21               dives [2] 100/16    131/1 131/9 131/19
  directs [1] 5/5             100/17             131/21 131/22
  disappoint [1]             divisible [1]       132/5 132/19 133/4
   4/24                       99/25              134/10 134/11
  discharge [1]              DIVISION [1] 1/2    134/12 136/21
   140/9                     do [136] 4/5 4/5    136/22 136/23
  discharged [2]              4/6 4/10 4/21 5/11 137/21 137/22
   136/14 136/15              5/13 6/24 8/1 8/17 138/14 140/24
  disclosed [4] 4/6           8/17 15/12 15/14   142/2 142/4 142/5
   25/10 35/6 49/1            19/4 19/6 19/7     146/17 146/19
  discontinued [1]            19/8 22/14 22/16   146/23 148/7
   99/3                       22/17 24/11 24/13 doctor [2] 128/12
  discovery [1] 42/1          25/21 26/3 26/7    128/17
  discuss [2] 111/21          26/24 30/9 30/14  document [23]
   144/11                     31/6 31/17 32/19   18/23 50/15 56/13
  discussed [2] 53/9          34/3 34/16 38/7    57/10 72/15 72/16
   55/4                       38/18 38/24 39/1   74/19 88/8 94/4
                              42/11 43/7 43/10   94/11 109/24
Case                          130/14
  D 9:18-cv-80176-BB Document 847      145/20
                                  Entered                 140/10 140/20
                                          on FLSD Docket 12/20/2021 Page 168 of 215
  document... [12]            146/19                      142/19 142/19
   109/25 111/7 120/4        doing [4] 9/1                143/25
   120/13 120/16              40/13 89/25 122/10         download [1] 21/20
   121/11 122/9              Don [1] 123/20              DR [29] 2/13 6/11
   131/19 132/5 132/6        don't [52] 5/2               6/20 7/13 7/16
   134/10 136/21              5/10 8/25 10/4              8/15 9/9 10/10
  documents [19]              10/25 12/12 13/17           37/7 37/15 37/21
   39/2 40/2 40/7             13/22 15/6 15/7             37/23 38/20 40/1
   46/7 48/13 48/20           15/18 16/9 31/15            41/21 42/15 42/21
   68/6 101/16 101/17         33/13 33/21 37/21           43/2 43/8 43/17
   108/5 110/6 111/13         46/17 47/3 47/12            44/24 47/10 47/12
   111/19 121/15              47/15 48/24 49/2            48/17 48/21 67/2
   121/18 122/12              49/8 50/17 50/18            119/13 121/1
   122/13 122/15              51/14 51/15 52/5            125/18
   146/4                      54/14 59/6 60/10           Dr. [57] 6/10 8/7
  does [56] 17/4              60/11 60/17 62/22           39/13 42/2 48/25
   17/5 17/6 17/12            63/1 67/5 67/15             67/10 80/15 81/13
   17/14 17/15 17/24          70/2 79/9 94/7              82/17 84/20 107/21
   23/21 29/5 29/21           100/23 102/8 116/1          107/23 108/4 108/8
   29/23 31/19 32/18          116/10 117/7                108/14 108/16
   38/19 42/18 50/5           121/23 124/4                108/23 109/8
   50/7 50/20 53/24           130/23 135/3                109/15 110/14
   56/25 57/3 63/5            135/10 145/14               111/2 111/4 112/2
   63/12 71/10 71/24          145/19                      112/5 121/8 121/9
   72/11 75/4 76/5           DONALD [1] 2/11              121/13 122/2 122/4
   77/1 78/8 79/15           done [10] 5/7                125/13 126/7
   88/25 89/11 89/19          16/15 36/11 37/7            126/14 126/17
   89/23 90/23 91/6           37/23 76/20 77/17           126/20 126/21
   92/7 93/8 93/20            79/3 125/5 130/22           127/3 128/11 130/7
   97/9 101/11 101/12        door [2] 94/6 95/2           131/19 132/5
   101/23 102/18             Dorian [2] 108/15            132/10 133/4
   103/25 106/11              109/18                      134/10 134/24
   106/16 120/21             DOs [1] 130/18               135/25 136/21
   122/20 122/23             double [1] 16/17             137/21 138/11
   134/15 137/23             double-spend [1]             138/22 139/13
   138/2 138/17               16/17                       140/13 140/22
   140/13                    down [21] 27/10              143/23 144/18
  doesn't [15] 7/19           40/22 67/17 68/5            144/24 145/1
   33/24 54/2 54/4            68/15 72/18 72/23           146/14
   54/14 60/25 88/17          73/25 74/9 77/3            Dr. Craig [3]
   88/22 89/14 89/14          112/24 113/7                80/15 81/13 82/17
   92/22 100/22               122/22 131/25              Dr. Edman [8] 6/10
                              133/11 137/11               39/13 107/21
                              93/19
  D 9:18-cv-80176-BB Document 847
Case                                  97/5
                                  Entered    99/6Docket 12/20/2021
                                          on FLSD        113/17 145/13
                                                                   Page 169 of 215
  Dr. Edman... [5]            102/2 102/20       earliest [1]
   107/23 108/4 108/8         102/22 103/1 103/1  105/16
   108/23 109/8               103/3 104/5 104/23 early [1] 118/10
  Dr. Edman's [12]            104/24 105/10      earned [2] 84/6
   84/20 108/14               105/10 105/12       84/8
   108/16 109/15              105/12 106/13      easily [1] 144/3
   110/14 111/2 111/4         116/1              East [1] 127/18
   121/8 121/9 121/13        drives [19] 85/11   easy [1] 4/21
   122/2 122/4                85/11 95/22 95/24  ECF [1] 15/1
  Dr. MacIntyre [28]          96/1 96/2 96/18    edit [1] 44/21
   125/13 126/7               98/22 98/24 100/15 editor [8] 57/22
   126/14 126/17              105/19 106/14       58/7 58/18 71/5
   126/20 126/21              106/15 107/6        74/16 74/24 75/5
   127/3 128/11 130/7         111/21 112/9        75/11
   131/19 132/5               113/10 113/12      Edman [8] 6/10
   132/10 133/4               115/12              39/13 107/21
   134/10 134/24             dropout [1] 64/11    107/23 108/4 108/8
   135/25 136/21             dropped [4] 68/25    108/23 109/8
   137/21 138/11              69/2 69/5 85/18    Edman's [13] 84/20
   138/22 139/13             drown [1] 74/7       108/14 108/16
   140/13 140/22             due [2] 6/24 107/3   109/15 110/14
   143/23 144/18             DUGALD [3] 2/13      111/2 111/4 121/1
   144/24 145/1               125/18 126/16       121/8 121/9 121/13
   146/14                    during [19] 8/5      122/2 122/4
  Dr. Wright [5] 8/7          24/23 41/14 83/18  education [4] 64/4
   42/2 67/10 112/2           85/13 97/1 111/3    65/16 65/19 83/14
   112/5                      122/12 129/2 132/7 educational [2]
  Dr. Wright's [1]            136/25 137/4 138/1  82/5 127/15
   48/25                      138/6 138/16       effect [1] 11/5
  drafted [1] 38/8            140/16 141/7 142/6 efficient [2] 8/18
  drafting [2] 69/20          144/4               23/11
   72/17                     dynamically [2]     effort [2] 7/21
  dramatically [2]            22/8 22/13          9/16
                                                 efforts [1] 9/17
   69/9 71/3                 E                   either [12] 11/5
  drawn [1] 95/13            each [17] 5/25
  drive [37] 28/6                                 30/5 54/15 65/23
                              11/13 26/5 26/9     72/10 77/12 78/21
   86/25 87/24 88/5           27/2 27/2 30/7
   89/2 89/6 89/9                                 89/25 90/1 99/4
                              32/18 32/24 32/25   141/6 143/12
   89/18 90/3 90/8            47/6 50/8 78/18
   91/2 91/4 91/7                                elaborate [1] 12/2
                              90/20 91/15 100/14 Elan [1] 10/10
   91/16 91/24 91/25          105/19
   92/1 92/20 93/11                              electricity [1]
                             earlier [3] 90/7     13/10
                              100/16
  E 9:18-cv-80176-BB Document 847
Case                                   100/17
                                  Entered on FLSD Docket ESQ        1/13
                                                               [9] Page
                                                         12/20/2021     1701/13
                                                                            of 215
  electronic [8]              100/19 100/20              1/16 1/16 1/19
   11/3 18/24 42/1            100/22 101/13              1/19 1/20 1/20
   85/10 85/12 85/16          101/15 102/18              1/21
   85/23 120/2                102/24 103/1 103/5        essentially [58]
  else [12] 16/19            end [13] 3/20 4/4           12/20 13/2 13/4
   24/6 31/12 77/5            16/7 18/15 35/25           13/7 13/8 13/11
   88/18 88/23 92/15          75/19 75/21 78/15          13/16 13/17 13/18
   96/24 114/2 114/18         91/15 94/10 128/6          16/11 16/13 16/23
   115/5 119/15               128/7 144/6                17/1 17/12 18/1
  eluding [1] 90/6           ending [1] 129/25           18/2 18/5 18/7
  email [3] 50/23            enforcement [1]             18/19 22/9 23/25
   68/3 68/11                 83/16                      23/25 24/25 25/2
  embedded [1] 17/3          engineering [1]             26/3 26/6 26/13
  employed [2] 40/20          82/7                       27/8 30/3 30/7
   41/20                     enrolled [2] 58/24          31/7 31/10 34/5
  employer [1] 43/8           59/23                      34/25 44/13 71/2
  employment [1]             ensure [3] 98/3             71/5 71/6 72/1
   82/19                      98/7 98/10                 72/4 74/25 76/1
  empty [3] 104/14           ensures [1] 13/17           88/15 89/3 90/18
   105/1 143/14              entered [1] 128/15          90/21 92/4 93/14
  enabled [1] 35/11          entire [11] 12/12           94/6 95/2 95/3
  EnCase [2] 84/8             71/4 97/4 99/9             97/3 97/14 101/11
   84/10                      99/10 102/16               102/21 103/4 117/2
  EnCE [1] 84/8               128/22 129/6               117/5
  encode [1] 18/17            138/17 138/19             established [1]
  encrypt [8] 92/6            142/6                      47/24
   94/5 99/4 99/5            entirely [3] 40/15         estate [2] 1/4
   99/5 99/6 99/8             61/5 126/2                 112/6
   99/8                      entirety [1] 97/4          even [15] 10/20
  encrypted [15]             entries [1] 86/16           47/9 47/12 48/9
   92/6 93/24 94/2           entry [5] 86/14             51/6 65/14 69/20
   94/21 94/25 96/13          87/6 136/2 136/7           75/20 76/14 78/9
   99/20 100/21 101/1         136/11                     79/16 101/7 101/7
   101/11 101/12             environment [1]             103/5 104/24
   102/13 102/16              98/7                      evening [6] 8/12
   102/17 102/20             environments [1]            144/9 144/15
  encryption [26]             71/3                       144/21 146/23
   91/21 92/2 92/3           equipment [3]               146/25
   92/4 93/20 93/22           13/10 24/25 141/18        events [1] 136/1
   94/10 94/15 94/16         equivalent [2]             eventual [1]
   94/17 94/18 94/22          113/24 115/2               142/25
   95/6 98/21 99/17          error [1] 3/18             ever [9] 21/23
                             escape [1] 143/16           36/2 46/11 84/13
                              8/5 Entered
  E 9:18-cv-80176-BB Document 847
Case                               10/25on11/18         132/23 132/25
                                           FLSD Docket 12/20/2021 Page 171 of 215
  ever... [5] 106/18          36/12 36/13 39/9           133/2 133/9 133/14
   120/15 121/3               65/23 66/17 68/20          133/19 133/19
   128/16 128/24              82/1 83/21 97/1            133/20 133/20
  every [5] 27/2              102/7 107/16               133/20 133/21
   86/14 95/3 100/13          107/17 111/4               133/21 133/22
   106/3                      115/13 119/3               133/22 133/22
  everybody [3]               119/21 126/5               134/3 134/20
   13/19 13/21 124/22        examinations [1]            134/23 135/1 135/2
  everyone [3] 3/2            84/12                      135/4 135/6 135/7
   11/13 18/9                examine [7] 5/4             135/14 135/15
  everything [4]              6/20 84/18 95/9            135/20 135/21
   27/1 89/12 90/19           98/5 106/14 117/16         136/1 137/7 137/16
   144/12                    examined [2] 85/8           137/18 137/21
  evidence [36]               85/9                       138/12 138/23
   16/25 56/1 56/11          examiner [3] 82/11          139/14 140/13
   56/24 57/4 66/21           84/8 104/20                145/21 146/1
   66/25 67/13 67/25         examining [2]              exhibits [9]
   68/4 73/6 74/3             85/16 98/11                107/24 110/23
   74/4 74/10 85/6           example [12] 18/25          133/11 133/17
   108/20 115/10              26/14 27/11 31/18          133/18 135/4
   115/14 117/20              32/6 34/6 44/20            145/18 145/22
   117/22 120/20              79/7 92/13 94/14           145/24
   120/24 132/21              96/19 101/24              existed [2] 35/16
   132/24 132/25             exceeded [1] 3/15           36/21
   133/9 133/24 134/2        exceeding [1]              existence [1]
   134/4 134/20               110/3                      34/25
   134/22 135/11             exceeds [3] 108/1          exists [1] 32/7
   135/16 135/20              108/11 109/1              expect [4] 27/13
   137/15 137/16             except [1] 10/17            75/2 93/15 94/4
  evolved [2] 69/9           exception [1]              expected [2] 141/5
   71/3                       141/16                     141/6
  EX [1] 2/16                excuse [2] 94/17           experience [9]
  exact [6] 96/3              132/12                     45/20 48/4 50/24
   97/7 97/13 97/18          excused [7] 80/3            71/14 82/20 99/19
   97/19 97/22                80/7 80/8 122/25           120/12 120/15
  exactly [8] 7/1             123/1 123/5 123/6          128/25
   38/25 85/20 87/12         exhibit [53] 6/19          experienced [1]
   87/19 96/21 100/23         15/2 19/2 19/10            70/12
   117/8                      38/11 38/12 38/13         experiences [1]
  examination [28]            108/17 108/24              44/14
   2/5 2/6 2/6 2/8            109/9 109/21              expert [32] 12/5
   2/8 2/9 2/13 5/23          110/13 110/18              14/1 14/22 19/19
                              131/16 132/21              21/8 23/3 24/2
                              112/16
  E 9:18-cv-80176-BB Document 847
Case                                   112/24
                                  Entered on FLSD Docket fellows
                                                         12/20/2021 [2]   130/3
                                                                    Page 172 of 215
  expert... [25]       146/19                             130/17
   24/8 24/17 25/10   factor [3] 20/17                   fellowship [4]
   25/11 25/17 27/17   20/22 22/9                         128/8 128/11
   29/24 42/12 42/22  factors [1] 86/2                    128/22 129/2
   43/11 46/2 49/14   faculty [3] 128/14                 femur [1] 144/3
   51/4 53/2 53/4      128/19 129/2                      FERNANDEZ [5] 1/21
   53/22 54/6 54/11   failed [2] 27/11                    2/8 2/9 80/14
   72/17 111/22        122/8                              118/17
   111/23 111/24      fair [7] 10/8                      few [4] 6/14 53/21
   126/7 126/17        56/11 98/14 98/16                  60/13 132/2
   127/10              103/9 103/22                      field [6] 85/2
  expertise [4] 61/1   114/23                             85/19 85/20 121/3
   83/10 85/20 127/3  fairly [4] 17/17                    127/5 128/23
  experts [1] 41/12    24/23 55/15 117/7                 fields [1] 11/25
  explain [14] 11/22  fairness [1] 4/9                   figure [1] 27/2
   12/25 13/13 13/23  fake [1] 10/12                     figures [1] 131/14
   16/5 16/21 18/13   falls [2] 75/15                    file [46] 18/23
   25/6 33/21 34/20    75/19                              86/7 86/8 86/24
   75/14 86/23 135/25 familiar [5] 21/8                   87/23 87/24 88/2
   140/22              62/9 69/16 79/18                   88/21 89/2 89/3
  explanation [2]      93/12                              89/24 90/7 91/14
   8/6 53/11          family [1] 5/7                      92/22 96/15 96/15
  extended [10]       fan [1] 26/19                       97/3 99/5 99/20
   138/15 139/1 139/3 fans [1] 29/7                       99/20 100/25 101/5
   139/10 139/16      far [2] 23/15 45/9                  101/8 102/16
   141/14 141/22      farm [6] 22/15                      104/22 113/16
   142/9 142/12 143/8  28/16 29/5 29/14                   113/17 113/17
  extension [1]        29/21 30/9                         113/18 113/18
   140/4              fault [1] 11/14                     113/21 113/21
  extensive [1]       feasible [2] 5/9                    113/22 113/24
   142/10              95/8                               114/4 114/5 114/6
  extent [4] 46/4     features [3] 60/8                   114/9 114/11
   53/23 125/22 146/3  72/2 72/3                          114/13 114/14
                      February [3] 22/22                  115/25 117/1 117/1
  F                    139/6 139/21                       117/2 117/3
  facing [1] 52/20    February 2012 [1]                  filed [5] 3/9 3/13
  fact [22] 7/13       139/6                              3/20 4/4 7/15
   8/12 10/20 36/20   February of [1]                    files [29] 71/2
   37/15 38/19 40/11   22/22                              79/10 87/1 87/24
   46/2 47/3 47/15    federal [1] 82/23                   89/13 90/12 93/11
   48/20 50/20 54/13 feel [3] 28/24                       93/15 98/23 99/24
   60/21 64/19 97/9    124/20 125/22                      100/2 100/5 100/7
   106/8 108/6 110/21 fellow [1] 129/3                    100/9 100/10
                              98/25
  F 9:18-cv-80176-BB Document 847
Case                                  99/21
                                  Entered      101/4
                                          on FLSD         96/24 97/3
                                                  Docket 12/20/2021 Page 97/6
                                                                         173 of 215
  files... [14]               101/4 102/25 103/1          97/7 97/9 97/11
   100/12 100/13              105/14 108/15               97/12 97/16 97/17
   101/15 104/4 104/4         122/8 129/13 130/9          97/20 97/21 98/1
   113/25 114/1 114/7         136/2                       98/6 104/20 112/13
   114/10 115/1              fit [3] 30/9 30/14           112/15 112/23
   115/11 115/15              103/9                       115/13 122/12
   115/22 116/9              five [7] 18/3 18/5          forensically [1]
  filing [2] 106/6            32/22 95/22 112/17          106/14
   106/10                     131/13 140/17              forensicist [1]
  filling [1] 70/13          flags [1] 76/2               91/9
  final [2] 131/12           flawed [2] 110/16           forensics [26]
   136/11                     122/4                       49/15 53/2 82/8
  finally [1] 143/17         FLEXNER [1] 1/15             82/11 82/13 83/1
  find [13] 13/4             flipping [1] 76/1            83/4 83/15 83/19
   15/21 66/21 86/22         FLORIDA [9] 1/1              83/21 84/3 84/6
   87/20 87/20 88/3           1/14 1/17 1/22              84/7 84/14 85/21
   100/6 116/15               1/24 148/3 148/7            85/22 85/24 119/24
   116/18 117/13              148/15 148/18               119/25 120/1 120/3
   117/15 122/2              flsd.uscourts.gov            120/11 120/12
  finding [1] 13/9            [2] 1/25 148/19             120/19 120/21
  Fine [1] 78/7              focus [1] 9/21               120/23
  fingerprint [1]            folder [1] 100/2            forensics-related
   97/15                     Foley [1] 143/12             [1] 84/7
  finish [4] 61/21           follow [2] 79/23            forged [3] 120/4
   117/18 117/25              88/7                        120/16 121/11
   146/13                    follow-up [1]               forgeries [9]
  finished [3] 4/10           79/23                       39/14 40/3 40/11
   78/24 79/20               following [11]               108/6 108/9 110/22
  finishes [1] 5/1            52/17 52/18 78/19           110/23 111/12
  finishing [1] 5/11          79/1 79/14 101/20           111/18
  firm [7] 38/23              102/20 125/21              forgery [6] 40/10
   41/5 41/16 41/19           127/23 128/3                109/8 111/6 120/9
   41/20 53/16 62/1           128/15                      120/13 121/3
  firms [2] 84/2             follows [2] 4/12            forging [1] 7/16
   84/16                      77/11                      form [3] 48/20
  first [31] 3/12            force [1] 95/1               54/25 129/20
   9/4 10/20 27/4            foregoing [1]               formal [2] 65/16
   34/16 34/18 35/2           148/10                      65/19
   36/1 47/19 60/2           forensic [32] 38/7          formalized [2]
   77/10 78/19 86/20          38/8 38/20 51/2             64/4 65/21
   87/4 87/5 87/20            52/20 53/4 83/9            format [8] 18/15
   89/8 93/25 95/9            83/22 84/11 84/12           88/25 89/6 89/8
                              94/1 96/2 96/5              89/10 89/25 90/1
                              8/14Entered
  F 9:18-cv-80176-BB Document 847
Case                                8/14on9/1
                                           FLSD10/3     119/18 122/16
                                                Docket 12/20/2021 Page 174 of 215
  format... [1] 91/2          10/14 65/22 145/4          123/3 144/20
  formation [1]              Freedman's [1]              146/22 148/12
                              5/16
   142/25
                             frequent [2] 84/2
                                                        G
  formatting [11]                                       Gables [1] 1/22
   86/23 86/24 89/1           84/3
                             frequently [2]             gag [1] 9/5
   89/2 89/9 89/16                                      gain [1] 41/17
   89/16 89/22 89/24          143/6 143/9
                             Friday [2] 6/1             game [9] 11/25
   96/21 107/4                                           12/2 12/10 12/11
  formed [4] 54/13            145/15
                             friends [3] 62/6            12/14 12/15 12/18
   66/22 67/14 68/12                                     12/21 15/18
  forming [2] 49/19           64/14 69/19
                             front [5] 104/17           gaps [2] 145/14
   67/22                                                 146/11
  forward [3] 11/10           104/24 104/25
                              109/21 131/19             Gates [6] 64/9
   81/19 125/16                                          68/25 69/2 69/5
  found [5] 62/20            full [10] 30/6
                              89/16 89/16 89/22          69/11 69/16
   98/20 100/2 116/18                                   Gates' [1] 68/23
   140/2                      89/25 91/2 102/24
                              128/14 128/18             gave [2] 6/18
  foundation [5]                                         52/18
   30/16 56/19 61/8           129/2
                             full-disk [1]              gears [1] 111/21
   61/17 146/2                                          general [5] 127/5
  four [7] 27/3               102/24
                             full-time [3]               141/16 142/6 144/1
   101/19 128/13                                         144/2
   128/18 129/6 129/7         128/14 128/18
                              129/2                     generally [5] 34/4
   130/24                                                46/19 87/5 94/19
  fourth [2] 68/5            fully [4] 102/15
                              102/20 125/22              114/18
   68/5                                                 generate [3] 29/5
  fracture [1] 144/3          126/1
                             function [2] 53/3           29/8 29/10
  fractured [1]                                         generates [1]
   144/3                      129/21
                             fundamental [1]             26/17
  fragmentary [3]                                       genius [1] 62/7
   93/6 104/22 117/11         51/7
                             fundamentally [5]          gentleman's [1]
  fragmentation [3]                                      123/22
   90/4 90/6 90/9             93/18 101/25
                              105/11 106/12             Gentlemen [12]
  fragmented [1]                                         11/12 66/5 66/16
   116/21                     107/5
                             furlough [1]                76/25 78/16 80/21
  fraud [1] 6/15                                         118/3 119/1 122/19
  fraudulently [1]            129/23
                             furloughs [3]               124/11 125/9 144/8
   7/6                                                  Germany [2] 127/21
  free [2] 99/3               136/16 136/24
                              142/9                      127/22
   145/1                                                get [14] 4/18 4/19
  FREEDMAN [12] 1/12         further [12] 68/16
                              72/7 72/25 77/7            5/12 7/25 9/22
   1/13 2/6 4/20 6/22                                    45/4 46/13 48/12
                              79/22 107/14
                              66/20
  G 9:18-cv-80176-BB Document 847
Case                                  70/12
                                  Entered      74/12
                                          on FLSD         125/21 Page 175 of 215
                                                  Docket 12/20/2021
                             80/15 86/5 87/3
  get... [6] 94/22
                             89/20 92/12 95/12
                                                       H
   96/5 96/8 100/9                                     Ha [1] 10/14
   119/2 132/1               99/7 101/24 133/12
                             136/1 139/18 141/1        hacking [1] 7/25
  getting [2] 56/14                                    had [56] 3/13 3/14
   92/25                     145/13 145/15
                             145/25 146/24              3/24 6/10 6/24
  GitHub [1] 79/6                                       8/12 8/13 22/2
  give [16] 15/1            gone [4] 4/17 41/7
                             90/3 141/7                 26/23 26/23 28/15
   15/3 19/20 31/11                                     29/14 48/24 52/23
   39/19 47/6 48/25         good [18] 3/2 3/4
                             11/12 11/13 11/20          54/12 60/11 62/23
   51/8 72/24 76/15                                     63/13 63/17 64/16
   77/3 110/8 122/21         11/21 36/15 36/16
                             60/15 64/15 81/18          64/22 65/13 69/20
   123/10 123/21                                        85/6 90/14 92/13
   137/12                    82/3 82/4 107/19
                             117/24 125/15              95/20 97/6 97/11
  given [4] 50/9                                        104/10 105/17
   56/9 130/1 145/25         130/10 144/5
                            Gorgas [1] 128/7            113/12 121/18
  giving [1] 15/6                                       127/24 128/3 128/4
  global [1] 83/4           got [1] 48/17
                            government [2]              128/8 128/13
  globally [1] 16/8                                     128/25 130/10
  go [41] 3/6 12/22          71/15 82/23
                            GPU [3] 26/2 27/21          132/19 135/4 136/6
   19/9 21/16 21/22                                     138/14 139/8
   28/11 32/19 35/20         28/22
                            GPUs [6] 25/1 26/5          139/20 142/14
   38/15 41/18 46/14                                    142/18 142/19
   50/3 55/4 57/8            26/7 26/18 27/4
                             27/22                      143/1 143/5 143/10
   66/5 73/3 73/5                                       143/11 143/17
   74/2 74/8 77/10          grade [1] 96/6
                            graduate [1]                144/3 148/8
   85/15 86/2 86/21                                    half [2] 83/3
   87/10 87/20 88/13         127/17
                            graduated [1]               112/18
   88/17 88/22 89/6                                    hammer [1] 103/8
   91/9 92/9 92/19           64/20
                            Grand [1] 127/18           hand [8] 77/2
   109/18 118/3                                         81/19 85/16 85/16
   118/19 118/21            granted [1] 141/16
                            graph [1] 22/2              122/21 125/16
   132/3 135/10                                         145/24 148/14
   140/11 144/23            graphic [1] 140/1
                            graphical [1] 25/1         handled [1] 41/25
   145/1                                               handy [1] 51/17
  goes [4] 23/15            great [1] 9/16
                            greatly [4] 91/11          happen [6] 87/5
   41/13 110/7 127/1                                    87/6 92/16 92/20
  going [35] 4/9             102/6 102/7 106/17
                            Gregory [3] 38/5            93/1 93/4
   4/21 7/12 9/23                                      happened [1]
   11/4 13/18 13/22          38/21 40/1
                            groups [1] 130/19           139/25
   15/24 19/25 35/20                                   happens [6] 87/2
   42/15 43/13 51/11        guess [2] 31/2
                             75/15                      87/23 88/12 88/15
   51/22 51/23 52/5                                     92/24 145/17
                            guidelines [1]
                              59/23
  H 9:18-cv-80176-BB Document 847
Case                                  59/23
                                  Entered      60/22
                                          on FLSD Docket heat
                                                         12/20/2021   26/17
                                                                [2] Page 176 of 215
  happier [1] 5/6             62/3 63/19 63/20            29/8
  happy [1] 122/5             64/14 67/3 69/20           held [1] 43/21
  hard [8] 18/25              76/11 76/11 76/13          help [10] 9/16
   85/11 91/14 91/16          105/2 105/3 110/5           15/6 38/19 50/5
   95/22 100/16               115/15 116/8                63/5 63/12 70/8
   100/17 142/23              116/11 121/4                71/4 71/6 76/13
  hardware [1] 29/11          121/22 122/8               helpful [3] 8/24
  Harvard [3] 69/1            122/10 122/11               15/13 52/1
   69/2 69/5                  122/11 122/14              helping [1] 8/19
  has [33] 4/6 8/16           132/16 136/4 136/6         her [1] 31/19
   9/4 11/5 32/19             136/10 136/11              here [35] 19/5
   32/25 41/2 41/7            136/12 136/15               21/24 30/20 31/4
   41/10 42/21 43/2           136/15 136/25               37/1 38/11 39/3
   43/8 60/6 60/8             138/3 138/7 138/17          40/7 43/12 44/17
   77/5 86/11 89/3            139/4 139/6 139/12          46/2 53/1 54/6
   89/24 99/18 117/4          139/20 139/24               54/8 77/10 82/15
   117/17 117/19              140/2 140/4 140/4           90/16 95/10 102/13
   119/10 119/15              140/6 140/8 140/16          106/12 107/20
   120/4 120/16               140/18 141/2 141/7          107/21 108/7
   129/14 129/25              141/11 141/11               111/21 116/4 116/7
   129/25 141/2 141/3         141/13 141/16               118/17 118/20
   145/20 146/8               142/6 142/10                121/1 124/17
  hash [1] 98/3               142/11 142/18               125/20 126/7
  hashing [2] 13/17           142/19 142/19               126/17 134/15
   17/10                      143/1 143/2 143/5           139/19
  hate [2] 4/23 35/5          143/10 143/11              hereby [1] 148/7
  have [185]                  143/11 143/17              hereunto [1]
  Haven [1] 127/19            143/19 144/3                148/14
  haven't [3] 6/23            145/23 146/1               hernandez [6] 1/23
   73/12 136/19              he's [10] 7/13               1/25 148/5 148/17
  having [6] 31/23            42/15 109/3 109/3           148/17 148/19
   97/11 103/18               110/3 110/5 123/1          Hey [1] 114/22
   121/21 126/19              141/5 141/6 141/7          Hi [1] 3/2
   130/2                     head [1] 96/7               hidden [1] 104/19
  he [95] 7/14 9/10          header [1] 100/25           high [8] 65/9
   22/2 31/19 31/19          hear [4] 30/21               83/12 85/18 90/14
   42/17 42/18 46/9           33/5 75/7 80/10             98/12 127/18 136/1
   48/8 49/20 56/7           heard [4] 64/5               142/13
   56/9 56/20 57/21           69/18 90/17 121/3          high-level [1]
   58/23 58/23 59/1          hearing [2] 121/21           136/1
   59/1 59/3 59/7             126/20                     higher [4] 75/18
   59/10 59/11 59/20         hearsay [3] 56/2             75/19 75/20 75/21
                              56/6 56/18                 higher-level [2]
                              141/19
  H 9:18-cv-80176-BB Document 847
Case                                   142/5
                                  Entered                 133/6 134/13
                                          on FLSD Docket 12/20/2021 Page 177137/1
                                                                             of 215
  higher-level... [2]         142/15 144/3                140/17 143/3
    75/18 75/21              historical [1]              hospitalized [1]
  highlight [1] 58/6          122/9                       131/6
  highly [1] 48/3            history [2] 79/10           hospitals [6]
  him [17] 6/15 8/20          127/16                      129/8 129/8 129/15
   8/22 30/21 42/22          hit [1] 117/7                130/11 130/14
   51/22 52/5 52/25          hitting [1] 103/9            130/15
   53/3 69/21 115/25         hold [8] 14/4 14/4          hour [8] 40/25
   132/18 140/8               14/4 32/11 32/12            41/3 41/11 41/12
   141/22 142/8               77/15 77/24 85/12           42/19 118/4 124/3
   142/22 146/9              holds [2] 103/1              127/13
  himself [8] 10/10           103/3                      hours [1] 89/17
   31/20 61/6 61/11          home [1] 141/18             how [80] 6/3 8/2
   61/15 61/16 61/23         honest [1] 38/22             11/2 11/23 12/2
   62/3                      honesty [1] 5/17             12/10 12/19 12/25
  hired [2] 41/21            Honor [151]                  13/13 13/15 13/23
   43/2                      Honor's [1] 10/16            16/5 16/21 17/1
  his [70] 6/14 7/7          HONORABLE [1] 1/10           17/18 17/24 18/20
   7/7 8/21 9/9 31/19        hope [1] 119/1               19/12 21/16 22/2
   31/19 39/8 39/18          hoped [1] 3/24               22/23 23/10 24/14
   42/4 42/19 45/20          hopefully [1]                27/22 29/21 32/18
   45/20 48/4 49/12           126/25                      32/19 34/25 41/19
   50/23 50/24 50/24         horizontally [1]             43/7 46/4 47/3
   51/4 51/21 52/23           30/5                        50/8 51/1 51/6
   52/24 53/2 53/9           hospital [40]                64/19 65/20 66/1
   53/10 53/13 53/15          30/10 30/15 30/15           70/21 71/18 75/4
   53/15 53/16 53/19          128/7 128/9 128/24          75/5 76/4 76/5
   54/14 56/22 59/25          128/25 129/1 129/4          77/16 78/8 79/2
   62/1 63/2 63/10            129/13 129/24               79/15 85/8 85/13
   64/14 67/3 67/7            129/24 130/3 130/8          86/4 86/5 87/12
   69/16 69/19 72/17          130/8 130/16 132/8          88/8 91/16 91/16
   77/19 77/22 104/11         136/4 136/9 136/9           92/5 92/7 93/8
   104/13 108/9               136/12 136/14               93/8 93/20 94/10
   108/23 109/15              136/15 137/19               99/17 102/3 102/4
   109/16 110/15              138/3 138/18                102/18 105/17
   110/16 113/3               139/11 139/12               106/16 113/12
   115/23 116/5 116/5         139/23 140/3 140/6          117/8 126/25
   121/16 121/17              140/7 140/7 141/1           127/12 128/17
   121/17 121/19              141/2 141/15                128/20 129/3
   121/20 131/12              141/23 142/9                130/22 131/9 139/3
   134/24 137/24              142/11 143/2                139/16 140/24
   137/25 141/18             hospitalization [7]         however [5] 7/2
                               131/12 132/8               8/9 60/9 117/15
Case                          126/19
  H 9:18-cv-80176-BB Document 847      128/14
                                  Entered                 23/8
                                          on FLSD Docket 12/20/2021 Page 178 of 215
  however... [1]      133/11 139/18                      implies [1] 120/9
   140/1             I've [7] 8/22 8/23                  important [6]
  HTCIA [1] 83/13     38/8 83/2 83/8                      11/22 13/15 87/18
  huh [1] 131/21      85/9 129/5                          90/10 91/17 143/4
  humans [1] 87/12   idea [1] 5/20                       importantly [1]
  humor [1] 11/1     identical [1]                        86/19
  hundreds [3] 26/2   73/13                              improper [1] 57/9
   83/8 85/9         identified [6]                      inaccessible [2]
                      98/23 101/19                        92/5 93/23
  I                   103/18 105/7                       incentive [1] 13/7
  I'd [10] 9/25 10/2 105/16 106/8                        incentives [1]
   10/6 66/20 111/21 identifier [6]                       12/25
   132/20 133/8       100/22 100/24                      incentivized [3]
   133/23 134/19      101/4 101/6 101/7                   12/20 13/2 13/8
   137/6              101/12                             incentivizes [1]
  I'll [19] 20/4     identify [12] 33/9                   13/11
   23/22 24/19 25/24  35/21 78/9 78/10                   incident [1] 83/15
   28/16 29/25 32/14  79/15 79/16 80/12                  include [3] 50/24
   35/7 67/6 69/14    80/24 80/25 96/11                   85/10 107/4
   89/6 108/13 109/5  96/13 100/25                       includes [2] 4/14
   111/16 113/4      ill [1] 142/6                        54/16
   117/25 117/25     illness [1] 142/8                   including [9] 4/13
   118/7 144/15      image [7] 96/5                       9/16 11/1 54/10
  I'm [58] 5/18 9/23 97/9 97/11 97/13                     61/25 70/23 98/7
   14/4 14/7 14/11    97/16 97/18 97/20                   127/20 128/18
   14/18 18/9 20/19  images [8] 96/3                     inconsistent [5]
   25/13 29/1 30/11   96/24 97/3 97/6                     45/2 46/6 48/4
   30/25 33/5 33/19   97/7 97/21 98/1                     53/13 61/24
   33/22 35/20 37/22  112/23                             incorporates [2]
   38/12 41/23 42/6  immediately [2]                      11/24 17/7
   42/20 51/11 51/20  5/14 5/15                          Incorporating [1]
   52/5 54/8 55/8    impact [6] 88/6                      45/20
   55/17 57/24 61/21  96/12 96/17 102/4                  increase [1] 41/13
   61/24 65/11 66/20  102/19 106/16                      increased [2]
   75/7 76/20 77/21  impacts [4] 91/11                    24/23 41/10
   79/20 80/10 82/18  102/6 102/7 106/17                 indeed [2] 5/2
   83/12 84/2 95/12  impeach [1] 51/20                    68/9
   98/11 101/10      impeaching [1]                      independent [1]
   115/14 116/13      51/22                               144/14
   117/16 119/17     impeachment [5]                     independently [1]
   120/18 121/21      52/5 56/21 57/6                     122/14
   122/5 125/20 126/1 57/9 58/2                          index [3] 88/2
   126/10 126/19     implication [1]                      88/3 91/3
                              129/24
  I 9:18-cv-80176-BB Document 847
Case                                   136/25
                                  Entered on FLSD Docket interests    [1]
                                                         12/20/2021 Page     9/6
                                                                         179 of 215
  indicate [1] 142/2          137/25 138/3               interjected [1]
  indicated [4]               139/12 139/23               23/6
   138/16 139/19              140/16                     intermittent [1]
   140/1 140/3               install [2] 27/5             143/13
  indicates [1]               93/17                      internal [1] 128/3
   141/5                     installation [2]            internally [1]
  indication [1]              104/3 141/17                136/8
   141/9                     installed [4]               interns [2] 130/2
  indicator [1]               103/16 103/19               130/16
   29/12                      104/1 104/11               internship [1]
  individual [8]             installing [5]               127/25
   78/9 78/10 79/8            91/22 93/8 93/10           interrupting [1]
   79/15 79/16 114/7          96/21 107/4                 10/3
   130/20 141/1              instance [5] 94/7           interruption [3]
  individuals [4]             94/9 99/8 101/2             77/25 80/11 101/9
   7/5 16/12 54/19            130/16                     intimidates [1]
   130/17                    instances [1]                9/10
  industry [3] 83/25          117/4                      introduce [7]
   84/9 85/3                 instantaneous [1]            10/15 126/11
  inefficient [1]             89/11                       132/20 133/8
   23/11                     instead [5] 12/21            134/19 135/1 137/6
  infected [1] 143/6          13/10 13/12 45/16          introduced [4]
  infection [1]               97/6                        17/12 74/2 74/3
   143/7                     Institute [1]                136/19
  infections [5]              83/23                      invention [1]
   131/4 143/5 143/15        instruction [1]              44/11
   143/15 143/15              145/25                     investigation [6]
  infectious [4]             intact [1] 90/10             40/13 52/20 83/1
   127/5 128/8 128/21        integrity [2] 11/6           83/13 85/22 120/1
   131/4                      40/7                       invisible [1]
  infer [1] 61/14            intellectual [2]             104/23
  Info [1] 1/4                45/14 112/5                invited [1] 84/13
  inform [1] 16/24           intended [1] 7/18           involve [3] 17/4
  information [14]           intent [2] 120/9             17/6 17/14
   48/6 68/7 82/23            120/19                     involved [10] 8/1
   85/25 86/16 86/17         intention [1] 7/4            9/2 9/23 24/14
   87/2 87/7 94/23           interact [1] 12/19           25/7 25/17 25/22
   98/8 106/19 134/15        interacting [1]              83/11 112/14
   135/14 137/2               75/24                       112/15
  informs [2] 12/19          interchangeability          involves [3] 16/22
   46/4                       [1] 129/14                  93/11 104/3
  inpatient [7]              interconnected [1]          involving [1] 38/4
                              28/23                      IRA [11] 1/3 68/4
                              87/14
  I 9:18-cv-80176-BB Document 847
Case                                  87/15
                                  Entered      87/18
                                          on FLSD Docket JMOL
                                                         12/20/2021   3/9
                                                                [1] Page 180 of 215
  IRA... [9] 68/6             88/22 88/24 89/10 JORGE [1] 1/19
   80/16 104/7 105/2          89/10 89/13 90/9  Jr [1] 126/16
   107/9 116/5 116/8          90/21 90/25 91/14 JUDGE [4] 1/10
   116/11 116/13              91/15 91/16 91/17  118/14 118/20
  irregular [1]               92/17 93/6 93/17   131/16
   140/9                      94/3 94/11 94/12  jumble [2] 94/3
  is [377]                    95/6 95/8 96/7     99/22
  isn't [3] 7/9               97/14 97/19 101/4 jurors [1] 6/2
   52/19 63/24                101/5 101/6 101/7 jury [53] 1/11
  issue [3] 6/5 9/11          102/3 103/4 103/6  3/24 4/9 4/24 8/19
   146/5                      103/8 103/22       11/6 11/9 11/11
  issued [4] 136/24           104/17 104/25      11/22 13/13 13/23
   140/2 140/8 141/2          108/20 113/23      16/5 16/21 18/13
  issues [3] 84/7             113/23 114/15      25/6 28/10 34/20
   84/14 84/21                117/5 118/14       36/1 57/11 57/12
  it [324]                    121/22 127/7       58/1 58/16 66/7
  it's [134] 3/10             127/13 127/13      66/13 66/14 68/1
   3/21 4/9 4/20 5/8          129/22 131/4 133/6 74/4 75/15 82/5
   5/9 5/20 7/10 7/11         133/13 134/22      82/19 85/21 86/23
   8/24 9/10 9/14             140/15 145/19      95/13 99/12 108/19
   10/7 10/8 10/8             145/21 146/10      118/6 118/23
   11/13 13/5 13/18          items [1] 92/21     118/24 119/24
   14/2 14/9 14/21           its [12] 17/10      124/13 125/7
   16/15 17/3 18/18           17/10 54/9 88/18   127/15 129/11
   18/21 19/25 20/10          88/23 89/5 89/12   131/17 135/12
   21/19 23/3 31/1            91/6 92/16 92/19   135/22 136/1
   33/16 33/22 33/24          105/11 114/3       136/19 140/23
   34/4 34/24 37/1           itself [12] 17/3    144/10 144/17
   38/13 39/8 41/17           17/15 21/21 30/6   145/20 145/25
   47/1 47/1 47/22            45/9 46/19 93/19  just [61] 5/2 7/10
   47/23 51/19 51/19          97/10 97/12 111/1  8/6 10/1 10/8 10/8
   51/23 52/4 52/24           131/3 134/22       10/19 16/11 17/9
                                                 18/16 18/21 25/1
   54/22 54/24 55/2          J                   30/2 30/3 30/7
   55/16 55/21 56/16         Jackson [3] 128/9
   56/18 57/11 57/13                             33/22 36/7 38/9
                              128/15 130/15      38/14 39/19 41/15
   57/17 57/17 59/10         Jaime [1] 6/23
   59/11 64/18 69/11                             45/6 49/25 50/11
                             Jamie [5] 6/11      51/20 51/20 52/5
   71/5 71/25 74/12           6/12 6/13 7/11
   75/19 79/10 79/18                             57/6 60/11 63/14
                              7/16               66/20 70/7 71/2
   83/13 84/9 85/19          January [4] 35/24
   86/1 86/11 86/14                              72/18 77/2 78/3
                              81/6 123/12 139/20 79/10 86/8 86/25
   86/20 86/25 87/11         Java [1] 60/9       88/22 89/13 89/15
                              49/22
  J 9:18-cv-80176-BB Document 847
Case                                  50/6
                                  Entered    50/13
                                          on FLSD Docket knew
                                                         12/20/2021   51/1
                                                                [3] Page 181 of 215
  just... [19] 94/12 55/19 67/19 68/3                     69/15 76/5
   97/3 102/10 102/16 68/11 76/9 146/15                  know [70] 3/10
   119/7 122/21 124/2 kind [13] 26/6                      5/23 10/25 13/17
   125/1 131/25 132/2 75/20 75/20 75/22                   13/22 16/10 19/1
   137/8 138/22        86/3 86/13 93/7                    26/8 30/9 30/14
   139/13 141/10       96/16 98/12 98/14                  34/3 34/16 37/1
   144/4 145/12        98/20 100/19                       38/22 43/7 43/12
   145/14 145/16       100/25                             45/25 46/9 46/17
   146/9              kinds [1] 83/6                      47/3 47/15 48/24
                      KLEIMAN [62] 1/3                    49/2 49/6 49/21
  K                    1/4 9/13 36/18                     50/8 53/22 59/6
  KASS [9] 1/20 2/5    37/1 44/5 44/20                    60/10 60/17 61/11
   2/6 2/13 15/21      44/23 45/2 46/9                    65/22 66/20 67/15
   39/7 56/17 126/4    46/11 46/14 48/3                   68/25 69/11 69/25
   126/10              48/8 48/24 49/3                    70/8 70/17 70/17
  keep [2] 31/14       49/14 51/1 54/12                   71/3 74/24 75/2
   90/10               55/4 58/20 59/6                    75/4 75/4 75/5
  keeps [1] 16/8       59/15 60/22 61/5                   75/10 76/4 79/17
  KEVIN [1] 2/5        61/11 61/23 62/6                   87/12 92/5 92/22
  key [21] 18/2 18/6 62/24 63/15 63/17                    93/23 97/17 100/10
   18/15 31/12 32/5    67/10 67/11 68/4                   101/6 102/8 106/18
   32/6 32/12 32/12    68/6 72/11 80/16                   106/23 107/6
   32/19 32/24 32/25   82/16 84/19 105/2                  112/25 113/7 113/9
   32/25 33/3 77/12    107/9 112/25 113/8                 117/8 126/3 133/16
   78/20 94/7 95/3     115/8 115/10                       140/22 145/19
   103/2 103/4 103/5   115/14 115/22                      146/9 146/10
   103/9               116/5 116/8 116/11                knowing [2] 53/13
  keyboard [1]         127/7 127/8 132/11                 101/7
   120/24              132/14 136/3                      knowledge [2]
  keys [30] 18/14      136/14 136/25                      84/10 102/2
   18/20 18/21 19/13   138/14 138/25                     known [4] 17/12
   19/17 20/10 20/18   139/11 139/17                      47/19 69/11 83/13
   20/23 21/9 21/12    142/14                            knows [3] 61/18
   30/22 31/8 31/9    Kleiman's [25]                      76/4 125/1
   31/11 31/15 31/16   14/12 14/13 44/14                 Kuharcik [4]
   31/19 32/9 33/10    45/7 45/17 46/5                    145/15 145/19
   37/5 43/24 115/18   49/18 49/20 50/22                  145/22 146/16
   115/23 116/15       52/20 55/5 55/6                   KYLE [1] 1/13
   117/14 117/15       57/21 58/3 62/6                   kyleroche [1] 9/15
   117/20 117/22       96/12 101/20
                       103/19 104/7 112/6
                                                         L
   119/11 119/16
  kidney [1] 143/15    116/13 119/9 131/7                labeled [1] 49/22
  Kimon [10] 49/13     137/3 142/2                       laboratory [1]
  L 9:18-cv-80176-BB Documentlay
Case                              Entered146/2
                              847 [1]                     28/4 38/10
                                          on FLSD Docket 12/20/2021 Page 45/6
                                                                         182 of 215
  laboratory... [1]          layperson [1]                48/12 55/4 66/5
   98/13                      104/18                      66/13 72/23 73/14
  Ladies [12] 11/12          lead [2] 143/14              86/3 87/14 92/2
   66/5 66/15 76/25           143/20                      96/7 96/8 98/20
   78/16 80/21 118/3         leading [5] 35/17            101/15 103/14
   118/25 122/19              69/13 70/14 83/24           107/19 118/3
   124/11 125/8 144/8         130/4                       118/22 124/11
  language [16]              leads [3] 131/3             lets [1] 88/3
   17/21 48/9 48/9            142/24 143/7               letter [1] 132/1
   54/20 54/22 54/23         learned [3] 59/6            level [11] 22/13
   54/24 55/2 57/15           144/13 144/13               41/16 51/7 57/17
   57/16 57/17 57/19         learning [1] 70/20           65/21 75/17 75/18
   60/7 60/12 72/4           least [1] 90/1               75/20 75/21 136/1
   72/12                     leave [6] 74/1               142/13
  languages [9] 54/3          129/22 129/23              levels [2] 69/23
   54/17 69/8 71/16           141/2 141/5 141/14          94/15
   71/18 71/25 72/12         leaves [1] 141/8            library [33] 17/8
   75/18 75/18               leaving [1] 142/8            86/10 86/11 86/13
  laptop [10] 22/20          led [3] 29/12                86/13 86/15 86/18
   22/23 23/8 23/15           100/4 121/20                86/19 86/22 86/25
   23/16 23/25 24/5          ledger [6] 15/23             87/3 87/4 88/3
   24/6 25/16 30/2            15/25 16/8 16/11            88/13 89/20 91/13
  large [11] 24/15            16/13 21/21                 91/17 92/13 92/14
   24/21 24/24 24/24         left [6] 20/14               92/25 94/5 95/2
   25/21 25/25 28/17          93/7 112/17 136/12          99/7 99/9 101/24
   28/21 29/14 29/21          140/3 143/13                113/25 114/4 114/7
   87/14                     legal [3] 48/17              114/9 114/13
  large-scale [2]             48/21 48/25                 114/14 115/3 117/5
   25/25 29/21               legend [1] 138/4            life [1] 48/7
  larger [1] 30/2            length [1] 5/25             lift [1] 141/18
  last [7] 8/14 9/13         lengthy [1] 137/3           light [2] 29/10
   14/6 43/7 119/7           Leon [1] 1/21                29/12
   136/11 140/24             less [1] 61/2               lights [1] 29/13
  lastly [1] 83/1            let [18] 3/12 9/4           like [55] 3/5 3/10
  late [1] 130/10             9/21 11/16 11/17            7/9 8/19 9/25 10/1
  later [2] 15/10             28/4 35/20 48/9             10/2 10/6 11/2
   65/7                       65/22 77/7 106/3            12/13 18/24 19/1
  laughing [2] 8/20           116/13 124/22               28/11 29/21 30/9
   8/21                       125/15 126/2                30/14 32/18 49/15
  law [4] 38/23               133/16 146/9 146/9          56/4 62/24 63/14
   83/16 84/2 84/16          let's [29] 4/8 6/1           66/20 71/5 71/20
  lawsuit [1] 41/22           9/22 11/9 12/17             86/10 91/5 91/11
                              16/2 21/5 28/4              93/17 93/22 94/2
                              136/24
  L 9:18-cv-80176-BB Document 847
Case                              Entered on FLSD Docket long-time    [1]
                                                         12/20/2021 Page 183 of 215
  like... [25] 94/3          lists [2] 54/3               83/12
   94/11 94/11 95/16          73/18                      longer [6] 23/25
   96/19 97/11 102/7         litigation [7]               66/1 88/14 89/17
   102/21 103/8 103/8         7/18 38/20 39/25            92/14 114/23
   108/18 111/21              42/6 108/6 112/11          look [22] 5/10 6/3
   114/4 122/6 123/8          112/22                      28/11 34/12 35/1
   126/11 129/21             little [25] 12/2             59/20 59/23 72/24
   129/23 132/20              18/13 20/12 25/6            73/12 73/14 87/9
   133/8 133/23               72/23 72/24 73/2            94/1 95/16 96/16
   134/19 134/25              73/3 74/5 85/19             96/17 101/17
   136/16 137/6               86/3 86/17 87/11            103/15 109/16
  likelihood [1]              92/25 93/5 96/7             112/3 117/19
   130/2                      99/18 101/4 102/25          121/17 121/17
  likely [6] 3/25             118/10 124/19              looked [4] 5/23
   60/6 64/3 70/9             127/15 132/1 138/4          98/20 103/14
   75/24 85/15                140/22                      121/19
  limit [1] 3/15             live [1] 125/4              looking [10] 4/5
  limited [4] 38/5           living [1] 82/10             25/13 33/2 33/8
   38/21 39/25 45/16         Liz [2] 15/14                33/22 70/8 94/2
  line [11] 15/22             146/7                       97/18 104/25 111/2
   47/6 51/12 51/24          LLC [1] 1/4                 looks [2] 55/15
   73/12 73/12 79/5          LLP [2] 1/12 1/18            94/2
   80/25 81/7 81/8           local [1] 3/15              lose [1] 144/2
   110/3                     location [2] 77/12          losing [1] 102/1
  lined [1] 5/15              78/21                      loss [3] 142/23
  lines [10] 17/18           lock [6] 34/5 94/8           143/10 143/17
   17/19 51/12 51/23          95/4 103/5 103/6           lost [1] 106/19
   63/10 77/16 79/2           103/8                      lot [3] 43/2 47/16
   79/7 110/12 110/17        locked [3] 34/13             65/19
  link [2] 39/20              94/6 95/2                  low [2] 57/17
   146/8                     locking [8] 33/16            75/17
  linked [1] 7/9              33/16 34/3 34/7            low-level [1]
  liquid [1] 26/19            35/3 35/8 35/11             75/17
  list [7] 6/19               35/14                      Ludwig [1] 127/20
   14/12 54/4 73/16          logic [1] 26/6              lunch [6] 117/25
   73/21 132/9 135/4         logical [1] 99/25            118/4 118/7 119/2
  listed [5] 60/3            logically [2] 75/1           119/7 119/23
   71/14 71/18 71/21          87/13                      lying [1] 142/23
   135/4                     long [11] 7/3 9/14          LYNAM [2] 2/11
  listening [1]               18/16 18/18 44/23           123/20
   30/20                      64/19 72/1 83/12           LYNN [2] 2/10
  listing [2] 71/15           124/3 134/16                123/9
                              140/24
                              60/17
  M 9:18-cv-80176-BB Document 847
Case                                  62/5
                                  Entered    63/2Docket 12/20/2021
                                          on FLSD        139/16 Page 184 of 215
  Macbook [1] 93/13          63/5 63/9 63/12          mapping [2] 5/19
  machine [1] 148/8          63/24 64/19 66/20         5/19
  machines [1] 26/11         67/2 68/3 68/17          March [5] 10/11
  MACINTYRE [31]             68/22 72/17 72/21         131/13 136/13
   2/13 125/13 125/18        72/24 73/10 74/15         139/24 139/25
   126/7 126/14              77/1 77/6 78/18          mark [4] 115/23
   126/16 126/17             78/19 80/3                116/9 135/17
   126/20 126/21            Madura's [4] 19/25         135/18
   127/3 128/11 130/7        38/10 50/1 51/15         marked [9] 88/16
   131/19 132/5             major [3] 130/11           88/22 114/1 114/21
   132/10 133/4              130/11 142/22             115/11 115/15
   134/10 134/24            make [17] 4/23             115/16 116/11
   135/25 136/21             4/23 9/21 10/14           135/15
   137/21 138/11             21/17 26/25 46/21        marks [4] 113/21
   138/22 139/13             72/2 92/5 95/21           114/15 114/17
   140/13 140/22             97/22 109/10              114/20
   143/23 144/18             115/22 116/2             Maryland [5] 59/16
   144/24 145/1              120/18 144/10             59/21 60/3 63/20
   146/14                    145/14                    63/22
  Madam [1] 20/7            makes [1] 124/20          Maryland's [1]
  made [10] 3/17 8/7        making [5] 12/22           60/15
   9/24 65/1 84/25           53/1 74/25 77/11         mask [3] 121/22
   97/20 98/1 98/10          78/20                     121/24 125/23
   132/14 132/16            man [1] 6/11              massive [3] 93/10
  MADURA [75] 2/5           manage [1] 26/20           93/18 104/3
   5/11 11/10 11/16         management [1]            master [2] 103/2
   11/20 12/25 13/13         143/9                     103/4
   15/24 16/5 16/21         manipulated [1]           match [3] 55/17
   17/23 19/4 19/12          40/2                      95/21 97/17
   21/8 21/24 23/10         manner [1] 85/11          matched [1] 98/4
   23/15 23/24 24/5         many [35] 11/24           materials [3] 49/1
   24/11 25/10 25/17         17/18 19/12 22/23         61/13 61/25
   26/23 28/15 28/21         25/2 25/3 26/1           math [1] 16/22
   29/21 30/20 32/11         26/1 26/7 27/22          mathematical [3]
   34/3 35/20 35/25          29/11 34/6 69/10          17/1 97/13 98/2
   36/11 36/15 36/17         70/5 70/7 71/18          mathematics [1]
   37/7 38/24 40/20          77/17 79/3 83/16          16/23
   41/20 43/7 43/11          83/20 83/22 84/15        matter [7] 47/14
   50/2 50/8 50/13           85/8 85/13 94/16          67/14 101/23
   51/12 51/20 52/14         105/17 113/12             103/25 106/11
   53/24 54/20 56/19         128/17 128/20             126/9 127/3
   58/16 58/20 59/15         129/9 129/21             matters [2] 83/10
                             130/22 131/9 139/3        106/12
  M 9:18-cv-80176-BB Documentmeaningfully
Case                                           [2]Docket messages
                              847 Entered on FLSD                    [4]1856/19
                                                         12/20/2021 Page    of 215
  Maximilian [1]              63/25 64/17                9/24 10/25 11/5
   127/21                    means [6] 31/11            MESTRE [2] 1/18
  Maxwell [3] 38/5            90/22 92/4 93/22           1/19
   38/21 40/1                 94/24 128/1               metadata [6] 108/8
  may [20] 8/3 8/7           mechanism [3]               108/22 109/10
   9/21 10/19 12/15           15/23 32/3 32/7            110/21 111/1
   25/19 35/25 49/6          media [13] 7/22             121/11
   53/9 56/22 57/3            8/10 8/15 18/24           methodology [10]
   70/3 74/19 90/17           19/15 83/21 85/10          85/3 109/15 110/15
   99/11 105/16               85/11 85/16 85/17          110/16 111/2 111/4
   107/10 108/20              85/23 91/7 120/2           121/18 121/20
   119/5 135/23              medical [24]                122/2 122/4
  May 22nd [1]                127/23 128/10             methods [1] 85/1
   105/16                     131/7 131/9 131/11        Miami [18] 1/14
  maybe [10] 18/18            132/10 132/13              1/17 1/24 1/24
   28/18 55/10 60/11          132/18 132/19              28/6 128/9 128/10
   86/17 87/16 91/14          133/5 133/11               128/14 129/1
   93/3 106/3 130/24          133/23 134/16              130/13 130/13
  MCGOVERN [5] 1/20           137/3 138/1 141/13         136/4 136/9 136/11
   9/18 10/4 118/13           141/19 141/20              137/25 148/15
   124/10                     141/21 142/2 142/2         148/18 148/18
  MDs [1] 130/18              142/5 142/13              MICHAEL [2] 1/21
  me [36] 3/12 3/23           142/15                     80/14
   5/6 6/23 9/4 9/21         medicine [2] 128/1         Michigan [4]
   10/3 11/16 12/13           128/4                      127/18 127/24
   15/1 15/3 19/20           member [2] 82/24            128/4 130/12
   35/20 39/19 40/15          83/12                     microphone [3]
   44/8 51/8 65/22           members [1] 83/16           80/13 121/24
   76/15 77/7 85/7           Memorial [1] 128/9          126/22
   85/19 87/12 94/17         men [1] 129/17             Microsoft [2] 64/5
   96/3 99/19 100/4          mention [3] 49/10           75/25
   104/21 106/3               53/24 54/2                middle [1] 41/9
   116/13 123/10             mentioned [15]             might [6] 8/10
   123/21 124/22              13/3 17/16 18/22           49/4 65/22 94/10
   125/15 132/12              31/9 32/21 34/21           103/14 105/1
   137/12                     49/4 53/19 75/17          military [3]
  mean [8] 5/6 31/6           91/12 110/14               129/17 129/21
   57/1 76/5 88/25            110/25 117/16              129/23
   89/23 130/15               140/25 148/9              million [1] 27/22
   138/17                    mentions [1] 33/15         mind [3] 15/6
  meaning [2] 143/11         merely [1] 8/6              15/14 145/5
   143/18                    message [4] 6/9            mine [17] 11/15
                              10/9 67/3 68/3             22/11 22/18 22/20
  M 9:18-cv-80176-BB DocumentMonday
Case                          847 Entered   3/11Docket motor
                                      [3]on FLSD               [1]Page142/16
                                                       12/20/2021      186 of 215
  mine... [13] 22/24          3/25 10/15                move [5] 17/23
   23/5 23/7 24/15           money [4] 13/10             55/25 133/23 138/8
   24/24 25/3 25/16           16/17 42/9 43/8            138/20
   27/20 28/16 28/21         monitor [4] 11/4           moved [3] 82/25
   37/4 44/2 45/10            27/9 28/4 28/6             83/2 114/2
  mined [5] 34/16            monitoring [2]             MR [19] 2/5 2/6
   35/22 36/2 36/23           9/23 27/12                 2/6 2/8 2/8 2/9
   43/18                     month [2] 139/7             2/13 10/3 12/25
  miner [2] 13/7              139/8                      13/13 24/11 39/7
   13/18                     months [1] 140/17           73/10 74/15 95/16
  miners [5] 12/19           more [35] 6/4 8/25          119/3 119/23
   12/20 13/2 18/10           18/13 19/16 20/12          138/20 145/19
   22/7                       21/4 22/9 22/10           Mr. [144] 4/19
  mining [30] 13/1            22/11 22/12 25/6           4/20 5/11 5/14
   13/16 21/25 22/3           41/14 46/24 62/14          5/16 6/22 7/6 8/13
   22/15 22/22 22/23          65/18 65/18 65/20          8/14 8/14 8/23 9/1
   23/12 23/15 23/16          69/9 69/10 70/7            10/14 11/10 11/16
   23/24 24/5 24/12           70/9 72/3 73/2             11/20 15/21 15/24
   24/15 24/21 25/21          75/22 75/22 76/19          16/5 16/21 17/23
   25/25 26/17 26/24          86/17 86/19 92/12          19/4 19/12 19/25
   27/3 27/6 27/8             111/2 129/17 132/2         21/8 21/24 21/25
   27/22 28/16 29/5           136/10 140/5               22/17 23/6 23/10
   29/14 29/21 30/9           140/23                     23/15 23/18 23/24
   30/14 34/21               morning [18] 3/2            24/5 24/11 25/10
  minute [5] 45/5             3/4 6/1 6/23 11/12         25/15 25/17 26/23
   66/6 66/8 124/12           11/20 11/21 36/15          28/15 28/21 29/21
   124/14                     36/16 107/19 119/9         30/20 30/21 31/7
  minutes [7] 4/15            144/9 144/16               31/17 32/11 34/3
   4/16 117/25 118/1          144/19 144/25              35/20 35/25 36/11
   124/3 125/3 125/4          145/2 145/16               36/15 36/17 37/7
  Mischaracterizes            146/24                     38/10 38/24 39/4
   [1] 113/3                 most [7] 3/25               40/20 41/20 43/7
  miss [1] 117/7              11/25 34/5 100/23          43/11 45/22 50/1
  model [1] 95/21             102/24 131/11              50/2 50/8 50/13
  Moderately [1]              143/4                      51/12 51/15 51/20
   126/25                    mother [3] 18/3             52/14 53/24 54/20
  modify [1] 16/16            31/19 32/22                56/12 56/14 56/15
  moment [10] 4/1            motherboard [3]             56/17 56/19 58/16
   15/3 19/20 36/7            26/5 27/11 28/23           58/20 59/15 60/17
   39/19 46/14 51/9          motherboards [2]            62/5 63/2 63/5
   76/16 76/20 78/5           26/10 26/13                63/9 63/12 63/24
  moments [1] 53/21          motion [4] 3/9              64/19 65/22 66/20
                              3/13 3/22 9/22             67/2 68/3 68/6
  M 9:18-cv-80176-BB DocumentMr.
Case                          847 Chambers'     [1]
                                  Entered on FLSD         19/25 38/10
                                                  Docket 12/20/2021       50/1
                                                                    Page 187 of 215
  Mr.... [51] 68/17           98/18                       51/15
   68/22 72/17 72/21         Mr. David [1]               Mr. Nicholas [2]
   72/24 77/1 77/6            127/8                       80/17 81/13
   78/18 78/19 80/3          Mr. Fernandez [1]           Mr. Reed [9]
   80/17 81/13 81/16          118/17                      131/15 133/1 134/5
   82/3 82/15 98/18          Mr. Freedman [8]             136/17 137/11
   107/19 107/21              4/20 6/22 8/14              137/17 138/8
   108/22 109/21              8/14 9/1 10/14              140/10 140/20
   110/12 115/7               65/22 145/4                Mr. Reid [1]
   117/10 118/17             Mr. Freedman's [1]           131/25
   119/8 122/20               5/16                       Mr. Rivero [1]
   122/23 122/25             Mr. Kass [4] 15/21           4/19
   123/4 126/4 126/10         56/17 126/4 126/10         Mr. Roche [2] 39/4
   127/7 127/8 131/15        Mr. Kleiman [3]              117/10
   131/25 133/1               127/7 136/3 136/25         Mr. Wilson [1] 7/6
   133/16 134/5 135/8        Mr. Kuharcik [3]            Ms [17] 9/18 38/9
   136/3 136/17               145/15 145/22               40/22 49/25 50/11
   136/25 137/11              146/16                      53/7 55/11 57/8
   137/17 138/8              Mr. Madura [69]              57/25 58/3 58/5
   140/10 140/20              5/11 11/10 11/16            63/2 63/9 66/24
   145/4 145/15               11/20 15/24 16/5            67/16 67/24 68/14
   145/22 146/16              16/21 17/23 19/4           Ms. [3] 10/4
  Mr. Andreou [4]             19/12 21/8 21/24            118/13 124/10
   56/12 56/14 56/15          23/10 23/15 23/24          Ms. McGovern [3]
   68/6                       24/5 25/10 25/17            10/4 118/13 124/10
  Mr. Antonopoulos            26/23 28/15 28/21          much [18] 6/4
   [8] 21/25 22/17            29/21 30/20 32/11           18/23 24/14 30/1
   23/6 23/18 24/11           34/3 35/20 35/25            30/2 43/8 47/3
   25/15 31/7 45/22           36/11 36/15 36/17           61/1 64/8 66/1
  Mr. Antonopoulos'           37/7 38/24 40/20            67/10 69/8 75/22
   [2] 30/21 31/17            41/20 43/7 43/11            75/22 89/16 127/12
  Mr. Brenner [4]             50/2 50/8 50/13             129/3 146/9
   8/13 8/23 133/16           51/12 51/20 52/14          multiple [3] 33/15
   135/8                      53/24 54/20 56/19           90/8 94/18
  Mr. Chambers [15]           58/16 58/20 59/15          multisig [25] 32/4
   5/14 81/16 82/3            60/17 62/5 63/2             32/23 33/3 33/9
   82/15 107/19               63/5 63/9 63/12             33/13 33/16 33/19
   107/21 108/22              63/24 64/19 66/20           33/20 33/21 34/7
   109/21 110/12              67/2 68/3 68/17             34/14 34/17 34/18
   115/7 119/8 122/20         68/22 72/17 72/21           35/3 35/11 35/13
   122/23 122/25              72/24 77/1 77/6             35/15 35/22 35/23
   123/4                      78/18 78/19 80/3            36/1 36/2 36/17
                             Mr. Madura's [4]             36/20 36/21 36/23
  M 9:18-cv-80176-BB Documentnecessarily
Case                                                     123/7 123/18
                                             [3] Docket 12/20/2021
                              847 Entered on FLSD                  Page 188136/7
                                                                            of 215
  multitude [1] 34/4  53/5 75/12 100/22                  137/8 138/8 140/4
  Munich [1] 127/21  necessary [3] 6/4                   141/8 146/14
  muscles [1] 142/18  9/1 146/2                         nice [1] 146/25
  my [50] 6/8 9/13   need [43] 3/3 4/10                 NICHOLAS [6] 2/7
   15/6 18/3 18/6     4/18 7/23 7/25                     42/13 80/17 81/13
   32/22 32/25 36/4   10/18 18/2 24/24                   81/21 81/24
   36/8 36/25 41/5    25/2 26/1 26/7                    night [2] 8/14
   44/13 49/1 52/22   26/9 26/12 26/12                   9/13
   53/17 53/17 54/16  26/18 26/20 26/24                 nine [2] 95/24
   65/16 71/14 71/14  27/1 27/4 27/5                     129/7
   74/25 82/21 83/8   27/6 27/7 27/9                    ninth [1] 96/6
   83/9 84/8 85/7     27/11 27/23 30/5                  ninth-grade [1]
   85/9 96/7 97/1     31/10 32/5 32/8                    96/6
   97/20 98/9 99/19   32/23 70/25 75/4                  no [121] 1/2 2/16
   104/12 106/3 113/9 77/24 88/1 89/15                   5/1 5/6 5/20 8/4
   115/1 118/10 119/7 92/14 94/21 120/24                 9/3 9/5 9/8 14/6
   120/9 120/10       121/15 121/23                      14/18 16/14 17/11
   120/11 120/12      135/15 144/20                      19/23 23/4 23/25
   126/16 128/22      145/23                             33/21 36/19 36/20
   129/2 137/4 140/1 needed [3] 88/14                    36/23 44/3 44/7
   144/6 148/11       88/24 114/16                       44/22 45/6 45/9
   148/14            needs [4] 75/5                      45/12 46/16 46/19
  mylegacykid [1]     75/10 87/4 114/23                  47/8 47/14 47/14
   9/17              network [14] 12/21                  49/5 49/21 49/24
  myself [1] 111/23   13/3 13/5 13/6                     50/2 50/2 50/2
  mystical [1] 85/19  13/11 13/12 13/19                  50/17 50/19 51/19
                      16/9 18/9 21/17                    51/19 52/12 53/5
  N                   21/18 21/18 22/10                  56/19 58/25 59/9
  Nakamoto [6] 46/15 22/13                               59/22 60/1 60/1
   46/17 46/22 47/10 networking [2]                      60/20 61/7 61/14
   47/13 47/16        26/10 83/14                        62/8 64/13 64/16
  name [4] 7/16      never [4] 7/18                      67/11 68/16 72/13
   81/22 126/14       10/16 112/25 145/5                 73/24 75/12 76/7
   126/16            new [19] 13/6 13/9                  77/7 77/14 77/18
  named [1] 100/14    17/11 17/23 87/2                   78/7 78/11 78/12
  namely [1] 140/17   87/3 87/6 88/5                     78/13 78/23 78/23
  naturally [1]       88/8 89/5 89/12                    79/22 79/25 80/2
   41/15              90/7 92/16 92/19                   82/18 88/14 92/9
  nature [6] 30/4     93/3 93/4 103/25                   97/11 98/8 98/10
   91/6 99/24 101/3   104/10 127/19                      107/2 107/2 107/14
   104/19 105/11     next [15] 13/18                     110/20 111/5 111/6
  Navigant [1] 82/25 13/22 43/12 58/4                    111/20 111/23
  nearly [1] 73/12    80/9 90/20 109/18                  111/25 112/1 112/3
  N 9:18-cv-80176-BB Documentnoticed
Case                                   [2]
                              847 Entered      9/17
                                          on FLSD         12/4 13/25
                                                  Docket 12/20/2021 Page 19/18
                                                                         189 of 215
  no... [31] 112/4            100/12              20/24 20/25 21/13
   112/7 112/10              notification [1]     22/25 23/2 23/13
   114/23 115/10              3/13                23/17 24/1 24/7
   115/17 115/19             notion [1] 31/8      24/16 24/19 25/9
   115/21 116/17             novel [2] 16/15      25/18 25/23 27/16
   117/20 117/23              16/19               27/24 29/1 29/16
   118/14 119/14             November [4] 1/5     29/24 30/16 30/23
   119/15 119/18              139/8 148/9 148/15 30/25 31/25 34/8
   121/12 121/17             novice [2] 48/10     35/17 37/12 37/17
   122/16 122/24              70/21               37/18 37/25 38/1
   123/3 132/22              now [34] 4/13 14/5 39/6 39/11 39/15
   133/25 134/21              31/1 51/16 52/2     39/21 40/4 40/4
   135/11 137/14              55/8 57/13 58/16    40/17 42/3 42/23
   139/8 141/16               65/25 66/2 71/2     43/4 51/13 52/6
   142/18 142/19              72/5 72/5 73/5      52/12 56/2 56/24
   145/9 146/12               73/15 74/2 74/9     59/12 61/7 61/17
  noise [1] 29/6              74/11 88/16 92/25   69/13 70/14 77/14
  non [3] 83/14 84/4          102/10 115/3 116/5 77/18 78/4 78/7
   141/20                     117/24 129/19       78/11 78/12 78/13
  non-medical [1]             130/14 137/24       103/11 103/12
   141/20                     138/6 138/7 140/20 106/20 106/25
  non-profit [2]              143/5 143/10 146/3 107/25 108/11
   83/14 84/4                 146/8               109/1 110/3 110/9
  none [2] 48/6              number [17] 15/1     111/8 111/14 113/2
   138/16                     15/2 18/16 25/3     120/5 121/5 130/4
  nonetheless [2]             50/9 55/18 85/15    132/22 133/12
   53/12 63/25                86/2 102/11 109/8   133/17 133/25
  Nope [1] 46/12              111/6 115/1 135/2   134/1 134/21 135/9
  normal [3] 41/12            138/25 140/18       137/14 141/24
   41/17 143/18               142/21 143/2       objections [4]
  normally [2] 56/8          numbers [4] 25/3     15/9 28/7 28/13
   143/11                     50/8 55/17 133/14   32/13
  North [2] 1/24             nursing [1] 132/15 observer [1] 10/24
                                                 obtaining [1]
   148/18                    O                    132/18
  not [203]                  oath [4] 11/17
  notably [1] 11/25                              obvious [1] 143/22
                              52/15 81/20 125/17 obviously [4] 5/11
  noted [1] 137/4            object [4] 35/5
  notes [2] 119/7                                 129/5 145/23 146/9
                              60/4 60/7 60/8     occur [1] 143/19
   148/11                    object-oriented [3] occurred [2] 21/23
  nothing [4] 10/21            60/4 60/7 60/8
   37/4 61/13 146/22                              144/4
                             objecting [1] 29/2 occurring [1] 16/9
  notice [1] 6/14            objection [85] 8/4 October [2] 106/9
  O 9:18-cv-80176-BB Documentold
Case                              Entered65/4
                              847 [3]           86/13
                                          on FLSD         102/10 103/23
                                                  Docket 12/20/2021 Page 190 of 215
  October... [1]      93/5                                103/23 105/14
   139/7             old-school [1]                       108/9 109/8 110/22
  October 1st [1]     86/13                               110/24 111/7
   106/9             once [7] 11/3                        111/12 111/18
  off [10] 56/10      11/14 12/12 24/12                   112/1 112/4 115/2
   114/2 115/4 115/16 26/23 52/5 92/10                    116/18 118/4 119/7
   115/23 121/22     one [147] 3/5 3/8                    119/15 124/1
   121/23 125/23      4/1 4/14 5/6 6/5                    127/17 127/20
   129/5 141/3        8/10 8/11 11/1                      127/24 128/6 133/4
  offered [2] 2/16    13/22 14/6 14/23                    136/8 137/12 139/5
   39/1               15/3 16/14 16/14                    139/20 140/5 141/3
  offering [9] 43/14 20/22 21/4 22/17                     141/7 141/8 141/16
   43/17 43/20 43/23  22/20 22/22 23/4                    144/3 144/22
   44/1 44/4 44/10    24/5 24/6 24/15                     145/12 145/17
   45/13 47/9         25/21 26/24 27/10                  One is [1] 3/5
  officer [2] 67/6    27/20 28/3 28/11                   one-hour [1] 118/4
   77/4               28/16 28/21 28/23                  one-sided [1] 8/11
  often [1] 130/24    29/14 29/22 31/22                  one-year [1]
  oh [5] 57/12 58/14 32/11 32/12 32/25                    127/24
   73/4 126/12 137/10 34/12 35/22 36/7                   ongoing [1] 7/14
  okay [55] 12/8      36/20 36/23 39/3                   only [17] 7/16
   18/4 19/22 21/6    39/14 39/19 40/10                   9/25 47/17 67/3
   21/11 23/9 23/22   43/7 46/17 46/22                    69/20 70/5 74/22
   36/12 43/13 46/15  46/25 49/12 51/8                    94/25 96/6 100/21
   50/10 53/6 57/21   53/9 53/11 54/1                     115/12 116/18
   66/22 66/23 67/7   55/15 55/18 55/23                   117/17 117/19
   67/8 71/21 72/21   60/5 60/17 61/25                    119/10 134/7 141/7
   73/8 74/8 74/24    62/5 63/8 68/5                     onwards [1] 24/23
   77/7 77/24 78/7    70/5 70/10 70/24                   open [6] 17/9
   88/12 95/9 96/23   71/25 72/6 72/6                     21/19 94/11 94/24
   98/17 105/5 109/17 73/5 73/6 74/2                      95/3 143/6
   110/1 111/21       74/9 74/10 75/4                    operate [1] 94/20
   112/20 112/24      75/5 75/10 76/4                    operates [1] 11/23
   113/15 113/23      76/15 76/19 77/11                  operating [17]
   114/6 114/9 114/14 77/17 77/24 78/1                    64/7 75/25 76/3
   115/1 116/4 116/8  78/2 78/5 78/20                     91/22 93/8 93/10
   118/7 118/14       79/3 79/19 80/15                    93/12 93/13 93/17
   118/22 124/14      80/18 84/23 84/23                   96/21 103/16
   132/17 136/2       87/8 87/15 87/16                    103/18 103/25
   137/13 137/13      87/20 87/25 89/5                    104/2 104/11 107/4
   139/25 144/6 146/7 89/12 90/19 91/14                   114/25
   146/22             94/6 94/14 94/25                   operation [7] 26/1
                      100/13 100/25                       93/10 93/18 93/19
  O 9:18-cv-80176-BB Documentordered
Case                                   [1]
                              847 Entered      130/1
                                          on FLSD Docket otherwise    [1]
                                                         12/20/2021 Page     3/23
                                                                         191 of 215
  operation... [3]           orders [1] 4/4              our [17] 4/25 5/8
   97/14 98/2 116/1          ordinarily [1]               5/14 5/21 6/3 6/19
  operational [2]             86/6                        8/16 41/19 62/12
   12/23 26/25               Oregon [1] 127/25            85/4 87/3 92/12
  opine [3] 25/11            organization [3]             94/1 101/24 106/13
   115/12 121/15              83/14 83/17 83/24           118/4 124/18
  opined [2] 40/1            organizations [1]           out [44] 5/3 5/19
   56/8                       84/4                        5/19 5/20 7/1 7/11
  opines [1] 44/13           organized [5] 72/3           7/18 12/15 47/6
  opining [5] 23/10           87/12 87/13 91/17           49/7 60/22 61/3
   36/17 40/7 40/10           102/3                       66/21 68/25 69/2
   44/17                     organizing [1]               69/5 70/1 70/5
  opinion [46] 23/4           86/9                        70/5 70/13 85/18
   24/8 24/17 29/24          oriented [3] 60/4            86/4 88/3 89/4
   30/17 43/12 43/14          60/7 60/8                   89/11 89/19 89/21
   43/17 43/20 43/23         original [13]                90/2 91/1 91/3
   44/1 44/4 44/10            17/19 35/13 35/14           91/12 93/1 94/16
   45/7 45/13 45/16           44/15 45/18 71/25           96/16 96/17 102/1
   46/5 46/13 47/12           79/9 97/12 97/13            102/22 117/4 139/6
   47/14 48/2 48/12           97/18 97/19 117/3           139/7 139/7 140/18
   48/13 48/21 49/19          117/9                       141/22 143/14
   52/22 53/17 54/8          originals [1] 97/8          outlined [1]
   54/11 54/13 58/12         OS [1] 93/13                 136/16
   60/21 66/22 67/22         osteomyelitis [1]           outside [22] 12/4
   68/12 82/15 112/1          143/8                       13/25 19/18 23/3
   112/4 112/24 113/7        other [41] 4/15              25/9 29/18 30/23
   113/9 120/9 120/11         5/12 6/5 21/18              31/1 31/25 33/12
   121/10 121/16              30/7 31/24 32/12            35/6 37/23 39/8
   127/4                      32/12 35/14 37/7            39/18 42/3 44/6
  opinions [6] 39/1           37/16 41/21 42/1            44/16 45/4 45/6
   56/22 67/14 111/6          44/11 49/5 54/17            77/19 77/22 142/11
   111/12 111/18              54/18 60/17 70/24          over [18] 3/22
  opportunity [3]             71/5 73/5 74/18             4/17 4/17 8/14
   6/24 10/2 77/1             74/19 84/5 84/7             19/5 22/3 31/14
  opposing [2] 9/7            90/21 91/15 91/19           64/23 69/9 71/3
   135/5                      98/8 98/8 98/8              83/6 84/12 85/8
  option [1] 122/15           100/14 101/16               85/9 93/7 119/7
  options [1] 94/25           103/14 112/4 116/1          139/6 142/23
  order [9] 3/1 4/18          120/24 128/6               Overflow [2] 62/9
   8/1 9/5 13/10 32/6         130/15 141/19               63/7
   94/21 141/17               146/11                     overnight [16]
   143/14                    others [4] 34/6              138/6 138/14 139/1
                              69/21 70/22 94/19           139/3 139/5 139/8
                              125/11
  O 9:18-cv-80176-BB Document 847
Case                                   144/17
                                  Entered                 12/3 13/6
                                          on FLSD Docket 12/20/2021 Page13/14
                                                                         192 of 215
  overnight... [10]   147/1                               13/16 13/23 16/6
   139/10 139/16     P478 [6] 55/11                       47/10 49/9 53/18
   139/19 139/20      55/25 57/25 72/14                   53/20 74/18 83/16
   140/2 140/18       73/6 74/4                           102/22 129/13
   140/23 141/7      P767 [1] 67/24                      participants [4]
   141/10 141/12     P853.1 [1] 66/24                     21/18 22/8 22/10
  overruled [27]     Pacific [2] 82/21                    32/23
   12/17 16/2 20/4    128/7                              participated [2]
   24/19 25/24 29/25 package [2] 17/9                     83/18 83/20
   31/3 32/2 32/14    17/10                              participation [1]
   34/9 35/7 37/13   packet [1] 38/11                     45/7
   37/18 38/1 39/11  page [21] 2/4 3/15                  particular [16]
   39/21 42/5 61/18   14/8 15/17 19/9                     17/2 19/16 33/9
   69/14 107/1 108/2  38/15 50/1 50/8                     35/8 39/9 62/17
   108/13 109/5       51/12 51/12 51/23                   63/8 63/16 79/5
   111/16 113/4 120/6 51/24 58/4 63/3                     79/7 79/19 86/18
   120/8              63/9 72/18 73/14                    127/6 132/9 133/7
  overwrites [3]      73/14 80/25 81/7                    137/24
   102/22 104/5       81/8                               particularly [4]
   105/12            pages [8] 1/8 3/16                   24/22 122/5 129/22
  overwriting [8]     3/16 131/9 131/14                   131/5
   92/1 92/7 92/9     132/2 137/8 148/12                 parties [1] 146/3
   92/12 96/20 96/22 Paige [1] 62/5                      partners [1] 43/15
   103/3 105/9       PALM [7] 1/2 58/21                  partnership [2]
  overwritten [13]    59/3 59/7 63/21                     45/11 82/16
   92/10 106/24 113/9 63/22 136/4                        parts [2] 74/19
   113/13 113/20     paper [1] 15/6                       93/2
   113/22 114/17     paragraph [18]                      pass [15] 136/12
   115/3 117/12       12/6 14/2 14/3                      139/6 139/7 139/19
   117/17 117/19      14/9 14/10 14/11                    139/20 140/3
   117/21 117/22      15/18 15/19 19/22                   140/18 141/2 141/3
  own [2] 21/20       20/2 20/3 20/3                      141/5 141/6 141/7
   32/19              25/13 33/17 33/17                   141/12 141/12
  Ownership [1]       50/1 50/3 68/5                      141/14
   15/22             paragraphs [1]                      passcode [3] 92/6
                      12/14                               94/21 94/24
  P                  paraplegia [4]                      passed [1] 115/15
  p.m [16] 118/6      130/20 131/3                       passes [19] 136/16
   118/9 118/9 118/24 142/16 143/24                       136/16 136/24
   123/14 123/14     paraplegic [4]                       138/6 138/14
   124/9 124/9 124/13 131/1 131/5 131/6                   138/15 139/1 139/1
   124/15 124/15      142/20                              139/3 139/3 139/5
   125/7 125/11      part [16] 5/18 8/8                   139/9 139/10
  P 9:18-cv-80176-BB DocumentPerl
Case                               [15] on54/20
                              847 Entered  FLSD Docket piece   [9]Page13/15
                                                       12/20/2021      193 of 215
  passes... [6]               57/15 57/15 57/22          20/10 67/13 90/11
   139/16 139/22              58/6 58/17 74/11           90/19 90/20 91/13
   140/23 140/23              74/16 75/6 75/11           117/6 141/17
   141/10 141/17              75/13 75/15 75/20         pieces [6] 66/21
  password [1]                75/23 76/5                 85/10 87/19 88/4
   100/11                    permissible [1]             90/8 90/12
  past [1] 132/1              78/18                     pinkish [1] 138/2
  pasting [1] 88/5           permit [2] 120/21          place [21] 5/6 7/3
  patent [3] 7/5 7/6          144/12                     7/12 86/12 87/8
   7/15                      permitted [1]               88/18 88/23 89/3
  path [1] 39/22              125/23                     89/5 89/12 92/16
  patient [1] 129/16         person [19] 8/21            92/19 92/23 93/5
  patients [2]                22/24 31/18 31/24          105/11 105/13
   130/18 131/2               32/11 32/12 46/17          113/11 114/3 117/9
  Patrick [1] 62/5            46/22 46/25 47/4           143/13 144/5
  Pause [13] 4/2              77/12 77/17 78/20         placed [5] 11/17
   15/4 15/20 33/18           79/3 79/19 104/17          81/19 87/25 88/1
   36/6 36/10 51/10           119/10 120/23              125/16
   52/7 76/18 76/22           127/6                     placing [2] 86/24
   78/6 107/13 145/3         persona [2] 47/17           89/1
  PDF [4] 94/4 101/2          47/18                     PLAINTIFF [3] 1/12
   101/5 101/7               personal [3] 1/3            80/16 112/21
  PDFs [1] 101/3              48/7 71/8                 Plaintiffs [14]
  pediatrics [1]             personally [2]              1/5 3/5 3/10 6/16
   128/2                      64/23 65/12                7/17 8/2 9/14 78/2
  people [8] 22/10           personnel [2]               78/4 80/1 80/5
   33/4 34/17 35/3            132/15 140/7               123/2 144/21 145/8
   37/4 43/2 70/20           photo [1] 18/23            Plaintiffs' [8]
   70/20                     phrase [4] 30/22            96/4 108/17 108/24
  per [1] 41/11               31/6 31/7 31/10            109/8 109/21
  percent [6] 62/15          phrased [1] 29/1            110/12 110/18
   62/20 62/23 63/6          physical [11]               112/21
   63/13 63/16                24/12 24/14 25/7          planning [3] 6/14
  perfect [5] 66/2            25/11 30/4 95/20           27/21 124/2
   73/4 74/8 132/3            97/2 97/4 97/5            platform [1] 7/23
   146/6                      97/15 144/4               play [2] 123/9
  perform [4] 40/16          physically [7]              146/20
   98/13 112/11               18/13 26/4 27/1           played [6] 5/3
   112/12                     27/14 45/21 96/2           81/11 123/14
  perhaps [1] 146/4           141/1                      123/25 124/9
  period [2] 136/14          physicians [2]              125/11
   142/12                     130/18 141/3              playing [1] 80/15
                             pie [1] 140/15             pleasant [4] 118/7
                              93/2Entered
  P 9:18-cv-80176-BB Document 847
Case                                105/13                86/25 89/9
                                          on FLSD Docket 12/20/2021 Page 194 of 215
  pleasant... [3]            possibility [3]             prerogative [1]
   119/2 144/15               4/6 60/22 61/3              9/10
   146/22                    possible [16] 33/2          present [7] 32/18
  please [38] 10/7            33/8 46/24 47/1             66/7 117/11 118/6
   11/10 11/13 14/8           53/11 59/10 59/11           124/13 144/17
   15/2 16/5 16/21            61/5 62/3 64/18             148/7
   28/18 44/9 49/25           78/10 79/16 85/24          presentation [1]
   52/1 57/25 58/14           86/1 95/6 104/16            108/16
   66/16 66/24 67/25         post [1] 6/23               presented [1]
   73/25 77/8 80/13          posted [2] 67/15             136/4
   81/22 82/5 82/19           128/5                      presenter [1] 84/3
   99/15 109/19              posting [1] 6/10            president [1] 83/4
   117/18 119/1 119/5        postings [1] 47/17          pressure [3] 136/5
   119/24 122/7 123/7        posts [2] 67/3               142/22 143/21
   123/11 124/8 125/9         67/9                       pretty [2] 67/10
   126/11 126/14             potential [1] 51/5           146/8
   131/15 137/9              potentially [5]             prevent [3] 61/15
   144/11                     20/13 63/22 85/9            141/22 142/8
  pleasure [1] 9/14           89/17 95/5                 prevented [1]
  plug [5] 26/5 26/9         power [6] 13/9               61/23
   26/9 26/12 27/1            22/12 26/12 26/13          previous [4] 6/9
  plus [1] 3/16               26/14 28/22                 6/10 102/9 104/22
  point [14] 6/17            practical [2]               previously [11]
   9/23 10/8 11/1             23/25 84/10                 11/16 41/2 62/2
   11/8 16/3 23/24           practically [1]              89/1 104/2 108/18
   39/11 39/22 42/5           95/8                        130/20 134/14
   68/8 108/2 108/13         practice [4] 83/1            134/16 135/5
   124/11                     83/5 85/4 128/15            140/25
  pointers [2] 102/2         practices [2] 98/6          primary [2] 70/10
   117/8                      122/12                      70/17
  Ponce [1] 1/21             practicing [1]              principle [1]
  population [1]              128/17                      94/20
   129/16                    prefer [1] 145/22           prior [7] 3/22
  portability [2]            preferable [1]               5/16 51/21 79/18
   20/17 20/22                21/5                        119/23 136/6
  portion [3] 132/6          preference [1]               142/17
   132/7 132/9                21/11                      private [34] 7/23
  portions [1] 81/1          premise [1] 56/22            8/2 9/24 11/5 18/2
  Portland [1]               prepackaged [1]              18/6 18/14 18/15
   127/25                     17/8                        18/20 18/21 19/13
  position [6] 5/22          prepared [3] 84/21           19/17 20/10 20/18
   41/14 51/4 86/21           84/23 124/24                20/23 21/9 21/12
                             preparing [2]                31/8 31/9 31/12
                              48/7Entered
  P 9:18-cv-80176-BB Document 847
Case                                50/24    83/11
                                          on FLSD         13/14 13/24
                                                  Docket 12/20/2021       16/6
                                                                    Page 195 of 215
  private... [14]             83/18                       16/22 17/4 44/24
   37/5 43/24 77/12          professionally [3]          prove [1] 97/12
   78/20 115/18               64/23 65/5 65/13           proven [1] 84/10
   115/23 116/15             professionals [2]           provide [8] 14/8
   117/14 117/15              83/15 83/25                 41/21 54/8 76/11
   117/20 117/22             profit [2] 83/14             77/4 82/15 126/7
   119/11 119/16              84/4                        126/17
   128/15                    program [4] 17/15           provided [10] 42/6
  privileged [2]              70/20 99/3 114/25           48/21 49/3 50/15
   40/17 127/17              programmed [1]               58/11 67/13 68/11
  probably [2] 26/2           46/6                        83/9 112/21 122/12
   145/14                    programmer [3]              provides [1] 83/14
  problem [4] 9/8             48/8 48/10 64/3            providing [2]
   16/17 135/11              programmers [1]              70/22 127/4
   143/16                     70/21                      public [7] 9/24
  problematic [1]            programming [22]             11/5 21/21 47/17
   122/3                      44/12 49/10 51/2            47/19 52/20 116/19
  problems [2] 131/3          54/3 54/10 54/17           public-facing [1]
   132/9                      54/19 54/20 54/23           52/20
  procedure [2] 88/7          57/16 57/19 60/4           publications [2]
   145/20                     60/7 60/12 60/18            14/12 14/14
  proceed [7] 3/3             60/23 65/20 69/8           publish [5] 57/1
   11/15 11/17 99/15          71/16 71/25 75/17           58/1 58/14 99/11
   118/11 124/24              75/18                       108/18
   124/25                    programs [5] 69/21          published [5] 58/5
  proceeding [2]              71/4 71/5 93/15             60/13 74/12 95/13
   56/13 80/16                94/18                       135/21
  proceedings [15]           progress [1] 11/6           pull [11] 19/1
   4/2 15/4 15/20            prolonged [2]                72/14 72/16 73/20
   33/18 36/6 36/10           132/8 136/25                73/25 108/15
   51/10 52/7 76/18          prominence [1]               131/15 133/1 134/5
   76/22 78/6 107/13          142/23                      136/17 137/17
   145/3 147/1 148/8         promoted [1] 41/14          pull-up [1] 73/20
  process [6] 86/4           prompt [1] 124/23           pull-ups [1] 73/25
   89/10 89/17 90/5          proper [1] 3/21             pulling [1] 52/2
   112/12 112/14             properly [4] 3/16           purchased [1]
  processing [2]              4/20 15/9 52/3              10/12
   25/1 112/15               properties [1]              pure [1] 61/8
  produced [1] 39/2           13/16                      purpose [2] 56/3
  production [1]             property [3] 13/20           140/24
   42/1                       45/14 112/5                purposes [7] 56/21
  professional [4]           proposed [1] 29/22           57/6 58/1 110/15
                             protocol [7] 12/3            111/1 124/2 135/6
Case                          123/3
  P 9:18-cv-80176-BB Document 847                         11/15 66/10
                                  Entered on FLSD Docket 12/20/2021       118/19
                                                                    Page 196 of 215
  pushed [1] 120/17          quick [6] 89/8   118/21 119/2
  put [18] 6/13               89/10 89/10 89/25
                                              124/25 145/16
   38/11 50/12 55/11          91/1 145/12    realistic [1] 5/8
   66/24 67/24 87/16         quite [2] 87/12 realize [1] 124/17
   87/17 87/21 90/11          93/3           really [10] 7/22
   90/19 90/20 91/5          quote [8] 6/12 7/2
                                              16/7 16/14 18/16
   92/9 98/17 99/9            9/18 9/19 9/20  18/16 31/18 65/16
   117/8 120/23               10/1 10/5 10/6  65/19 86/8 94/1
  puts [1] 89/12             quoted [1] 132/15
                                             rearranging [1]
  putting [3] 18/7           quotes [1] 132/17107/19
                                             reason [13] 3/21
   89/5 94/6          R                       10/7 53/9 70/3
  puzzle [1] 13/20    raise [6] 3/5 6/6       70/10 100/4 100/21
  Q                    77/2  81/19   122/21   122/8 130/1 135/13
  qualifications [1]   125/16                 141/4 141/13
   110/8              raised  [1]    6/9      141/19
  qualified [1]       random  [2]    94/3    reasons [2] 100/4
   25/11               99/22                  141/19
  question [32] 20/5  randomly   [1]   94/12 rebuttal [5] 14/21
   20/7 20/19 23/22   range  [1]   51/5       20/1 25/17 84/20
   28/18 30/12 33/6   Rapids  [1]    127/18   84/24
   43/7 52/8 52/10    rate  [7]   41/7       rebutting [1]
   52/19 61/21 61/22   41/10  41/13   41/15   45/21
   67/9 69/4 75/8      41/15  41/17   42/19  recall [28] 22/14
   77/3 77/5 77/11    rather  [3]    87/21    22/17 24/11 31/17
   77/15 77/21 78/3    142/10   143/22        37/21 38/6 38/7
   78/8 78/19 79/1    reach  [1]   46/5       39/1 49/8 49/23
   79/14 113/5 117/10 reaching   [1]   60/21  50/17 50/18 55/18
   119/8 122/20       read  [18]   10/4       59/2 62/22 63/1
   122/22 145/17       10/6  20/8   52/5      67/5 67/19 68/13
  questioning [2]      52/8  52/9   52/11     68/22 69/22 71/7
   11/17 110/3         56/10  69/18   78/3    74/15 74/21 104/13
  questions [28]       86/22  86/22   87/22   104/15 105/2 131/9
   40/15 43/12 46/15   94/4  104/7   116/7   receive [4] 13/3
   52/17 56/20 68/16   133/13   135/25        34/22 34/23 136/15
   68/22 69/22 70/11  readable   [2]   94/3  received [9] 3/13
   70/21 70/23 71/7    94/4                   41/3 41/5 43/8
   72/8 74/15 77/1    readily   [1]   29/15   132/25 134/3
   77/2 77/7 78/17    reading   [2]   64/22   135/20 137/16
   78/17 79/22 79/23   65/12                  140/4
   107/15 119/18      reads  [3]   75/1      receiver [2] 77/13
   122/17 122/20       77/11  79/14           78/21
   122/23 122/24      ready  [8]   5/14      receives [1] 40/25
  R 9:18-cv-80176-BB Documentrecovered
Case                                      [1]
                              847 Entered on              50/20 63/5
                                             FLSD Docket 12/20/2021 Page 63/12
                                                                         197 of 215
  receiving [1]               116/25                     regard [8] 3/19
   142/11                    recovering [1]               5/25 43/5 56/21
  recess [8] 66/6             117/2                       79/23 116/3 119/13
   66/8 66/9 118/4           recovery [3] 85/23           145/20
   118/9 124/12               96/15 120/2                regarding [2] 6/23
   124/14 124/15             redirect [6] 2/6             48/7
  recognize [9]               2/9 68/18 68/20            regular [3] 29/22
   131/19 131/22              119/19 119/21               41/5 130/8
   132/5 133/4 134/10        Reed [10] 131/15            regulations [1]
   134/12 136/21              133/1 134/5 136/17          129/22
   136/23 137/21              137/11 137/17              Reid [1] 131/25
  recollection [7]            138/8 138/20               related [15] 7/15
   38/10 38/14 38/19          140/10 140/20               37/22 62/24 63/14
   50/5 50/20 63/5           refer [1] 90/9               63/17 82/12 83/20
   63/12                     reference [12] 7/8           84/7 112/8 112/10
  record [10] 9/12            15/8 21/1 21/3              115/11 115/15
   10/2 10/7 10/18            71/10 72/10 74/6            115/20 116/2 136/5
   16/11 77/9 80/25           74/20 74/22 77/16          relates [1] 45/9
   81/23 126/15               79/2 88/2                  relating [4] 73/23
   133/14                    references [3]               115/23 143/5
  recording [1]               71/12 90/2 102/8            143/16
   15/23                     referred [1] 47/23          relationship [1]
  records [22]               referring [5]                71/24
   127/14 129/14              10/11 10/12 19/22          release [1] 35/14
   131/7 131/10               41/23 115/25               released [3] 10/11
   131/11 131/23             refers [3] 7/2               45/2 60/11
   132/7 132/10               31/7 34/4                  relevance [7]
   132/13 132/14             reflect [4] 134/15           21/13 37/12 37/17
   133/5 133/11               138/2 138/5 140/14          37/25 39/10 42/23
   133/23 134/16             reflection [1]               107/25
   137/3 137/5 140/2          137/2                      relevant [6] 51/2
   140/3 141/9 141/13        reformat [5] 89/23           52/19 52/24 52/24
   141/21 142/2               90/23 91/1 101/24           52/25 53/10
  recover [22] 85/14          103/2                      relied [4] 48/20
   85/17 85/24 86/1          reformatted [5]              49/19 53/12 67/22
   91/9 91/11 91/19           91/8 101/18 101/19         rely [1] 85/1
   91/21 91/23 91/24          101/23 102/11              remain [5] 81/19
   92/7 92/10 93/9           reformatting [8]             89/13 93/2 93/6
   93/20 96/14 102/5          89/24 90/5 90/25            125/16
   102/6 102/19 104/6         91/5 102/4 102/19          remained [1] 92/15
   106/14 106/16              102/21 102/21              remaining [1]
   117/16                    refresh [7] 38/10            94/25
                              38/14 38/19 50/5           remains [1] 91/2
                              50/2Entered
  R 9:18-cv-80176-BB Document 847
Case                                72/6on72/17
                                           FLSD Docket requisite    [1]
                                                       12/20/2021 Page 198 of 215
  remedy [1] 6/17             77/20 77/23 84/20          54/12
  remember [10]               108/9 108/23 121/8        research [3] 1/4
   22/19 38/24 52/14         reported [2] 69/23          82/22 144/14
   53/21 58/22 59/25          148/8                     reside [3] 86/18
   71/18 90/14 101/21        reporter [7] 1/23           87/19 104/23
   144/11                     20/7 77/25 80/11          resided [1] 102/9
  remind [3] 11/16            81/2 101/9 148/5          residency [1]
   119/24 146/23             reports [12] 14/15          128/3
  remotely [2] 28/4           37/15 38/8 84/21          resident [1] 129/1
   28/6                       84/23 85/1 108/14         residents [1]
  removal [2] 114/20          109/15 110/14              130/17
   115/23                     121/9 121/19              resides [2] 88/16
  remove [1] 114/1            122/11                     113/22
  removed [4] 92/19          repository [1]             residing [1] 92/18
   113/19 114/16              79/6                      respect [9] 6/24
   115/4                     represent [2] 3/14          7/8 7/14 13/1
  render [1] 93/22            67/6                       69/19 71/12 127/6
  rendered [1] 58/11         representation [3]          127/7 137/18
  rendering [1]               3/17 4/23 10/21           respond [5] 3/9
   54/11                     representations [1]         3/11 10/19 12/13
  reorganize [1]               10/17                     70/22
   90/18                     representative [3]         responded [1]
  repeat [7] 20/5             1/3 69/25 70/4             62/15
   20/7 20/19 30/11          represented [1]            responds [1] 67/11
   61/19 69/4 113/5           8/11                      response [10] 3/19
  rephrase [2] 23/22         representing [1]            3/20 6/21 8/4 9/22
   70/15                      7/6                        44/7 46/16 70/23
  replaced [1] 115/4         request [2] 56/23           80/10 83/15
  replicate [2] 85/5          131/23                    responsible [1]
   85/7                      requested [1]               107/8
  report [43] 12/5            141/11                    restate [1] 20/2
   12/12 14/1 14/5           requesting [1]             rested [1] 9/14
   14/5 14/7 14/17            141/11                    result [2] 142/16
   14/18 14/21 14/22         require [4] 24/12           142/22
   15/11 15/15 19/19          26/16 33/10 143/19        results [3] 23/11
   19/23 19/24 20/1          required [5] 27/14          85/7 98/9
   21/2 21/3 23/4             44/2 76/13 136/10         resume [37] 48/15
   24/2 25/10 27/17           142/10                     48/17 48/24 49/2
   33/13 33/22 35/6          requirements [1]            49/7 49/10 49/18
   37/21 38/7 38/20           25/11                      49/20 49/22 50/5
   38/24 39/1 39/9           requires [5] 26/8           50/12 50/16 50/21
   44/13 49/1 50/1            33/3 34/17 114/22          50/24 53/9 53/13
                              143/8                      53/19 53/24 54/14
                              116/24
  R 9:18-cv-80176-BB Document 847
Case                                   116/25
                                  Entered                 27/12 29/5
                                          on FLSD Docket 12/20/2021 Page 29/7
                                                                         199 of 215
  resume... [18]              117/10 117/13               29/23
                              119/13 121/9 131/7
   54/15 54/16 55/5
                              131/10 131/11
                                                         S
   55/6 55/14 56/5                                       safety [2] 32/5
   56/7 57/21 58/3            133/5
                             reviewing [8]                32/7
   58/11 60/1 71/8                                       said [19] 4/19 9/4
   71/10 71/12 71/19          46/19 50/18 56/22
                              67/19 98/6 110/15           9/8 9/12 9/13 11/2
   71/22 72/17 72/19                                      48/6 64/22 76/8
  resumes [7] 72/5            121/18 127/14
                             ride [1] 9/14                93/17 93/22 95/9
   72/10 72/22 73/11                                      96/6 96/24 102/8
   73/16 73/16 74/1          rig [2] 26/15 27/3
                             right [149]                  102/21 105/3
  retain [2] 31/13                                        119/10 120/17
   32/24                     rigs [1] 27/5
                             risk [1] 91/5               salary [1] 41/5
  return [1] 140/6                                       same [26] 13/19
  returns [1] 141/8          RIVERO [3] 1/18
                              1/19 4/19                   13/21 18/24 20/24
  review [24] 36/4                                        23/17 25/23 27/8
   50/15 55/7 58/23          RMR [1] 148/17
                             ROCHE [5] 1/12               27/24 28/7 28/13
   59/1 59/3 60/1                                         32/7 32/9 32/13
   63/19 67/13 96/23          1/13 2/8 39/4
                              117/10                      33/1 40/4 59/24
   97/1 97/6 109/15                                       62/20 69/2 69/6
   110/25 112/8 121/8        role [1] 112/11
                             room [9] 1/24                73/21 85/17 88/7
   121/13 121/15                                          88/9 93/3 94/20
   132/10 132/13              28/11 28/23 29/8
                              30/3 30/6 30/10             133/6
   137/5 140/2 141/9                                     SANS [1] 83/23
   145/24                     30/15 144/10
                             room-sized [1]              Satoshi [10] 10/13
  reviewed [55] 46/7                                      46/15 46/17 46/21
   47/7 48/7 48/13            30/3
                             rotated [1] 128/1            47/10 47/13 47/16
   48/15 49/1 49/10                                       47/22 47/24 48/2
   49/22 50/6 50/13          rotating [2]
                              127/25 128/1               save [1] 88/10
   50/16 50/21 53/15                                     saw [8] 55/9 55/14
   55/5 55/15 55/19          rounds [1] 130/19
                             route [1] 143/19             55/23 59/17 63/17
   61/13 61/25 66/22                                      72/6 134/16 141/21
   72/17 76/8 95/17          RPR [1] 148/17
                             rubberized [1]              say [26] 4/22 7/20
   95/21 95/22 95/24                                      8/9 9/4 9/21 10/1
   96/24 97/2 97/9            20/15
                             ruggedized [2]               12/15 18/3 18/4
   97/22 98/22 108/8                                      24/22 28/4 28/5
   108/14 108/22              20/12 20/15
                             rule [4] 3/22 15/9           32/22 37/3 45/6
   109/4 109/12                                           53/13 55/24 62/19
   109/15 109/24              60/22 61/3
                             rules [3] 3/15               64/14 75/19 75/24
   110/5 110/12                                           76/11 87/14 103/22
   110/14 110/21              86/9 86/11
                             run [5] 28/4 81/7            124/22 132/16
   115/7 116/16                                          saying [10] 11/1
   116/19 116/21              93/15 94/17 122/5
                             running [5] 26/18            14/23 15/10 18/4
                              108/12
  S 9:18-cv-80176-BB Document 847
Case                                   109/2
                                  Entered       110/4
                                          on FLSD Docket secure     Page 71/16
                                                         12/20/2021[3]   200 of 215
  saying... [6] 18/7         scrambled [2]                92/4 93/22
   23/7 44/20 44/23           103/2 103/4                security [6] 57/23
   45/10 139/18              screen [10] 19/7             58/6 58/17 74/16
  says [6] 10/9               38/17 51/14 51/18           75/24 77/4
   15/23 31/19 50/23          51/19 52/4 58/1            see [57] 4/5 4/6
   58/17 58/19                67/25 74/10 112/17          6/1 6/3 11/13
  scale [12] 24/15           screens [1] 52/3             15/18 19/4 19/7
   24/21 24/24 25/21         script [8] 33/16             22/2 28/11 28/12
   25/25 26/15 26/17          34/3 34/7 34/13             28/12 28/24 29/13
   28/17 28/22 29/21          35/3 35/9 54/24             38/10 38/17 51/14
   30/1 35/25                 76/5                        58/9 58/17 63/16
  schedule [3] 4/8           scripting [16]               67/11 67/12 68/4
   4/12 5/3                   54/22 54/24 57/15           68/9 68/10 72/19
  schedule-wise [1]           57/17 57/22 58/6            73/16 87/9 89/14
   5/3                        58/17 74/11 74/16           89/14 94/8 96/1
  schedules [2] 5/19          75/6 75/11 75/14            97/25 102/13
   6/3                        75/15 75/19 75/23           104/18 104/21
  schemes [4] 94/16           76/12                       104/21 104/22
   94/17 94/18 94/19         scripts [5] 33/16            106/15 109/23
  SCHILLER [1] 1/15           35/11 35/14 69/20           117/22 118/4 118/7
  school [9] 59/18            76/14                       126/25 130/18
   59/24 60/15 65/9          scroll [8] 72/18             130/23 130/24
   85/18 86/13 90/14          72/23 73/6 74/5             131/1 132/11 137/8
   98/12 127/23               74/7 131/25 132/2           138/14 144/9
  schools [1] 127/18          137/11                      144/15 144/18
  science [15] 11/25         scrolling [1] 73/1           144/24 145/2
   58/21 59/7 59/16          seat [2] 3/6                 145/21
   59/24 60/2 62/24           144/23                     seeing [5] 22/14
   63/14 63/17 63/20         seated [4] 11/13             77/7 122/24 130/23
   65/17 82/7 82/8            66/16 119/1 125/9           131/5
   85/18 96/6                second [20] 8/8             seek [3] 6/17 6/18
  science-related [1]         10/23 15/12 15/14           56/9
    63/17                     19/9 51/8 72/18            seeking [1] 51/20
  scientific [3]              77/15 78/3 79/1            seem [1] 95/20
   85/22 120/1 121/16         87/17 87/21 99/24          seen [9] 72/5 72/5
  scope [22] 12/5             101/2 107/10 117/2          92/21 92/21 95/19
   14/1 19/19 23/3            122/11 124/1                95/20 109/25
   25/10 29/18 30/24          124/19 137/12               136/11 137/22
   31/1 31/25 33/12          Secondly [1]                self [5] 62/7
   35/6 38/24 39/8            129/16                      62/16 62/21 63/6
   39/18 42/3 43/11          section [1] 103/3            69/23
   77/19 77/22 108/1         sections [2] 99/6           self-reported [1]
                              104/5                       69/23
                              27/9Entered
  S 9:18-cv-80176-BB Document 847
Case                                27/14    28/3Docket shower
                                          on FLSD                  Page 141/18
                                                        12/20/2021[1]   201 of 215
  self-taught [4]             28/3 28/5 28/5            showing [3] 14/11
   62/7 62/16 62/21           28/24 29/14 32/4           22/2 140/15
   63/6                       32/8 86/11 130/9          shown [10] 56/7
  send [4] 16/18              145/6 148/14               56/19 57/11 57/12
   18/3 32/22 145/21         sets [4] 12/15              72/6 74/4 74/18
  sender [2] 77/13            50/25 51/5 54/19           74/18 74/22 134/16
   78/21                     setting [5] 24/14          shows [4] 48/8
  sending [1] 18/9            25/7 25/12 25/22           73/15 84/9 137/24
  senior [3] 41/14            25/25                     sic [1] 69/3
   82/25 83/3                seven [3] 15/10            side [4] 8/16
  seniority [1]               83/3 139/7                 32/19 74/10 112/17
   41/17                     several [2] 122/4          sidebar [3] 77/8
  sensation [1]               142/17                     77/9 78/15
   142/19                    share [6] 5/17             sided [1] 8/11
  sense [4] 9/21              5/17 31/19 31/22          sign [3] 32/18
   115/22 116/2               67/25 135/4                32/24 33/1
   130/10                    shared [2] 6/22            signature [4] 7/17
  senses [2] 28/12            43/24                      18/6 108/25 109/7
   28/25                     sharing [1] 37/5           signatures [1]
  sensitive [1]              shelf [16] 86/20            110/22
   20/10                      87/16 87/16 87/17         signed [1] 141/2
  sent [4] 13/7 18/8          87/17 87/20 87/20         significant [5]
   96/3 146/8                 88/17 88/21 91/4           25/3 26/17 72/21
  separate [3] 32/9           92/15 99/10 114/23         73/10 95/4
   33/10 90/20                115/4 115/16              significantly [1]
  sepsis [1] 136/5            115/24                     24/23
  September [7]              shelves [8] 86/12          signing [1] 17/11
   27/20 131/12 136/2         87/8 89/13 89/20          signs [2] 98/21
   136/7 136/13 139/6         91/16 94/7 99/9            100/16
   143/2                      117/6                     silly [1] 11/2
  series [2] 68/22           short [1] 39/22            similar [7] 32/5
   69/22                     shorthand [2]               55/15 85/15 86/25
  serious [1] 142/8           148/5 148/8                87/23 88/2 129/8
  seriously [1]              should [9] 3/23            similarly [1] 40/2
   142/6                      31/8 31/14 41/17          simple [4] 69/20
  service [2] 128/5           87/13 91/15 92/17          76/12 76/14 91/23
   130/17                     135/10 143/21             simply [8] 5/9
  services [5] 41/21         show [12] 8/22              15/23 23/10 45/6
   41/23 42/7 42/10           21/1 49/25 56/23           49/3 53/10 86/24
   128/1                      57/3 63/2 63/9             92/9
  set [18] 15/24              66/21 131/16 134/7        since [8] 41/7
   24/12 26/3 27/4            137/23 142/5               56/9 60/6 81/1
                             showed [1] 22/14            100/10 117/7
                              17/3Entered
  S 9:18-cv-80176-BB Document 847
Case                                17/7on17/15         41/9 60/23
                                           FLSD Docket 12/20/2021 Page 202 of 215
  since... [2]                21/20 27/5 27/6           sometimes [10]
   128/16 128/18              32/4 35/13 44/15           47/22 86/1 87/13
  single [9] 27/4             44/17 47/19 48/3           87/15 87/24 87/25
   46/20 47/2 47/4            53/16 62/1 69/3            90/7 92/24 93/1
   97/3 99/5 99/8             69/6 79/9 83/22            143/1
   100/13 102/16              84/11 85/7 99/3           somewhat [1] 62/16
  sir [16] 6/7 9/1            100/3 100/6 100/8         somewhere [3]
   66/1 76/24 78/24          solution [4] 26/16          16/18 16/19 17/20
   79/12 79/21 80/7           26/20 27/9 27/12          sophisticated [4]
   81/18 113/5 125/15        solve [1] 13/20             17/17 61/1 64/3
   125/20 126/3              solves [1] 16/16            64/3
   126/23 144/19             some [35] 5/12             sophistication [1]
   145/1                      6/24 12/21 17/12           71/1
  site [1] 8/7                19/14 20/13 20/14         sore [1] 143/6
  sits [1] 75/21              26/10 26/13 26/16         sorry [26] 14/18
  sitting [2] 104/17          26/19 26/19 27/9           20/5 20/20 30/11
   104/24                     27/11 29/12 45/18          30/25 33/5 33/19
  situation [2] 8/10          46/2 46/15 62/23           37/10 38/12 56/18
   32/23                      63/13 63/17 64/4           57/13 57/15 58/16
  six [4] 27/3                69/23 71/7 72/2            61/21 65/11 65/14
   101/15 129/7 139/7         74/19 94/17 94/17          69/4 75/7 77/21
  size [5] 26/15              94/18 94/19 96/19          80/10 101/10
   30/4 89/18 93/3            100/23 107/19              116/13 126/10
   99/25                      116/1 141/16               126/12 126/19
  sized [1] 30/3             somebody [8] 25/16          140/11
  skill [3] 50/24             28/5 38/5 42/21           sort [4] 7/17
   51/5 54/19                 63/24 64/13 67/9           69/23 74/19 82/16
  skilled [1] 48/8            130/10                    sorts [2] 70/24
  skills [5] 44/1            somehow [1] 27/7            104/19
   44/14 45/20 48/4          someone [10] 16/18         sounds [3] 7/1 7/9
   54/12                      17/24 20/17 31/11          91/5
  skin [1] 142/25             45/17 46/6 64/16          source [6] 16/25
  Slack [5] 6/9 6/19          85/5 104/24 120/22         17/9 44/6 45/18
   67/3 67/4 67/9            something [21]              47/7 122/15
  slate [1] 89/22             11/1 11/2 11/2            sources [1] 21/22
  slide [3] 108/16            20/12 30/1 71/20          South [1] 1/14
   109/18 138/9               76/1 76/11 87/10          Southeast [1] 1/17
  slightly [1] 72/3           88/18 88/23 90/15         SOUTHERN [4] 1/1
  so [184]                    92/10 92/15 94/5           82/9 148/3 148/6
  social [3] 7/22             96/24 105/11 114/2        space [4] 30/6
   8/10 8/14                  114/18 114/20              88/15 113/21
  software [25] 12/3          115/5                      114/16
                             sometime [3] 36/5          spaces [2] 87/9
                              16/17
  S 9:18-cv-80176-BB Document 847
Case                                  16/17
                                  Entered      16/19
                                          on FLSD Docket state   [7]Page3/12
                                                         12/20/2021      203 of 215
  spaces... [1]               18/5 32/17 32/19            3/21 35/15 72/11
   88/20                     spending [1] 13/10           81/22 84/4 126/14
  SPAWAR [1] 82/21           spent [2] 17/2              stated [2] 7/1
  speak [6] 80/13             140/16                      33/22
   91/4 96/9 121/24          sphincter [2]               statement [8] 7/4
   126/21 144/12              143/10 143/18               7/11 8/7 8/9 8/20
  speaker [3] 84/2           split [5] 87/16              10/15 76/13 106/3
   84/4 84/13                 87/25 88/19 90/8           statements [6]
  speaking [5] 87/5           91/15                       8/15 8/23 132/11
   90/16 94/20 114/19        spoke [1] 89/1               132/14 132/15
   145/13                    spoken [1] 8/22              132/17
  special [1] 34/23          sponsor [1] 56/15           STATES [5] 1/1
  specialist [1]             spontaneously [1]            1/10 129/17 148/1
   131/5                      143/20                      148/6
  specialized [4]            spot [1] 92/17              stating [1] 8/6
   24/25 25/2 26/14          squiggles [1]               statistical [2]
   136/10                     94/11                       13/16 13/20
  specializing [2]           ss [1] 148/2                statistics [4]
   82/8 128/20               stack [3] 30/5               12/1 13/13 13/15
  specific [9] 9/18           62/9 63/7                   15/18
   29/11 36/4 37/22          stacked [1] 30/7            stay [2] 137/18
   58/25 59/22 60/1          stamp [1] 18/7               141/22
   79/7 79/23                stand [4] 10/21             stayed [2] 128/13
  specifically [21]           22/15 80/23 81/14           128/23
   10/9 36/22 49/20          stand-alone [1]             stays [1] 88/17
   49/24 50/21 52/23          22/15                      stenographic [1]
   59/9 60/20 61/2           standard [6] 84/9            148/11
   62/22 63/1 63/19           85/3 85/4 100/24           step [4] 81/18
   65/19 67/5 75/23           101/3 101/6                 101/2 117/1 125/15
   79/5 109/11 110/20        standardized [1]            STEPHEN [1] 1/16
   112/10 115/25              72/3                       steroids [1] 71/6
   130/1                     standing [2] 81/19          STEWART [3] 2/13
  spectrum [1] 75/21          125/16                      125/18 126/16
  speculate [1]              start [6] 35/15             still [6] 10/21
   116/2                      41/9 65/7 89/21             56/18 56/18 104/23
  speculation [10]            118/14 124/8                125/3 128/14
   21/4 27/24 29/18          started [7] 6/13            stimulation [1]
   32/1 59/12 61/8            22/22 41/3 65/4             143/19
   61/17 106/20               65/14 90/13 98/13          stole [1] 112/2
   106/25 120/7              starting [3] 69/7           stop [6] 8/23 73/8
  spell [1] 81/23             129/18 129/25               124/1 124/4 138/9
  spend [8] 5/7 8/25         starts [4] 15/22             144/6
                              72/19 89/20 91/14          stopped [1] 22/23
  S 9:18-cv-80176-BB Documentsubstantively
Case                          847 Entered on FLSD Docket surface
                                                [1]      12/20/2021 [1]   142/23
                                                                    Page 204 of 215
  stops [1] 37/4              135/1                      surgery [1] 128/2
  storage [2] 19/15          successful [1]              surgical [1] 143/9
   20/15                      13/18                      surprising [1]
  store [2] 18/23            such [20] 13/21              131/4
   87/1                       16/16 21/22 25/7           survey [7] 62/14
  stored [10] 18/16           25/21 26/15 28/10           62/20 63/7 63/8
   18/20 18/22 18/24          29/15 34/13 35/11           63/13 63/16 70/6
   85/23 86/6 86/20           41/12 48/9 86/16           surveys [1] 70/13
   87/4 87/9 90/2             91/21 91/22 93/12          sustained [29]
  storing [6] 19/13           104/5 129/17                20/25 21/14 23/13
   19/17 20/9 20/18           130/11 130/14               24/3 24/9 25/13
   21/9 21/11                sue [1] 6/15                 25/18 27/18 28/1
  storying [1] 20/23         suggest [5] 7/19             28/8 29/3 29/19
  Street [1] 1/17             7/19 7/19 115/10            30/18 34/1 35/18
  string [1] 18/22            145/24                      40/5 40/18 42/24
  strip [1] 26/13            suitable [1] 19/16           43/5 56/24 59/13
  striving [1] 4/19          Suite [3] 1/14               61/9 70/15 103/12
  stronger [1] 94/19          1/17 1/21                   106/21 111/10
  structure [3]              summary [7] 134/13           121/6 130/5 141/25
   41/15 45/3 86/8            134/20 135/1 135/3         SWORN [2] 81/21
  studied [3] 58/20           135/7 136/1 137/7           125/18
   59/15 63/20               superset [1] 72/4           symbols [1] 94/12
  study [1] 55/10            supervise [1]               system [57] 12/20
  studying [1] 59/7           141/17                      16/15 16/20 21/19
  style [5] 46/20            supplies [1] 28/22           22/7 22/8 25/8
   47/2 78/9 79/15           supply [1] 26/12             26/19 26/24 26/25
   79/19                     support [5] 12/21            27/12 27/15 27/21
  subject [6] 9/6             13/2 13/12 42/6             28/3 28/10 28/11
   17/23 56/14 106/24         82/24                       28/14 28/22 28/24
   126/9 127/3               supported [1]                29/5 29/15 30/14
  subjected [3]               35/13                       46/4 64/7 75/22
   143/25 144/1 144/1        supports [2] 27/3            75/25 76/3 86/8
  submitted [5]               53/23                       86/8 86/24 87/23
   38/23 40/1 54/1           supposed [1]                 88/2 89/2 89/3
   108/8 108/23               113/25                      89/25 91/22 92/22
  submitting [1]             sure [20] 10/14              93/8 93/10 93/12
   38/7                       14/9 15/22 20/3             93/13 93/17 96/21
  subset [2] 17/10            20/6 28/15 28/19            103/25 104/2
   33/25                      37/22 41/23 42/20           104/11 107/5
  subsidy [1] 13/4            55/17 57/24 69/5            113/21 114/4 114/6
  substantial [2]             74/25 82/7 86/7             114/13 114/25
   129/9 129/11               86/24 97/22 124/6           117/3 129/14 130/9
                              145/14                      131/11 136/8
  S 9:18-cv-80176-BB Documenttalking
Case                                   [11]
                              847 Entered       6/11
                                          on FLSD         113/19 Page 205 of 215
                                                  Docket 12/20/2021
  system's [1]        9/9 21/16 36/21                  temporary [1]
   114/14             45/4 88/6 94/9                    136/16
  systems [5] 27/7    124/21 132/8                     tend [3] 129/17
   51/6 103/16 103/18 134/14 142/17                     129/20 129/21
   104/22            Tampa [1] 28/5                    term [3] 34/4
                     tamper [1] 16/14                   90/17 91/25
  T                  taught [10] 60/9                  terms [2] 3/15
  Tab [3] 134/5       60/10 61/5 61/11                  88/20
   134/5 136/17       62/3 62/7 62/16                  test [1] 97/25
  table [8] 8/16      62/21 63/6 64/19                 tested [1] 98/2
   113/18 113/19     teaches [1] 65/19                 testified [26]
   113/21 113/24     teaching [5] 61/15                 6/12 21/25 23/19
   114/5 114/11       61/23 130/14                      25/15 39/13 53/21
   146/24             130/15 130/16                     62/2 67/3 71/21
  table's [1] 114/9 team [6] 46/18                      75/13 102/10
  tactical [1] 57/22 46/22 48/17 48/21                  107/21 107/23
  taint [1] 98/9      48/25 82/24                       108/4 108/22 109/3
  take [27] 5/4 7/12 technical [8] 44/1                 109/8 110/5 113/23
   15/7 16/18 40/22   58/6 58/18 74/16                  114/4 116/5 116/8
   65/23 66/3 66/6    74/24 75/5 75/11                  116/11 119/9
   67/16 68/14 73/25  91/25                             119/15 119/23
   74/9 88/23 89/17  technically [1]                   testify [8] 15/25
   92/23 95/4 118/4   75/2                              30/21 42/15 56/12
   121/22 121/23     techniques [1]                     82/12 84/17 84/22
   124/12 124/23      71/16                             111/3
   125/23 140/10     technological [1]                 testifying [14]
   140/20 141/14      31/22                             4/13 7/13 22/17
   146/17 146/23     technologies [1]                   24/11 42/21 49/15
  taken [4] 5/5 7/10 54/9                               52/25 53/3 54/7
   16/10 115/4       technology [3]                     56/20 80/23 111/3
  takes [5] 30/6      54/9 82/24 83/12                  113/12 125/24
   88/18 105/11      tell [20] 3/23                    testimony [38]
   105/12 114/3       18/9 33/2 33/9                    6/14 7/3 7/24 8/15
  taking [5] 70/6     34/12 36/1 77/16                  8/21 30/21 31/17
   103/8 141/22       79/2 79/4 82/5                    39/18 42/4 47/9
   145/13 145/15      82/19 85/21 86/5                  49/12 51/2 51/21
  talk [12] 4/8 8/13 86/19 86/21 91/14                  53/1 53/16 61/25
   46/11 56/4 86/3    100/23 114/22                     67/7 69/18 76/9
   92/2 96/5 96/7     127/15 129/11                     80/17 80/19 80/22
   96/8 98/20 101/16 teller's [1] 32/6                  84/20 104/7 104/11
   103/14            telling [1] 115/2                  104/13 104/15
  talked [4] 62/12   tells [5] 68/6                     105/2 108/7 113/3
   90/6 96/19 100/15  87/19 99/19 101/5                 116/14 119/13
                              50/23
  T 9:18-cv-80176-BB Document 847
Case                                  52/22
                                  Entered      53/11
                                          on FLSD         4/10 4/24
                                                  Docket 12/20/2021 Page6/2
                                                                         206 of 215
  testimony... [6]    53/20 54/5 58/13                    10/14 13/6 15/8
   121/1 123/15       58/19 59/5 59/18                    15/23 16/18 18/6
   125/10 126/7       59/19 62/4 63/23                    18/8 26/15 27/1
   126/17 134/24      64/10 64/25 65/3                    27/5 27/9 32/11
  testing [1] 98/14   65/6 65/16 70/5                     32/17 32/19 33/10
  text [5] 71/2 71/5 70/10 73/4 73/6                      56/10 60/11 60/13
   75/1 79/10 94/13   74/9 76/23 77/19                    68/7 70/22 72/15
  than [13] 5/6 8/25 77/22 89/8 89/9                      75/14 75/18 80/16
   21/5 30/2 44/11    89/22 90/6 90/8                     80/21 81/5 87/7
   46/25 49/5 62/14   90/9 90/21 91/17                    87/21 91/3 103/9
   70/7 75/20 94/19   93/6 95/25 97/1                     118/3 118/22 125/4
   129/18 141/19      98/16 102/12                        127/24 128/4 128/6
  thank [32] 11/8     102/15 103/24                       128/8 129/1 135/15
   15/16 40/23 53/7   104/12 112/19                       143/17 146/4
   67/16 68/14 76/24  115/2 116/10                        146/14 146/15
   78/14 78/16 79/21  116/20 120/10                       146/16 146/21
   80/7 81/9 81/10    126/18 127/13                      theoretical [1]
   81/12 81/25 99/14  128/22 132/3 138/7                  12/22
   107/14 110/10      140/1 144/6                        theory [8] 12/1
   122/16 122/18     their [22] 9/6                       12/2 12/10 12/11
   123/4 123/13       13/8 20/18 20/23                    12/15 12/15 12/18
   123/24 124/7       21/20 28/12 28/25                   15/18
   124/10 125/6       32/19 32/24 32/25                  therapy [1] 144/4
   125/19 125/25      37/5 41/13 54/19                   there [102] 3/2
   126/23 144/24      70/9 79/18 82/25                    4/19 5/24 6/10 7/4
   145/1 146/6        99/4 99/24 101/3                    7/5 7/21 7/25 7/25
  Thanks [1] 9/15     129/16 129/22                       10/21 14/5 15/8
  Thanksgiving [3]    140/24                              15/10 17/11 17/20
   4/7 5/1 5/7       them [27] 4/10 5/4                   19/16 21/21 23/24
  that [581]          13/11 19/14 20/9                    29/7 31/22 34/6
  that's [88] 7/13    26/9 27/5 27/10                     46/14 49/2 49/4
   8/8 9/3 9/9 9/19   29/12 30/5 31/12                    49/6 49/7 58/24
   9/20 12/6 14/13    62/18 69/10 71/3                    59/1 61/15 61/22
   14/16 15/13 15/14  73/12 73/19 87/21                   67/5 70/1 70/6
   16/14 20/12 21/23  89/14 90/20 99/25                   70/24 71/4 72/10
   23/8 29/23 32/15   101/4 105/17                        72/21 73/8 73/10
   36/21 36/25 37/6   115/16 115/23                       73/23 74/8 74/12
   40/9 40/12 40/21   130/23 133/12                       74/19 77/5 78/3
   41/19 43/16 43/19  139/20                              78/17 79/22 82/16
   43/22 43/25 44/19 themselves [5]                       82/23 82/24 86/11
   45/15 46/23 47/5   62/16 79/11 97/2                    90/4 91/14 91/25
   47/11 47/18 48/11  97/7 121/18                         92/11 92/22 93/4
                     then [50] 3/7 4/8                    93/7 93/13 94/8
                              100/12
  T 9:18-cv-80176-BB Document 847
Case                                   100/24
                                  Entered                 8/19 30/4
                                          on FLSD Docket 12/20/2021 Page56/4
                                                                         207 of 215
  there... [42]               101/16 102/5                70/21 83/6 88/19
   94/12 94/15 94/16          102/25 106/19               88/20 90/2 91/19
   94/16 94/22 95/10          107/6 110/6 112/9           91/21 91/22 93/15
   96/8 97/25 98/8            112/17 113/1 113/8          96/19 103/14
   100/12 101/17              113/10 113/10               114/15 117/8
   103/15 103/16              116/9 119/11               think [31] 4/9
   104/6 105/5 106/15         130/17 133/7                4/18 10/17 20/14
   106/23 107/2 107/3         133/10 133/17               30/6 37/9 38/15
   107/6 113/10               141/10 143/2 143/3          48/6 49/4 50/23
   113/25 117/6               143/5 146/4                 51/4 56/9 59/25
   119/11 129/1              they [58] 7/9 13/3           64/14 69/1 70/6
   129/25 130/15              13/4 13/4 13/8              77/19 77/22 86/5
   131/13 132/3               21/20 27/21 27/22           87/13 98/12 113/16
   132/13 132/15              28/6 28/12 28/12            113/23 113/24
   133/16 136/2 136/4         28/24 32/17 32/17           114/4 116/1 117/24
   137/24 139/5 141/9         32/19 32/24 32/25           121/22 124/18
   141/13 141/21              41/22 42/11 52/5            135/10 143/21
   144/20 145/7               71/1 73/12 76/4            third [7] 77/21
   145/10                     78/17 85/7 89/15            78/8 79/14 100/2
  there's [33] 4/25           92/23 94/20 95/18           122/14 127/20
   7/24 8/6 9/5 10/9          95/20 97/16 97/17           127/21
   12/21 14/15 14/23          97/22 98/4 100/5           Thirteen [2]
   16/25 23/4 32/3            104/16 106/24               113/14 113/15
   33/15 55/6 56/18           114/16 118/19              this [190]
   61/7 61/13 69/10           118/20 129/9 129/9         those [51] 8/23
   70/7 75/13 75/14           129/20 129/21               12/14 25/3 26/2
   75/17 75/18 86/2           130/14 130/16               32/17 42/9 62/15
   86/12 86/14 89/5           130/18 130/18               62/20 62/23 69/15
   89/16 92/9 119/15          130/23 132/16               69/15 70/6 70/23
   135/13 138/4               132/19 136/8                72/10 83/10 83/22
   146/20 146/22              140/24 142/4 142/5          83/24 84/25 86/16
  these [57] 5/2              143/6 143/15                92/23 95/19 95/20
   6/19 6/20 7/5 7/10         145/18                      96/3 100/4 100/4
   18/14 19/12 26/12         they're [8] 27/8             100/9 101/21
   26/20 27/22 30/4           31/15 31/16 76/5            101/22 101/23
   32/19 43/12 66/22          89/15 90/7 92/22            103/20 104/1 104/4
   72/22 73/11 73/15          92/22                       107/8 110/25
   79/23 81/1 95/13          thing [8] 9/25               112/12 112/13
   95/16 96/9 96/13           31/9 87/4 87/5              112/23 119/16
   96/23 97/20 98/5           87/22 129/13                122/5 122/12
   98/6 98/21 99/23           144/22 145/12               122/13 128/18
   99/25 100/2 100/10        things [21] 3/5              128/20 129/11
                              4/3 7/10 8/10 8/18          131/1 132/17
Case                          105/19
  T 9:18-cv-80176-BB Document 847                         144/18 144/24
                                  Entered on FLSD Docket 12/20/2021 Page 208 of 215
  those... [5]               Thus [1] 142/19              145/2 145/15
   133/23 139/3              time [69] 5/3 5/4            146/24
   139/10 139/22              5/19 5/25 6/3 6/4          too [3] 37/16
   143/1                      8/5 8/25 9/22 9/23          42/17 59/16
  though [2] 40/13            11/8 13/19 13/21           took [12] 7/3
   55/9                       22/3 22/5 23/24             52/14 58/23 59/1
  thousands [3]               24/22 24/23 24/25           59/3 59/11 59/20
   85/10 93/11 104/4          25/4 26/2 26/8              59/23 92/15 101/8
  three [11] 3/16             27/4 32/9 34/16             112/5 113/11
   68/5 78/17 79/23           35/2 41/7 41/13            tools [3] 70/24
   98/23 98/25 100/17         41/14 60/18 69/9            94/1 104/20
   128/3 130/24 137/8         71/4 72/1 77/3             top [4] 20/14 30/7
   139/20                     81/13 83/12 85/17           58/3 124/8
  three-year [1]              95/4 97/15 97/19           topics [1] 82/12
   128/3                      117/24 122/22              total [6] 3/16
  through [31] 1/8            123/8 124/11                43/8 128/17 129/3
   4/18 7/22 27/20            124/19 125/12               129/6 140/15
   39/17 40/10 51/12          127/14 127/14              towards [2] 22/12
   51/24 58/16 63/3           128/14 128/18               74/5
   63/10 73/6 81/8            128/22 129/2 129/2         traced [2] 77/13
   83/8 86/21 89/6            129/3 129/6 129/25          78/22
   89/20 92/2 106/6           136/12 136/14              track [1] 16/8
   108/9 110/22               137/25 139/12              tracking [1] 86/15
   110/24 111/13              140/6 140/16 141/5         Trading [4] 38/5
   111/19 113/16              141/6 142/7 142/12          38/11 38/21 39/25
   122/5 128/1 134/3          146/10 146/11              training [1] 85/6
   143/18 145/19              146/23                     trainings [5]
   146/18                    timeline [1] 35/21           83/19 83/20 83/23
  throughout [3]             times [1] 130/22             83/24 84/1
   16/25 138/17 143/3        title [1] 86/17             transact [2] 17/25
  throw [3] 91/1             titled [1] 57/22             21/16
   91/12 93/1                today [8] 5/10              transacting [1]
  throwing [5] 89/4           5/12 41/6 43/12             17/24
   89/21 91/3 102/1           44/17 53/1 127/4           transaction [16]
   102/22                     145/13                      18/1 18/3 18/4
  thrown [3] 90/2            together [14]                18/11 21/17 21/23
   92/19 117/4                26/11 26/21 27/7            32/22 32/24 33/1
  throws [2] 89/11            37/4 45/14 65/17            34/18 34/20 34/24
   89/19                      87/22 90/11 90/11           34/24 36/2 36/4
  thumb [8] 85/11             90/19 91/13 112/16          36/22
   95/24 96/1 96/2            117/6 117/8                transaction was [1]
   98/22 98/24 100/15        tomorrow [9] 3/20             36/2
                              4/4 144/9 144/15           transactions [9]
                              94/22
  T 9:18-cv-80176-BB Document 847
Case                              Entered on FLSD Docket typical
                                                         12/20/2021 [3]   30/2
                                                                    Page 209 of 215
  transactions... [9]        trying [9] 8/17              129/8 136/7
    13/9 15/24 16/9           8/17 13/21 24/15           typically [9]
   16/11 18/10 34/22          90/18 91/13 95/3            20/11 60/8 70/19
   35/1 77/11 78/20           103/9 117/6                 70/20 70/23 79/4
  transcribe [1]             Tuesday [3] 3/25             85/15 85/16 131/1
                              4/20 4/23
   81/2
                             Tulip [4] 38/4
                                                         U
  transcript [9] 1/9                                     U.S [1] 1/23
   51/20 52/1 56/19           38/11 38/21 39/25
                             turn [2] 78/18              Uh [1] 131/21
   67/19 104/7 148/10                                    Uh-huh [1] 131/21
   148/11 148/12              143/14
                             tweet [3] 9/13              ulceration [1]
  transcripts [1]                                         142/25
   116/7                      10/21 10/23
                             tweeted [2] 8/14            ulcers [4] 136/5
  transfer [1] 136/8                                      142/22 143/1
  treated [1] 130/20          10/24
                             two [41] 3/5 4/3             143/21
  treatment [3]                                          unable [4] 46/21
   132/18 136/10              4/14 6/19 7/5 8/9
                              14/15 32/8 33/3             79/4 100/20 104/5
   143/8                                                 uncompetitive [2]
  treatments [1]              33/10 34/17 35/3
                              37/4 60/25 65/7             23/16 23/21
   132/19                                                under [5] 11/17
  tremendous [1]              65/13 66/21 68/5
                              72/5 72/10 72/22            52/15 74/12 81/20
   8/16                                                   125/17
  tremendously [1]            73/11 73/15 73/18
                              73/19 84/23 85/15          undergraduate [2]
   130/24                                                 127/19 127/23
  trial [6] 1/9 5/8           87/15 87/15 89/6
                              90/20 103/18 116/4         underlying [4]
   6/13 10/24 11/7                                        16/23 54/9 142/15
   23/7                       128/5 128/8 130/24
                              139/5 139/6 139/19          143/7
  tricky [1] 87/11                                       underneath [1]
  tried [1] 4/17              140/17 140/17
                             two-people [1]               82/22
  trouble [3] 69/20                                      understand [10]
   121/21 126/20              35/3
                             two-year [1] 128/8           5/16 25/18 27/10
  true [4] 9/3 52/19                                      27/12 31/6 81/1
   64/16 148/10              type [28] 17/6
                              18/24 19/14 20/13           107/23 108/4 115/7
  TrueCrypt [15]                                          116/8
   98/23 99/2 99/3            20/15 21/12 24/24
                              25/3 26/10 26/13           understanding [8]
   99/18 99/20 99/21                                      12/18 36/25 51/6
   99/24 100/2 100/3          26/16 26/19 26/19
                              27/9 27/11 29/12            65/18 74/25 97/20
   100/5 100/6 100/8                                      104/12 120/10
   100/9 102/16               33/16 34/7 34/23
                              35/8 36/4 41/23            Understood [1]
   102/25                                                 57/5
  trust [3] 31/18             61/1 64/4 75/3
                              79/10 90/25 100/20         undisclosed [7]
   31/23 43/21                                            23/1 24/2 24/7
  try [3] 39/3 90/20         types [2] 75/16
                              83/24                       24/16 27/17 29/24
Case                          28/24
  U 9:18-cv-80176-BB Document 847     29/14
                                  Entered      30/6
                                          on FLSD         99/4 104/20
                                                  Docket 12/20/2021       113/16
                                                                    Page 210 of 215
  undisclosed... [1]          32/4 32/8 35/25             113/17 113/18
   30/16                      39/20 41/7 41/18            114/1 114/22
  unit [2] 26/4               52/2 55/17 57/25            114/25
   26/14                      72/14 72/16 73/3           users [3] 62/17
  UNITED [5] 1/1              73/20 74/5 79/23            70/18 70/19
   1/10 129/17 147/2          86/11 87/25 89/17          uses [1] 17/9
   148/6                      90/8 95/3 95/10            using [13] 17/2
  units [2] 25/1              98/17 106/6 106/9           27/21 38/14 85/24
   26/2                       108/15 117/25               89/4 90/13 91/12
  universities [1]            130/9 131/15 133/1          98/7 104/18 114/8
   130/11                     134/5 136/17                114/24 134/24
  university [17]             137/17 137/24               146/24
   59/16 59/20 60/3           138/7 139/24               usually [2] 130/19
   60/15 63/20 68/25          145/17                      132/19
   69/5 82/9 127/19          update [1] 9/13             utilize [1] 17/12
   127/21 127/24             upon [1] 5/15               utilized [1] 69/21
   127/25 128/4 128/9        ups [1] 73/25               utilizing [1] 79/6
                             upwards [1] 30/5
   128/14 130/12
                             urinate [1] 143/11
                                                         V
   130/13                                                VA [25] 30/10
  unless [8] 3/23            us [10] 4/6 11/17
                              58/4 70/1 86/5              30/15 128/15
   11/5 79/5 79/17                                        128/24 128/25
   92/5 93/23 93/24           86/19 88/3 90/11
                              128/5 146/17                129/1 129/4 129/6
   135/13                                                 129/8 129/13
  unlock [8] 32/6            usage [1] 83/22
                             use [22] 8/4 18/6            129/13 129/14
   32/9 33/4 33/10                                        129/15 130/8 130/9
   34/17 93/25 94/25          20/12 24/6 34/6
                              50/22 57/9 84/10            130/11 130/12
   103/6                                                  130/13 131/11
  unpack [1] 26/4             86/10 88/20 89/15
                              94/5 95/2 114/18            136/4 136/8 136/9
  unsuccessful [1]                                        136/9 136/11
   140/8                      116/5 117/3 117/5
                              120/10 122/11               140/25
  until [12] 36/20                                       vaccinated [2]
   36/23 65/7 88/18           142/18 144/1 144/2
                             used [20] 16/24              125/22 126/1
   92/15 97/21 106/9                                     valid [2] 13/4
   114/2 114/20               36/17 36/20 45/18
                              49/20 69/21 71/16           34/22
   131/13 139/24                                         validated [1]
   146/2                      78/9 79/15 84/11
                              85/1 85/3 88/16             18/11
  up [56] 5/15 8/22                                      validating [1]
   19/1 24/12 24/14           89/9 91/25 92/6
                              98/6 98/9 114/18            13/9
   25/7 25/12 25/22                                      values [1] 98/3
   25/25 26/3 27/4            120/3
                             useful [1] 12/19            variables [1]
   27/9 27/14 28/3                                        75/25
   28/3 28/5 28/6            user [12] 71/1
                              89/11 93/14 94/10          variety [6] 11/24
  V 9:18-cv-80176-BB Documentvideos
Case                          847 Entered   4/14Docket water
                                      [1]on FLSD               [1]Page20/13
                                                       12/20/2021      211 of 215
  variety... [5]             videotaped [1]     way [22] 5/1 7/14
   18/17 35/14 54/3           123/9              15/8 16/16 31/22
   54/17 71/15               view [5] 21/22      32/8 60/17 86/11
  various [5] 105/21          48/6 93/24 94/21   90/1 90/18 92/9
   128/1 129/15               96/2               93/23 98/14 100/25
   136/24 142/13             viewed [1] 99/22    102/24 103/9
  vehicle [1] 142/16         virtually [1] 5/1   106/23 107/2 112/1
  Vela [16] 38/9             visible [2] 21/18   112/4 121/4 144/10
   40/22 49/25 50/11          94/12             ways [10] 18/17
   53/7 55/11 57/8           visit [1] 70/9      21/9 34/5 44/11
   57/25 58/3 58/5           visiting [1] 70/10  89/6 89/7 94/22
   63/2 63/9 66/24           volume [3] 87/16    122/4 129/9 129/21
   67/16 67/24 68/14          87/17 87/21       we [151]
  verbal [2] 44/7            volumes [2] 87/15  we'd [1] 3/5
   46/16                      87/15             we'll [20] 4/23
  verify [1] 122/14          vs [1] 1/6          5/12 6/2 6/2 66/17
                                                 80/16 88/13 96/5
  version [7] 17/19          W                   96/5 112/24 119/3
   21/21 47/19 47/20         waist [3] 142/19
   49/5 49/7 103/2                               125/4 125/5 126/25
                              142/19 143/25      135/18 144/18
  versus [1] 116/1           wait [1] 118/13
  very [16] 39/22                                144/24 145/2
                             wall [1] 99/9       146/13 146/20
   40/2 64/2 64/3            wallet [1] 17/3
   64/8 64/15 72/1                              we're [28] 5/11
                             wandering [1]       5/19 5/19 8/17
   87/14 89/10 90/1           117/5
   91/6 91/14 99/24                              8/17 15/5 36/11
                             want [22] 3/14      38/13 52/2 66/8
   101/6 104/19               8/25 15/7 17/23
   130/23                                        85/16 89/4 91/13
                              18/3 18/4 18/5     92/25 93/24 97/18
  veterans [5]                20/11 21/16 32/22
   128/10 129/16                                 102/1 104/5 114/8
                              43/11 44/8 46/13   118/10 124/14
   129/20 131/23              46/14 74/2 81/2
   137/25                                        124/24 124/25
                              85/19 87/22 118/13 142/17 145/6
  via [8] 2/10 2/12           121/24 126/2
   86/7 96/14 97/13                              145/13 145/14
                              140/22             146/24
   98/2 116/25 123/20        wanted [6] 27/20
  vice [1] 83/3                                 we've [3] 4/17 5/2
                              28/5 28/21 31/13   100/15
  video [15] 2/10             32/17 86/22
   2/12 4/15 4/15                               website [11] 60/3
                             wants [1] 114/1     62/9 62/17 69/23
   6/12 81/11 123/14         was [229]
   123/20 123/25                                 69/25 70/5 70/9
                             wasn't [7] 10/1     70/10 70/13 70/18
   124/2 124/9 125/4          52/19 53/10 60/5
   125/4 125/11                                  70/19
                              60/12 62/8 102/16 website are [1]
   146/20                    watching [1] 146/1 70/18
                              59/15
  W 9:18-cv-80176-BB Document 847
Case                                  62/21
                                  Entered      63/6
                                          on FLSD Docket wheelchair
                                                         12/20/2021 Page[1]
                                                                         212 of 215
  websites [1] 21/22          65/12 67/2 67/13   22/18
  weeks [2] 6/14              68/11 69/16 72/7  when [80] 5/18
   116/4                      74/18 74/18 74/22  9/10 13/4 18/1
  weight [2] 143/25           83/23 84/17 84/21  20/22 21/17 21/24
   144/2                      95/9 96/3 96/8     22/5 23/15 23/21
  Welcome [4] 66/10           96/9 96/16 97/21   23/24 26/18 30/20
   66/15 118/25 125/8         97/22 97/25 98/3   32/21 34/16 34/21
  well [52] 5/10 8/3          99/17 100/1 100/2  34/21 34/22 35/11
   14/9 14/16 15/7            100/9 100/14       35/22 35/22 39/13
   17/12 26/16 27/25          100/18 101/15      41/3 56/19 58/23
   31/13 35/13 41/25          101/17 101/17      59/1 59/7 59/23
   45/1 45/21 53/15           101/19 101/21      65/4 65/22 67/2
   54/16 55/18 57/12          101/22 101/23      67/15 69/2 69/3
   70/5 70/19 71/1            103/16 103/20      69/5 69/6 70/24
   71/4 71/15 72/23           104/13 106/24      77/11 78/20 84/25
   73/14 74/3 75/1            107/21 107/24      85/16 86/18 87/2
   79/6 89/21 95/13           108/5 108/6 112/16 87/24 88/12 88/13
   121/23 127/17              112/16 112/20      89/23 90/13 90/23
   128/22 129/5               116/4 117/8 117/20 91/8 92/20 93/1
   129/10 129/13              121/1 124/17       93/17 94/1 94/1
   130/9 130/23 131/3         124/21 125/20      94/5 94/11 98/5
   131/11 132/7               131/12 131/13      98/6 98/20 99/21
   132/19 134/25              132/13 132/17      101/24 103/2
   135/13 137/24              134/16 139/5 140/8 104/25 107/21
   138/6 138/13               141/10 141/19      112/16 113/16
   139/24 140/15              142/22 143/25      113/17 113/18
   140/25 142/6               145/18             116/5 122/9 124/23
   142/15 145/23             weren't [5] 41/22   125/20 129/1 130/9
  well-known [1]              49/3 58/11 104/16  136/11 141/1 141/6
   17/12                      107/6              141/7 146/10
  went [9] 27/10             WEST [2] 1/2 136/4 where [45] 6/1
   58/16 59/18 59/24         wet [1] 127/23      10/8 15/21 28/16
   98/5 98/13 113/16         what [158]          28/24 31/18 32/4
   119/7 127/19              what's [14] 16/16   32/5 33/14 33/19
  were [89] 10/20             22/5 22/8 24/25    43/12 59/18 62/14
   11/16 21/24 25/21          38/17 73/18 79/6   66/20 72/19 73/14
   27/21 28/11 28/23          94/8 114/17 116/11 73/15 74/19 75/15
   30/20 34/16 35/1           116/23 127/3       83/2 83/2 86/12
   35/11 39/13 40/2           137/24 140/24      86/13 86/19 87/11
   43/15 44/14 45/2          whatever [3] 8/6    87/11 87/19 88/4
   48/21 49/1 49/18           94/21 145/22       88/16 90/2 90/7
   50/15 52/15 57/15         whatsoever [1]      91/14 91/15 92/17
                              115/20             97/14 100/23 102/2
                              142/24
  W 9:18-cv-80176-BB Document 847
Case                                   143/7
                                  Entered       143/8
                                          on FLSD Docket Windows
                                                         12/20/2021 [9]   57/22
                                                                    Page 213 of 215
  where... [8] 102/8          144/3                       58/6 58/17 74/12
   105/2 113/22 117/4        while [5] 17/2               74/16 75/23 75/25
   122/15 128/16              46/9 59/20 125/23           76/3 93/12
   128/22 130/12              136/25                     wise [1] 5/3
  whereas [1] 75/21          whitepaper [2]              wish [1] 146/23
  WHEREOF [1] 148/14          44/21 45/1                 within [5] 13/1
  whether [48] 25/16         who [19] 4/13 5/14           17/3 69/15 70/23
   25/16 30/9 30/14           8/21 10/24 13/18            144/13
   33/3 33/9 34/13            13/22 45/17 46/6           without [7] 5/7
   39/1 39/2 40/2             63/24 64/16 69/15           31/23 101/7 117/3
   40/10 43/14 43/17          70/8 70/17 79/5             121/18 134/1
   43/20 43/23 44/4           107/8 119/10                143/20
   44/10 45/13 45/16          129/24 130/17              withstand [1]
   46/17 46/21 47/9           146/14                      20/13
   47/12 51/1 54/11          whole [2] 87/22             witness [29] 4/13
   59/6 60/17 61/11           99/6                        5/16 5/25 38/9
   61/18 66/21 69/11         why [15] 5/10 7/13           43/5 49/14 50/1
   70/8 70/17 75/4            10/4 53/9 70/3              50/11 55/12 61/18
   75/10 76/4 82/16           87/18 90/9 91/17            66/18 80/8 80/9
   97/25 101/17               96/1 101/23 103/25          80/22 80/23 81/21
   103/15 110/16              106/11 124/4                110/8 123/6 123/7
   111/6 111/12               141/10 141/13               123/18 125/5
   111/18 112/1 112/4        wide [1] 51/5                125/18 126/11
   120/3 120/16              widely [3] 60/12             131/17 134/7 146/1
  which [54] 3/16             69/11 85/1                  146/10 146/14
   3/24 6/8 7/17 9/10        will [38] 4/5 5/14           148/14
   15/25 19/24 20/2           7/20 8/9 22/8              witness's [3]
   25/1 33/3 33/10            22/13 39/20 39/21           19/19 38/14 51/25
   34/24 38/22 50/15          45/4 56/12 56/13           witnesses [8] 4/5
   54/16 58/23 66/25          78/18 81/7 86/16            4/14 4/18 5/2 5/12
   67/25 68/4 72/16           86/19 86/21 87/14           5/15 5/24 9/10
   73/5 74/3 74/4             87/15 87/24 87/25          women [1] 129/18
   79/7 82/21 83/13           92/18 92/19 106/18         word [8] 12/15
   83/23 84/8 84/11           110/8 110/8 113/7           15/18 18/23 33/13
   92/4 95/1 95/13            113/9 118/4 125/10          33/24 94/4 120/10
   97/3 97/17 97/20           127/4 135/15                120/11
   98/4 99/22 99/25           135/17 136/8 144/8         words [1] 12/11
   100/13 100/17              144/9 146/10               work [18] 4/10
   103/20 106/10              146/14 146/17               32/11 32/18 37/7
   107/5 117/6 131/12        William [1] 42/21            37/23 38/4 40/25
   136/2 140/18 141/2        Wilson [4] 6/11              41/4 50/8 51/6
   142/11 142/22              6/23 7/6 7/11               70/22 71/14 71/14
                             Wilson's [1] 7/16            79/18 83/2 86/4
                              64/23
  W 9:18-cv-80176-BB Document 847
Case                                  65/12
                                  Entered      92/1
                                          on FLSD Docket you   [664]Page 214 of 215
                                                         12/20/2021
  work... [2] 119/2           93/11 104/3 105/10 you noticed [1]
   127/10                    written [6] 37/15    100/12
  worked [6] 49/14            46/24 47/4 47/24   you'd [1] 27/5
   82/23 83/6 83/8            89/15 92/23        you'll [4] 19/20
   128/24 129/3              wrong [1] 10/22      81/18 126/21
                                                  144/10
  working [6] 9/15           Y                   you're [58] 5/22
   15/5 51/18 52/3           Yale [1] 127/19
   65/14 128/12                                   8/5 9/1 14/23
                             yeah [16] 12/9       15/10 31/12 34/5
  works [9] 12/10             29/11 33/14 37/3
   13/15 41/19 42/17                              34/21 36/17 40/7
                              42/11 47/21 49/8    40/10 40/13 40/20
   46/4 58/5 65/20            57/7 61/21 61/21
   74/13 102/24                                   41/16 41/20 41/23
                              62/19 70/19 78/1    43/23 44/1 44/10
  world [2] 70/7              80/12 88/7 125/1
   84/12                                          44/17 44/20 44/23
                             year [24] 59/25      45/10 45/13 46/2
  worrying [1] 5/8            63/22 112/17
  would [154]                                     46/21 47/9 49/14
                              127/20 127/21       51/22 53/24 54/6
  wouldn't [2] 56/9           127/24 128/3 128/6 55/6 58/20 62/9
   141/14                     128/7 128/8 130/25 62/14 65/11 79/5
  WP [1] 10/11                138/1 138/7 138/11 88/6 89/18 89/25
  WRIGHT [39] 1/7             138/13 138/16
   2/10 6/11 6/20                                 90/15 94/2 94/6
                              138/17 138/19       95/3 102/22 103/6
   7/13 8/7 9/9 9/13          138/22 138/24
   10/10 36/18 37/7                               104/25 111/3
                              138/25 139/13       111/22 111/24
   37/15 37/21 37/23          139/15 139/17
   38/20 40/1 41/21                               114/24 115/25
                             years [15] 60/13     116/11 119/15
   42/2 42/15 42/21           64/23 65/1 65/4
   43/2 43/8 43/18                                134/23 144/11
                              65/7 65/13 83/3     144/13 145/1
   43/21 43/24 44/24          90/13 128/13
   45/10 45/14 47/10                             you've [5] 33/22
                              128/17 128/18       37/7 72/5 72/5
   47/12 67/2 67/10           128/20 129/7
   80/15 81/13 82/17                              109/24
                              140/17 142/17      your [275]
   112/2 112/5 119/12        years' [1] 128/5
   123/9                                         yourself [9] 10/15
                             yes [175]            31/14 31/15 41/12
  Wright's [6] 7/16          yesterday [17] 3/9 49/15 64/19 70/12
   8/15 48/17 48/21           4/19 6/10 6/16
   48/25 119/13                                   80/12 84/1
                              6/18 7/21 8/12     yvette [6] 1/23
  write [9] 45/18             13/3 17/16 49/4
   45/21 71/2 72/11                               1/25 148/5 148/17
                              49/6 55/9 55/14     148/17 148/19
   77/3 84/19 92/20           55/23 56/7 56/10
   98/10 122/22               72/7               Z
  writes [1] 10/14           yet [3] 45/4 54/6 ZACK [1] 1/16
  writing [7] 37/21           136/19             ZALMAN [1] 1/20
  Z 9:18-cv-80176-BB Document 847 Entered on FLSD Docket 12/20/2021 Page 215 of 215
Case
  Zeus [1] 11/2
  Zone [1] 128/6
  zoom [5] 58/5
   74/11 145/16
   145/19 146/8
